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                                                                       Veronica Lockett <vlockett@texasappleseed.net>



 Fwd: Correspondence and Data/Information Request
 1 message




    ---------- Forwarded message ---------
    From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
    Date: Tue, Mar 24, 2020 at 4:49 PM
    Subject: RE: Correspondence and Data/Information Request
    To: Kevin Ryan <kevinmichaelryan1967@gmail.com>, Stephens, Andrew <andrew.stephens@oag.texas.gov>,
    Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>, Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.
    tx.us>, Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>, Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.
    us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>, Kimberly Gdula <Kimberly.Gdula@oag.texas.gov>
    Cc: dfowler@texasappleseed.net <dfowler@texasappleseed.net>, Linda Brooke <lbrooke@texasappleseed.net>,
    mannitto@public-catalyst.com <mannitto@public-catalyst.com>



    Kevin/Deborah,



    A ached is DFPS’ response to the monitors’ latest data/informa on request. Materials referenced within the
    document have been uploaded to the SharePoint here.



    Thank you,



    Tara

    From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
    Sent: Friday, February 21, 2020 5:54 PM
    To: Stephens, Andrew <andrew.stephens@oag.texas.gov>; Kintzer,Corey D (HHSC)
    <Corey.Kintzer@hhsc.state.tx.us>; Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>; Harris,Rand S
    (DFPS) <Rand.Harris@dfps.state.tx.us>; Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>;
    Roper,Tiﬀany (DFPS) <Tiffany.Roper@dfps.state.tx.us>; Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>; Kimberly
    Gdula <Kimberly.Gdula@oag.texas.gov>
    Cc: dfowler@texasappleseed.net; Linda Brooke <lbrooke@texasappleseed.net>; mannitto@public-
    catalyst.com
    Subject: Correspondence and Data/Informa on Request


    WARNING: This email is from outside the DFPS system. Do not click on links or attachments unless you
    expect them from the sender and know the content is safe.

    Counsel,

    Correspondence and data/information request attached. Thank you for your attention to this matter.

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            70K




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https://mail.google.com/mail/u/0?ik=9a092f35a7&view=pt&search=all&permthid=thread-f%3A1666155878974980841%7Cmsg-a%3Ar-361141138932…   2/2
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                                   Texas Appleseed           on 07/07/20
                                                      - Fwd: HHSC response toin  TXSD
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                                                                                   data request



                                                                      Veronica Lockett <vlockett@texasappleseed.net>



 Fwd: HHSC response to 2/21 data request
 1 message




    ---------- Forwarded message ---------
    From: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
    Date: Tue, Mar 24, 2020 at 4:48 PM
    Subject: HHSC response to 2/21 data request
    To: Kevin Ryan <kevinmichaelryan1967@gmail.com>, dfowler@texasappleseed.net <dfowler@texasappleseed.net>
    Cc: Hilton, Christopher <Christopher.Hilton@oag.texas.gov>, Kimberly Gdula <Kimberly.Gdula@oag.texas.gov>,
    Stephens, Andrew <andrew.stephens@oag.texas.gov>, Bingham,Joseph (HHSC) <Joseph.Bingham@hhsc.state.tx.us>,
    Harris,Russ (HHSC) <Russ.Harris@hhsc.state.tx.us>, Lam,Taryn (HHSC) <Taryn.Lam@hhsc.state.tx.us>,
    Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>,
    Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>



    Good evening, Kevin and Deborah.



    In response to your February 21 updated data request, HHSC submits the attached spreadsheet
    containing responses to your new requests and the contention of missing data.



    Thank you.



    Corey D. Kintzer | Associate Director

    Litigation Department │ Legal Services Division

    4900 North Lamar, Mail Code: 1100

    Austin, TX 78751

    Office: 512-438-3274 │ Cell: 512-627-1183

    www.hhs.texas.gov │ www.dshs.texas.gov




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    please notify me immediately and then delete the message.

        20200324 Texas Data and Information Request - ongoing_HHSC Responses.xlsx


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                                                             DFPS    07/07/20
                                                                  Information     in TXSD
                                                                              and Data          Page 7 of 282
                                                                                       Request Proposal



                                                                       Veronica Lockett <vlockett@texasappleseed.net>



 Fwd: DFPS Information and Data Request Proposal
 1 message




    ---------- Forwarded message ---------
    From: "Stephens, Andrew" <Andrew.Stephens@oag.texas.gov>
    Date: October 18, 2019 at 6:00:09 PM EDT
    To: Kevin Ryan <kevinmichaelryan1967@gmail.com>, "dfowler@texasappleseed.net" <dfowler@texasappleseed.net>
    Cc: "Carmical,Audrey (DFPS)" <Audrey.Carmical@dfps.state.tx.us>, Tiffany Ropoer <Tiffany.Roper@dfps.state.tx.us>
    Subject: DFPS Information and Data Request Proposal



                  Kevin, Deborah,

                  Attached is DFPS' information and data request proposal. This document is follow up
                  to the October 8 call, particularly the discussion related to the concept of leveraging
                  existing reports and also adjusting some of the format, time frames, and timelines.
                  Note that the DFPS and HHSC have separate proposal documents, which will relate
                  solely to those items required for each agency to produce. For those instances in
                  which DFPS and/or HHSC propose an alternative to the original data request or
                  make you aware of limitations related to the data request, the agencies included this
                  information in their respective proposals. To the extent a request is not included
                  here, it means the agencies are not proposing a modification to the request in terms
                  of the data production and are simply working on that request.

                  Further, we understand that there may be portions of this proposal that need to be
                  raised with the Court for a decision; we ask that you let us know any decision points
                  you are able to make and which ones need to be elevated to the Court.

                  In order to work toward the timelines in the request, the agencies began work on
                  reporting in accordance with the proposals. If modifications need to be made after
                  your review of the proposals, the production schedule may be impacted. We will
                  continue to keep you updated if that occurs. We understand that this is an ongoing
                  conversation and we will work to keep you informed in real-time to the greatest
                  extent possible.

                  Andrew




        DFPS Information and Data Request Proposal 10.18.19.pdf
        7558K




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                                                     - Fwd:        on data
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 Fwd: Additional data for heightened monitoring analysis
 1 message




    ---------- Forwarded message ---------
    From: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
    Date: Tue, May 5, 2020 at 5:17 PM
    Subject: RE: Additional data for heightened monitoring analysis
    To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
    Cc: narrigona@texasappleseed.net <narrigona@texasappleseed.net>, Linda Brooke <lbrooke@texasappleseed.net>,
    Viveca Martinez <vmartinez@texasappleseed.net>, Lam,Taryn (HHSC) <Taryn.Lam@hhsc.state.tx.us>, Harris,Russ
    (HHSC) <Russ.Harris@hhsc.state.tx.us>, Bingham,Joseph (HHSC) <Joseph.Bingham@hhsc.state.tx.us>,
    Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>,
    Gdula, Kimberly <Kimberly.Gdula@oag.texas.gov>, Kevin Ryan <kevinmichaelryan1967@gmail.com>



    Good evening, Deborah.



    In an effort to expedite the report you requested, the majority of the FCL reports due
    05/15/2020 have been uploaded to SharePoint. The highlighted reports below contain
    the additional two years of date requested. Here is a summary of what was uploaded
    today:



        Report Name                            Date Range             Changes from last report

                                               01/01/2020-
        RO.22.1 Rep.ANE.To.DFPS                                       None
                                               03/31/2020

        RO.22.1 7.31.2020-
        3.31.2020                              07/31/2019-
                                                                      None - NEW
        Rep.ANE.To.DFPS.B                      03/31/2020
        5.5.2020

        RO.20.2 9.30.2014-                                           Added the date the recommendation
                                               09/30/2014-
        3.31.2020 Lic.Enf.Recom                                      was generated
                                               03/31/2020
        5.5.2020                                                     Added Facility ID

        RO.20.2 9.30.2014-                     09/30/2014-           Added investigation ID(s) linked to the
        3.31.2020 Lic.Inspections              03/31/2020            inspection
        5.5.2020                                                     Added agency home facility ID for CPA
                                                                     investigation inspections tied to AH
                                                                     Removed "basis for" columns
                                                                8
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                                                                   Added facility ID
                                                                   Added date the inspection notification
                                                                   was sent

     RO.20.2 9.30.2014-
                                             09/30/2014-
     3.31.2020 Lic.Assessments                                      None - NEW
                                             03/31/2020
     5.5.2020

     RO.20.8 9.30.2014-          09/30/2014-
                                                                   Added Facility ID.
     3.31.2020 List.EBI 5.5.2020 03/31/2020

                                                                   Inspection tab:
                                                                   Removed investigation defiencies to
                                                                   eliminate duplication with the
                                                                   investigation tab.
                                                                   Added follow-up information
                                                                   Added ID_INSPCTN_STNDRD, facility
                                                                   ID, standard description, finding status,
                                                                   and admin review status
                                                                   Removed "basis for" columns.

                                                                   Non ANE Investigation tab:
                                                                   Added standards linked to the
                                                                   allegations and the allegation narrative
     RO.22.3 9.30.2014-                                            Added follow-up information
                                             09/30/2014-
     3.31.2020 Rep.Punish                                          Removed "basis for" columns
                                             03/31/2020
     5.5.2020                                                      Added the ID_INSPCTN_STNDRD,
                                                                   facility ID, standard description, and
                                                                   admin review status

                                                                   Assessments tab:
                                                                   Added follow-up information
                                                                   Added the ID_INSPCTN_STNDRD,
                                                                   facility ID, and standard description,
                                                                   and admin review status
                                                                   Removed "basis for" columns

                                                                   ANE Investigation tab:
                                                                   Added a report of standards tied to ANE
                                                                   investigation allegations

     RO.22.4 ECH.ANE.Intakes.B As of
                                                                   None - NEW
     As of 05/01/2020          05/01/2020

     RO.22.4
                                             As of
     ECH.Corp.Punishment.A As                                       None - NEW
                                             05/01/2020
     of 05/01/2020

     RO.B1.1 Caseloads As of                 As of            9    Added supervisor staff
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                                                                                                   analysis

     05/01/2020                              05/01/2020            Updated Hire Date to reflect the date an
                                                                   inspector was hired

                                                                   Added sensitive case indicator
                                                                   Added facility ID
                                                                   Added agency home facility ID if
     RO.15-19.2 9.30.2014-
                                             09/30/2014-           investigation is linked to an agency
     3.31.2020 RCCL.Inspec
                                             03/31/2020            home
     5.5.2020
                                                                   Added investigation closure date
                                                                   Change date used for report to
                                                                   investigation complete date




    RCCL has updated the HHSC SharePoint Document Log to include the newly added
    reports.



    We will provide an update when the remaining reports have been uploaded.


    Thank you.




    Corey D. Kintzer | Associate Director
    Litigation Department │ Legal Services Division

    4900 North Lamar, Mail Code: 1100

    Austin, TX 78751

    Office: 512-438-3274 │ Cell: 512-627-1183

    www.hhs.texas.gov │ www.dshs.texas.gov

       cid:image003.png@01D521F6.43754D10

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    FN 56


Subject:    FW: Problems with the CCI Caseload Data
Date:       Tuesday, June 23, 2020 at 5:48:48 PM Central Daylight Time
From:       Linda Brooke
AHachments: image001.jpg, RCCI invesMgator caseload data quesMons-ﬁnal.docx, RO.B1 RCI caseloads as of
            12-31-19 - revised 4-23-20.xlsx


From: Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us>
Date: Fri, Apr 24, 2020 at 3:22 PM
Subject: RE: Problems with the CCI Caseload Data
To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
Cc: narrigona@texasappleseed.net <narrigona@texasappleseed.net>, Harris,Rand S (DFPS)
<Rand.Harris@dfps.state.tx.us>, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>, Carmical,Audrey (DFPS)
<Audrey.Carmical@dfps.state.tx.us>, Kevin Ryan <kevinmichaelryan1967@gmail.com>, Viveca MarMnez
<vmarMnez@texasappleseed.net>, Linda Brooke <lbrooke@texasappleseed.net>, BaMste,Ashland (DFPS)
<Ashland.BaMste@dfps.state.tx.us>, Baxter,Ross M. (DFPS) <Ross.Baxter@dfps.state.tx.us>


Hi all,

Hope everyone is staying safe and sanitized!

Attached is the revised December report which includes Unit 16. We re-ran the entire
report so the date of the data will be different from the original report. As we
discussed on our telephone call last week, other than adding the investigations
assigned to staff in Unit 16, the number of investigations did not really change. There
are, however, more alleged victims than in the original report (even accounting for
adding Unit 16) due to the updated data as alleged victims can be added over the
course of an investigation. So the revised report reflects the number of alleged victims
in the investigations on the date the data was pulled. We will be producing the next
regular RCI caseload report on May 1, 2020 (reflecting caseloads on March 31, 2020).

Also attached are the written responses to the questions Nancy sent prior to our
telephone conference last week.

As previously discussed, the RCI program is managed at the state level. What you are
seeing in the databook page you reference below is the location of the office where
staff are housed (as noted on the information tab for the databook page). As we
discussed in the telephone call last week, staff generally work cases in the region
where they are housed and we have at least one staff person housed in each of the 11
regions. There are circumstances, however, where staff may work investigations in a
different region as part of the backlog project or at times when a child care operation
may be in a different region, but is geographically closer to an investigator across
regional lines. We have previously provided a list of the location of offices where staff
from each unit are housed.

Given this context, in response to Nancy’s request for suggestions about how to
determine the number of staff needed to meet the 14-17 caseload guidelines for
Residential Child Care Investigation (RCI), using the monthly report produced to the
monitors entitled “RO.B1 RCI caseloads”:

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· Option 1: Take the total number of investigations and divide by the total
number of caseworkers



·   Option 2: Average the caseloads of all caseworkers



· Option 3: Take the total number of investigations and divide by 17 (the upper
limit of the caseload guidelines) and subtract the total number of caseworkers
already working cases

In any calculations you do, however, please remember that both the total number of
investigations and the number of caseworkers has been changing over the past few
month as new staff have come onboard and RCI works down its backlog of cases. As a
result, any numbers that you from the reports will likely look different in a few months.

As always, please let us know if you have any questions or need any additional
information.

Jane Burstain
Chief Data and Analytics Officer
Texas Department of Family and Protective Services
512-547-7960 (cell)
512-438-3279 (office)


From: Deborah Fowler [mailto:dfowler@texasappleseed.net]
Sent: Friday, April 24, 2020 12:41 PM
To: Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us>
Cc: narrigona@texasappleseed.net; Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Olah,Tara (DFPS)
<Tara.Olah@dfps.state.tx.us>; Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>; Kevin Ryan
<kevinmichaelryan1967@gmail.com>; Viveca MarMnez <vmarMnez@texasappleseed.net>; Linda Brooke
<lbrooke@texasappleseed.net>; BaMste,Ashland (DFPS) <Ashland.BaMste@dfps.state.tx.us>; Baxter,Ross M.
(DFPS) <Ross.Baxter@dfps.state.tx.us>
Subject: Re: Problems with the CCI Caseload Data

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                       expect them from the sender and know the content is safe.




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Hi, Jane - just following up on this. Do you think you will have the December data to us today?

Also, Nancy noMced the following on the DFPS website - which seems to indicate that CCI staﬀ are included in
this regional count - which we thought we understood you guys to say couldn't really be done during our call
last week:

hgps://www.dfps.state.tx.us/About_DFPS/Data_Book/Employee_StaMsMcs/CPS/CPS-Staﬀ_Demographics.asp

Can you clarify this for us? We just want to make sure we understand correctly -

Deborah Fowler
ExecuMve Director
Texas Appleseed
1609 Shoal Creek Blvd., Ste. 201
AusMn, TX 78701
512.473.2800, ext. 105
512.757.1458 (cell)
www.texasappleseed.org

Error! Filename not speciﬁed. Error! Filename not speciﬁed. Error! Filename not speciﬁed. Error! Filename
not speciﬁed. Error! Filename not speciﬁed.




On Fri, Apr 17, 2020 at 12:48 PM Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us> wrote:
  Hi Nancy and Deborah,

  Just wanted to say thanks again for a productive call yesterday. We appreciate you
  working through all the nuances of our data with us. Please reach out to us anytime
  you have any questions or to talk through the best way to get you the information
  you need.

  For follow up, we’ll get you the revised December report next week along with a
  written summary of what we talked about in response to each of your questions.
  We’ll try to get you some options for allocating staff geographically soon thereafter.

  Jane Burstain
  Chief Data and Analytics Officer
  Texas Department of Family and Protective Services
  512-547-7960 (cell)
  512-438-3279 (office)


  From: Nancy Arrigona [mailto:narrigona@texasappleseed.net]
  Sent: Wednesday, April 15, 2020 12:10 PM
  To: Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us>
  Cc: dfowler@texasappleseed.net; Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Olah,Tara (DFPS)
  <Tara.Olah@dfps.state.tx.us>; Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>; Kevin Ryan
  <kevinmichaelryan1967@gmail.com>; Viveca MarMnez <vmarMnez@texasappleseed.net>; Linda Brooke
  <lbrooke@texasappleseed.net>; BaMste,Ashland (DFPS) <Ashland.BaMste@dfps.state.tx.us>; Baxter,Ross
  M. (DFPS) <Ross.Baxter@dfps.state.tx.us>

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M. (DFPS) <Ross.Baxter@dfps.state.tx.us>
Subject: Re: Problems with the CCI Caseload Data

  WARNING: This email is from outside the DFPS system. Do not click on links or agachments unless you
                     expect them from the sender and know the content is safe.
Jane,

I have agached a list of quesMons concerning the RCI invesMgator caseload data. I look forward to talking
with you tomorrow at 2.

Thank you,
Nancy

On Tue, Apr 14, 2020 at 4:02 PM Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us> wrote:
  Hi Nancy,

  I’m happy to talk through the data with you. If possible, it’d be great if we could
  get any specific questions you have ahead of time so we can research and
  hopefully have an answer for you when we talk. But we can also just discuss
  things on the phone and, if needed, get back to you later.

  Will sometime between 2-4 on Thursday work for you?

  Jane Burstain
  Chief Data and Analytics Officer
  Texas Department of Family and Protective Services
  512-547-7960 (cell)
  512-438-3279 (office)


  From: Deborah Fowler [mailto:dfowler@texasappleseed.net]
  Sent: Tuesday, April 14, 2020 3:41 PM
  To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
  Cc: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>; Carmical,Audrey (DFPS)
  <Audrey.Carmical@dfps.state.tx.us>; Kevin Ryan <kevinmichaelryan1967@gmail.com>;
  narrigona@texasappleseed.net; Viveca MarMnez <vmarMnez@texasappleseed.net>; Linda Brooke
  <lbrooke@texasappleseed.net>; Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us>; BaMste,Ashland
  (DFPS) <Ashland.BaMste@dfps.state.tx.us>; Baxter,Ross M. (DFPS) <Ross.Baxter@dfps.state.tx.us>
  Subject: Re: Problems with the CCI Caseload Data

   WARNING: This email is from outside the DFPS system. Do not click on links or agachments unless you
                      expect them from the sender and know the content is safe.




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Hi, Rand - I understand from talking with Nancy that there are some other issues with the date. She
thinks it would be easiest just to talk by phone with Jane or the person on your team that is familiar with
the data.

Could Nancy and Jane ﬁnd a Mme to talk - or who is the best person for Nancy to talk to? I've copied
Nancy here.


Deborah Fowler
ExecuMve Director
Texas Appleseed
1609 Shoal Creek Blvd., Ste. 201
AusMn, TX 78701
512.473.2800, ext. 105
512.757.1458 (cell)
www.texasappleseed.org




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Questions about RCI Investigator Caseload Data:


1. Units in files not consistent with units reported by state. Data contains the following “employee
   units”: Unit 0, Unit 5, Unit 6, Unit 8, Unit 13, Unit 14, Unit 16, Unit 24, Unit 25, Unit 26, Unit 29, Unit
   33, Unit 40, Unit 41, Unit 3D. (units not included in “office locations by RCI unit” file provided by
   DFPS).
            Unit 0: Generally, a unit is a group of individuals with similar job functions who report to
            one supervisor who is responsible for managing and overseeing the work produced by each
            unit member. Unit 0, however, was created for budgetary purposes to track positions
            created in response to the foster care litigation. As a result, individuals in that unit perform
            different functions and report to different supervisors. From a functional perspective, the
            unit that should be used for these individuals is the unit of their supervisor.

            Unit 14 – this is a day care unit and only appears on this list because the unit Supervisor,
                                , is assigned a daycare investigation (DCI) that was incorrectly coded as an
            RCI investigation. A data correction is pending and this investigation should not be
            considered in the RCI data. Otherwise, DCI staff are not assigned primary on RCI
            investigations.

            Unit 29 is a State Office unit comprised of the Director of RCI, RCI Program Administrators
            (with a job title of Manager III), an Admin Tech, and new Program Specialist positions. Unit
            3D is the Complex Investigation Division. Investigations assigned to staff in these units are
            generally:
                o Investigations that are assigned temporarily until they can be assigned to an
                     investigator.
                o Investigations that are assigned as part of RCI’s project to close backlog of
                     investigations.

2. Units 40 and 41 are both in the data as of December 31, 2019 and going forward. Unit 40 has one
   investigator for December through February and one supervisor, Unit 41 has seen an increase in the
   number of investigators from 2 in December to 6 in February. *** Rand indicated that these units
   were new as of December. These units were created December 2019 as a result of new supervisor
   and investigator positions received. Unit 40 staff are all newly created positions. Unit 41 staff are a
   mixture of newly created positions and existing positions that were added as units were
   restructured.

3. Unit 16 staff are included in data for October 31, November 31, January 31, and February 29 but do
   not appear in the data for December 31. – this is 5 staff all carrying caseloads. (60 cases in
   November, 80 cases in January). ***Rand indicated that this was a “data glitch” and a new
   December file would be provided. This was actually a SQL coding glitch that resulted from the new
   and complex coding required to produce the report in the format monitors requested, which is
   different from the way in which the agency normally reports caseloads.




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4. Unit 29 is included in the data with a investigations in September, October, December, January and
   February. In October there were 30 investigations for the unit and in December there were 14
   cases for the unit. There are no investigations for Unit 29 in November.                  is a caseload
   carrying supervisor for all months. In November           is in the data as a supervisor only, with no
   cases for the unit. See comments for Unit 29 in response to #1 above. We confirmed that
          was not assigned primary to any RCI investigations on November 30, 2019.

5.                        (supervisor II in unit 5 and manager III in unit 29) is included in the Oct and Nov
     data as a supervisor carrying a caseload. In December he is only carrying cases in unit 29 – he is no
     longer included as a supervisor. He is a supervisor carrying a caseload again in January and
     February. All of             staff were shifted to              in December.                           was a
     supervisor who was carrying cases in the September, October and November reports so he was
     included on the list of staff carrying cases and in the aggregate count of supervisors carrying cases.
     On December 30, 2019, he was promoted to a Manager III and so was included on the December 31,
     2019 list of staff carrying cases but not included in the aggregate count of supervisors carrying cases.
     In January he was similarly was included on the list of staff carrying cases but not included in the
     aggregate count of supervisors carrying cases. In February, however, we started including any
     individual with supervisory responsibilities in the aggregate count of supervisors carrying cases (not
     just those with a position title of supervisor) so he was both included on the list of staff carrying
     cases and included in the aggregate count of supervisors carrying cases. After                       was
     promoted, all investigators were temporarily shifted to reporting to                   , a Manager III, while
     logistics regarding new positions were sorted out.                     and               (Manager III)
     supervise unit supervisors.

6. Data on hire date and case assignable dates were provided to the monitors for the investigator
   interviews conducted this month. This data was matched to caseload data. Five staff included in
   the November and December 31 caseload data have case assignable dates of 1/31/20. These staff
   are:
                       – 2 cases in December (also in November data – 8 cases) hire date as RCCI
        11/12/19
                      - 2 cases in December (also in November data-10 cases) RCCI hire – 11/11/19
                          – 10 cases in December (also in November data-10 cases) RCCI hire – 10/7/19
                            – 7 cases in December (also in November data -10 cases) RCCI hire –
        11/12/19
                        – 9 cases in December (also in November data 9 cases) RCCI hire – 10/14/19

As part of the RCI Case Closure project, some RCI investigations were assigned to Special and Master
Investigators who are part of the DFPS Child Protection Investigations division but do not report through
the RCI chain of command. To ensure RCI investigations assigned to these staff continued to be counted
under the RCI program, RCI staff, including the above staff who were trainees at the time, were assigned
primary in IMPACT while the Special and Master Investigators were assigned primary in CLASS. The RCI
trainees, however, did not perform primary investigation duties but only performed tasks such as
transcribing audio, documenting contacts in CLASS, requesting information from the operation, and
uploading audio/video to One Case. The practice was subsequently changed on March 1, 2020 so that
trainees are no longer assigned as primary on cases until they complete their training.



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7.                      , investigator in unit 5, is in the data in November, December and February. She is
      not in the data for January. We confirmed that                       was not assigned primary for any
      RCI cases on January 31, 2020.

8.                      is included in all data – October to February – with a title of CCI supervisor II but
      not supervising any investigators and carrying 1 case in unit 14. (14 does not appear to be a unit)
      ***Rand indicated that            was a DCI supervisor and had been carrying a single RCI case for 2
      years. See comments for                       is response to #1.

9. January and February data include a staff person with the title of “Admin Assistant II’ as an
   investigator carrying 1 case. (             ). That is correct.                is a router which
   means investigations can be temporarily assigned to him while it is determined to which investigator
   the investigation will be assigned.

              a. Routing Process
                       i. SWI places an intake on the router’s workload in IMPACT.
                       ii. The router assigns the IMPACT intake to the designated screener’s workload.
                       iii.       The screener assesses the intake to make the priority decision and
                           complete documentation in IMPACT.
                       iv.        If the intake is accepted for A/N investigation, the screener stage
                           progresses the intake to investigation and places it on the router’s workload in
                           IMPACT.
                       v. The router then places the investigation on the assigned investigator’s workload
                           in IMPACT.

10.                              , caseload carrying supervisor in unit 33 has a title change in February to
      “CPS Inv Screener PS II” in unit 0 but is still carrying a caseload of 7 cases.             , supervisor in
      unit 16 in October and November is not in the data for December or January and is in the February
      data as a “CPS Inv Screener PS II” in unit 0 carrying 1 case.
               For                            , see comments about Unit 0 in response to #1 above. The
               cases assigned to her in the February caseload report are those that had been assigned to
               her in her prior position that had not yet closed.
               Could you please explain the role of the screener position
                   o Screener role: performs advanced consultative child protective investigations work
                       that includes reviewing child abuse, neglect, and exploitation intake reports for child
                       care operations to determine assignment for investigation or other appropriate
                       actions. Screeners provide case decisions regarding intake prioritization and
                       assignment for investigations with consideration for child safety factors, and will
                       provide input and guidance to staff on case decisions as needed. Decisions are
                       based on the understanding and application of the statutory definitions of abuse,
                       neglect, and exploitation; CCI jurisdiction; CCI policy and procedure; quality
                       investigative practice; and sound professional judgment.




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            as well as the absence of                 in the data for the months of December and January.
                o                   was hired as a CPS INV Screener II on 12/30/19 which is why he did not
                     show up as a supervisor in the December or January report (which are based on an
                     individual’s status on the last day of the month). He shows up in the February
                     report because he is assigned primary to at least 1 RCI investigation and his current
                     job title as a Screener is correctly identified.

11. Investigator interview data provided by state included a PID# and an Employee ID number for all
    staff interviewed. These numbers do not match to the “employee person ID“ provided in the
    investigator caseload data. Could you please clarify these ID numbers? The number we provided in
    the caseload report is the staff’s PID and we confirmed that it matches the PID provided in the
    investigator interview data.

12. Could you please clarify the definition of a unit? We had assumed, in error, that the units
    represented specific offices, but data provided on office location show a single unit with offices all
    over the state. We had originally requested data on investigator location – primarily city or region –
    and were provided with unit information. We will not be able to use unit as a proxy for investigator
    location.
        For CCI’s purposes a unit is a group of individuals, with similar job functions who report to one
        supervisor who is responsible for managing and overseeing the work produced each unit
        member. CCI does try to house unit staff and its supervisor in the same region or office,
        whenever possible. However, due to the program’s size, and the limited number of positions, it
        isn’t always feasible or efficient to house all unit members in the same region or office. We
        provided the offices in which each unit is housed but it will not necessarily be reflective of the
        area in which they cover cases. Staff generally work cases in the region where they are
        housed and we have at least one staff person housed in each of the 11 regions. There
        are circumstances, however, where staff may work investigations in a different region as
        part of the backlog project or at times when a child care operation may be in a different
        region, but is geographically closer to an investigator across regional lines.

13. Could you please clarify the workload for supervisors in the data? Some supervisors only appear to
    be supervising one investigator. Do all supervisors/ managers supervise investigators as well as
    other staff?
        Generally, staff with a job title of supervisor manage investigators and, sometimes,
        administrative assistants. The number of investigators in any particular unit assigned cases on a
        given day can vary over time as positions become vacant, staff go on extended leave and their
        cases are reassigned or new units are created (e.g., Unit 40 and 41) to accommodate new
        investigator positions.




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Subject:    FW: Problems with the CCI Caseload Data
Date:       Tuesday, June 23, 2020 at 5:50:24 PM Central Daylight Time
From:       Linda Brooke
AGachments: image001.jpg, RCCI invesLgator caseload data quesLons-ﬁnal.docx, RO.B1 RCI caseloads as of
            12-31-19 - revised 4-23-20.xlsx

From: Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us>
Date: Fri, Apr 24, 2020 at 3:22 PM
Subject: RE: Problems with the CCI Caseload Data
To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
Cc: narrigona@texasappleseed.net <narrigona@texasappleseed.net>, Harris,Rand S (DFPS)
<Rand.Harris@dfps.state.tx.us>, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>, Carmical,Audrey (DFPS)
<Audrey.Carmical@dfps.state.tx.us>, Kevin Ryan <kevinmichaelryan1967@gmail.com>, Viveca MarLnez
<vmarLnez@texasappleseed.net>, Linda Brooke <lbrooke@texasappleseed.net>, BaLste,Ashland (DFPS)
<Ashland.BaLste@dfps.state.tx.us>, Baxter,Ross M. (DFPS) <Ross.Baxter@dfps.state.tx.us>


Hi all,

Hope everyone is staying safe and sanitized!

Attached is the revised December report which includes Unit 16. We re-ran the entire
report so the date of the data will be different from the original report. As we
discussed on our telephone call last week, other than adding the investigations
assigned to staff in Unit 16, the number of investigations did not really change. There
are, however, more alleged victims than in the original report (even accounting for
adding Unit 16) due to the updated data as alleged victims can be added over the
course of an investigation. So the revised report reflects the number of alleged victims
in the investigations on the date the data was pulled. We will be producing the next
regular RCI caseload report on May 1, 2020 (reflecting caseloads on March 31, 2020).

Also attached are the written responses to the questions Nancy sent prior to our
telephone conference last week.

As previously discussed, the RCI program is managed at the state level. What you are
seeing in the databook page you reference below is the location of the office where
staff are housed (as noted on the information tab for the databook page). As we
discussed in the telephone call last week, staff generally work cases in the region
where they are housed and we have at least one staff person housed in each of the 11
regions. There are circumstances, however, where staff may work investigations in a
different region as part of the backlog project or at times when a child care operation
may be in a different region, but is geographically closer to an investigator across
regional lines. We have previously provided a list of the location of offices where staff
from each unit are housed.

Given this context, in response to Nancy’s request for suggestions about how to
determine the number of staff needed to meet the 14-17 caseload guidelines for
Residential Child Care Investigation (RCI), using the monthly report produced to the
monitors entitled “RO.B1 RCI caseloads”:


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· Option 1: Take the total number of investigations and divide by the total
number of caseworkers



·   Option 2: Average the caseloads of all caseworkers



· Option 3: Take the total number of investigations and divide by 17 (the upper
limit of the caseload guidelines) and subtract the total number of caseworkers
already working cases

In any calculations you do, however, please remember that both the total number of
investigations and the number of caseworkers has been changing over the past few
month as new staff have come onboard and RCI works down its backlog of cases. As a
result, any numbers that you from the reports will likely look different in a few months.

As always, please let us know if you have any questions or need any additional
information.

Jane Burstain
Chief Data and Analytics Officer
Texas Department of Family and Protective Services
512-547-7960 (cell)
512-438-3279 (office)




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Megan Annitto

From:                              Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
Sent:                              Wednesday, March 11, 2020 6:09 PM
To:                                Kevin Ryan; Carmical,Audrey (DFPS); Masters,Jaime D (DFPS); Stephens, Andrew
Cc:                                Diane Carter Gmail; Megan Annitto; dfowler@texasappleseed.net; Roper,Tiffany
                                   (DFPS); Batiste,Ashland (DFPS); Olah,Tara (DFPS)
Subject:                           RE: TAC §700.507 (e)(1)(A)-(C)

Follow Up Flag:                    Follow up
Flag Status:                       Flagged



Hi Kevin,

Child Care Investigations (CCI) policy is not in conflict with the Texas Administrative
Code (TAC) rule you mention as that rule applies solely to Child Protective Investigations
(CPI). For the purpose of CCI intakes, if the information is too vague or general, contact
may occur with the reporter or other individuals in order to obtain clarifying information,
as outlined in the Prioritization Guidelines.

Thank you


Rand Harris
512-438-3083

From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
Sent: Wednesday, March 4, 2020 8:08 AM
To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>;
Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>; Stephens, Andrew <andrew.stephens@oag.texas.gov>
Cc: Diane Carter Gmail <dscott3555@gmail.com>; mannitto@public-catalyst.com; dfowler@texasappleseed.net
Subject: TAC §700.507 (e)(1)(A)-(C)

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                           them from the sender and know the content is safe.

Rand,

When the information from a referral to SWI or the CCI Screening Unit is insufficient to determine whether or not there
are safety threats to the child, the Administrative Code supports concluding that these cases should be investigated as a
result. The Admin Code state that:

DFPS staff must complete a thorough investigation if DFPS obtains information indicating that:
  (A) there are safety threats to the child because of abuse or neglect;
  (B) risk of abuse or neglect is indicated; or
  (C) based on information in the report and any initial contacts, it is impossible to determine whether or not there
are safety threats to the child because of abuse or neglect or whether risk of abuse or neglect is
indicated. TAC §700.507 (e)(1)(A)-(C)

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At the same time, a portion of the Child Care Licensing Policy and Procedures Handbook section for ‘Downgrading an
Abuse or Neglect Report’ appears to directly contradict that section of the code. There, the policy states that CCI may
downgrade an abuse or neglect report when the information in the report:
1) suggest a minimum standard was violated, but not that a child was abuse or neglected; 2) or indicates that there is
some risk to children, but the information is too vague to determine that a child was abused or neglected.” CCI
Handbook §6242.2.

How does DFPS reconcile this guidance in the Handbook policy and procedures with TAC §700.507 (e)(1)(C)




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                                   Document       904- Fwd:
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                                                            FW: Data               inRequest
                                                                     and Information  TXSDfromPage
                                                                                               Monitors24 of 282




 Fwd: FW: Data and Information Request from Monitors
 1 message




    From: Deborah Fowler <dfowler@texasappleseed.net>

    Sent: Monday, September 30, 2019 4:14 PM
    To: Stephens, Andrew <Andrew.Stephens@oag.texas.gov>; Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.
    tx.us>; Townsend,Frances R (HHSC) <Frances.Townsend@hhsc.state.tx.us>
    Subject: Data and Information Request from Monitors



    Andrew, Audrey & Frances,



    Attached please find a data and information request. Please let us know of any questions.



    Thank you,



    Deborah Fowler

    Executive Director

    Texas Appleseed

    1609 Shoal Creek Blvd., Ste. 201

    Austin, TX 78701

    512.473.2800, ext. 105

    512.757.1458 (cell)

    www.texasappleseed.org



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September 30, 2019
Mr. Andrew Stephens, Esq.
Office of the Attorney General
PO Box 12548
Austin, Texas 78711-2548


Dear Mr. Stephens:
Attached here please find a data and information production request from the Monitors regarding
the State’s obligations pursuant to the U.S. District Court’s order in M.D. v. Abbott. The initial
submission is due by November 1, 2019, unless a later date is specified in the request, and the
first quarterly report is due November 15, 2019. Additionally, the Monitors have established the
schedule for quarterly submissions going forward and have included those dates in the attached
document. Based on our review and analysis of the data and information submitted, the Monitors
may request supplemental or clarifying data and information for this period and may amend our
data and information request for future periods.
If you have any questions, please contact us.


Sincerely,




Deborah Fowler                       Kevin Ryan


Cc:
Trevor Woodruff
Audrey Carmical
Frances Townsend
Paul Yetter




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                  Information and Data Request: September 30, 2019
Please note the following:

    1) Consistent with the Court’s order in M.D. v. Abbott, the data and information requested herein pertains
       to all children in the PMC class, unless otherwise indicated in the request.

    2) Where a quarterly report is requested, the Monitors have established the following reporting schedule:
       the first quarterly report is due November 15, 2019, covering the period ending September 30, 2019,
       unless otherwise noted; the second is due February 15, 2020, covering the period October 1, 2019 –
       December 31, 2019; the third is due May 15, 2020, covering the period January 1, 2020 – March 31,
       2020; the fourth is due August 15, 2020, covering the period April 1 – June 30, 2020; and continued
       annually. When a due date falls on a holiday or weekend, the data and information is due on the next
       available workday.

    3) Any acronyms used below that are not defined in the document shall have the same meaning that the
       Court has assigned to them in the course of the litigation.

    4) For each file produced, Texas should include a data dictionary that describes the fields in the data and a
       detailed description of the business rules used to extract numerators, denominators and calculate any
       measures.


Remedial Order: Injunction

The Court therefore ENJOINS the Defendants from placing children in permanent management
conservatorship (“PMC”) in placements that create an unreasonable risk of serious harm. The Defendants
SHALL implement the remedies herein to ensure that Texas’s PMC foster children are free from an
unreasonable risk of serious harm.

For the period July 1, 2019 to September 30, 2019, due November 15, 2019, then quarterly thereafter, provide:

    1) A list of all PMC children on the first day of the quarter with name; date of birth; removal date; gender;
       ID number; county; county code; placement name; placement type; placement/provider identification
       number; private or public agency responsible for the placement; contact information for the placement;
       service level; and name and contact information for their AAL, GAL, and CASA, if they have one; and
       the date they entered PMC status.

    2) A list of all PMC children on the last day of the quarter with name; date of birth; removal date; gender;
       ID number; county; county code; placement name; placement type; placement/provider identification
       number; private or public agency responsible for the placement; contact information for the placement;
       service level; and name and contact information for their AAL, GAL, and CASA, if they have one; and
       the date they entered PMC status.

    3) A list of all PMC children who spent any time in care during the quarter with name; date of birth;
       removal date; gender; identification number; county; county code; last placement; last
       placement/provider identification number; private or public agency responsible for the last placement;
       last placement contact information; service level; and name and contact information for their last AAL,
       GAL, and CASA, if they have one, the date they entered PMC status; and the exit date and type (if
       applicable).

    4) A list of all entries during the quarter for children ever in PMC status with name; date of birth; removal
       date; gender; identification number; county; county code; the first placement identification number; first
       placement type; and contact information for the first placement; service level; and name and contact
       information for their AAL, GAL, and CASA, if they have one.




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    5) A list of all exits from care during the quarter of children in PMC status with name; date of birth;
       removal date; exit date and type; gender; identification number; county; county code; placement at exit
       including placement identification number, placement type, and contact information for the placement;
       service level; and name and contact information for their AAL, GAL, and CASA, if they have one.

    6) A placement movement file for all children in the PMC class during the quarter. This file should include
       all movements recorded for each PMC child. Each row should include the name of the child; date of
       birth; removal date; gender; identification number; county; and county code. Each move should include
       placement type; placement/provider identification number and contact information; private or public
       agency responsible for the placement; the placement start date; and the placement end date. The file
       should include temporary absences from care such as AWOL, detention/jail, hospitalizations and similar
       movements. Every child in the PMC class should be included in the file and the first row for each child
       should be the current placement at the beginning of the quarter.

    7) In succeeding quarters, Texas should include a “gap analysis” that accounts for any differences between
       the end of the quarter cohort and the beginning of the next quarter cohort. The analysis should identify
       differences in the two cohorts caused by lagged entries and lagged exits, and any other differences
       between the two cohorts.

Note: There may be multiple placement, setting, episode and move identifiers in IMPACT and CLASS. The data
produced should include all the identifiers pertinent to movements. If there are questions as to whether an
identifier or move should be included, Texas should contact the monitoring team.


Remedial Order: 1

Within 60 days, the Texas Department of Family Protective Services (“DFPS”) shall ensure statewide
implementation of the CPS Professional Development (“CPD”) training model, which DFPS began to
implement in November 2015.

    1) Provide a list of all staff hired by DFPS between September 1, 2018 and September 30, 2019, who have
       or do serve(d) as a primary caseworker for any child in the PMC class and any newly hired staff who are
       intended to serve in the position of a primary caseworker for any child in the PMC class. Include the full
       name; identification number; start date; exit date (if applicable); and assigned work location(s) by county
       and office.

    2) Provide a list of all staff trained in the CPD training model between September 1, 2018 and September
       30, 2019, with start dates and completion dates (if applicable) identified. Identify all staff hired in 2019
       who have not been trained in the CPD training model, the plan for those staff to be trained in the CPD
       training model and the dates by which the training will be completed.

    3) On an ongoing, monthly basis (commencing for the month of October 2019, and due to the Monitors by
       November 15, 2019, and by the 15th of each month thereafter) provide a list of any and all staff hired by
       DFPS in the prior month to serve as a primary caseworker, and provide an updated list of all staff who
       completed training in the CPD training model, including the date they completed the training. Include
       the full name; identification number; start date; exit date (if applicable); and assigned work location.


Remedial Orders: 2, 35

2: Within 60 days, DFPS shall ensure statewide implementation of graduated caseloads for newly hired
CVS caseworkers, and all other newly hired staff with the responsibility for primary case management
services to children in the PMC class, whether employed by a public or private entity.

35: Effective immediately, DFPS shall track caseloads on a child-only basis, as ordered by the Court in



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December 2015. Effective immediately, DFPS shall report to the Monitors, on a quarterly basis, caseloads
for all staff, including supervisors, who provide primary case management services to children in the PMC
class, whether employed by a public or private entity, and whether full-time or part-time. Data reports
shall show all staff who provide case management services to children in the PMC class and their
caseloads. In addition, DFPS’s reporting shall include the number and percent of staff with caseloads
within, below and over the DFPS established guideline, by office, by county, by agency (if private) and
statewide. Reports will include the identification number and location of individual staff and the number
of PMC children and, if any, TMC children to whom they provide case management. Caseloads for staff,
as defined above, who spend part-time in caseload carrying functions and part-time in other functions
must be reported accordingly.

    1) Provide a report by November 15, 2019 and on a monthly basis thereafter, with caseloads for all staff,
       including supervisors, who provide primary case management services to any child in the PMC class,
       with name of employer (public or, as evolves, private), and indicate whether full-time or part-time. The
       report will be a point in time caseload for November 1 and is due by November 15, then for December 1,
       2019 due by December 15, 2019, and monthly thereafter. The reports must include all staff who provide
       case management services to children in the PMC General Class and their caseloads; the number and
       percent of staff with caseloads within, below and over the DFPS guideline once established, by office,
       by county, by agency (if private) and statewide; the identification number and location of all individual
       staff and the number of PMC children and, if any, TMC children to whom they provide case
       management; include caseloads for staff, as defined above, who spend part-time in caseload carrying
       functions and part-time in other functions. Identify all staff subject to a graduated caseload. Provide
       individual fields for every type of case that the worker carries, including those outside the child welfare
       domain, if any. Identify for each staff all non-case carrying work, such as IV-E eligibility
       determinations, that impacts their capacity. Identify all secondary assignments for each staff. Identify at
       the bottom of the report the total number of supervisors carrying a case.

    2) Provide a copy of DFPS’s graduated caseload policy and any field guidance, information or directives
       describing to managers and/or supervisors the graduated caseloads policy and schedule.

    3) On an ongoing monthly basis (commencing for the month of October 2019, and due to the monitors by
       November 15, 2019, and by the 15th of each month thereafter), provide the average monthly caseload,
       by county, for all staff with one or more PMC children on their caseload.

    4) On an ongoing monthly basis (commencing for the month of October 2019, and due to the monitors by
       November 15, 2019, and by the 15th of each month thereafter), provide a list of all employees subject to
       the graduated caseloads during the previous month. Identify the full name; title; identification number;
       start date; exit date (if applicable); agency name; county; district or region; the name of the supervisor
       and supervisor identification number; assigned work location(s); and whether they were compliant with
       the relevant graduated caseload at all times during the month. For any staff whose caseloads exceeded
       the graduated caseload standard at any time in the previous month, identify the number of days they
       were not compliant with the graduated caseload standard.


Remedial Order: 3; 5 -10; 12-19; B5

3: DFPS shall ensure that reported allegations of child abuse and neglect involving children in the PMC
class are investigated; commenced and completed on time consistent with the Court’s Order; and
conducted taking into account at all times the child’s safety needs. The Monitors shall periodically review
the statewide system for appropriately receiving, screening, and investigating reports of abuse and neglect
involving children in the PMC class to ensure the investigations of all reports are commenced and
completed on time consistent with this Order and conducted taking into account at all times the child’s
safety needs.

5: Within 60 days and ongoing thereafter, DFPS shall, in accordance with existing DFPS policies and
administrative rules, initiate Priority One child abuse and neglect investigations involving children in the



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PMC class within 24 hours of intake. (A Priority One is by current policy assigned to an intake in which
the children appear to face a safety threat of abuse or neglect that could result in death or serious harm.)

6: Within 60 days and ongoing thereafter, DFPS shall, in accordance with existing DFPS policies and
administrative rules, initiate Priority Two child abuse and neglect investigations involving children in the
PMC class within 72 hours of intake. (A Priority Two is assigned by current policy to any CPS intake in
which the children appear to face a safety threat that could result in substantial harm.)

7: Within 60 days and ongoing thereafter, DFPS shall, in accordance with DFPS policies and
administrative rules, complete required initial face-to-face contact with the alleged child victim(s) in
Priority One child abuse and neglect investigations involving PMC children as soon as possible but no later
than 24 hours after intake.

8: Within 60 days and ongoing thereafter, DFPS shall, in accordance with DFPS policies and
administrative rules, complete required initial face-to-face contact with the alleged child victim(s) in
Priority Two child abuse and neglect investigations involving PMC children as soon as possible but no
later than 72 hours after intake.

9: Within 60 days and ongoing thereafter, DFPS must track and report all child abuse and neglect
investigations that are not initiated on time with face-to-face contacts with children in the PMC class,
factoring in and reporting to the Monitors quarterly on all authorized and approved extensions to the
deadline required for initial face-to-face contacts for child abuse and neglect investigations.

10: Within 60 days, DFPS shall, in accordance with DFPS policies and administrative rules, complete
Priority One and Priority Two child abuse and neglect investigations that involve children in the PMC
class within 30 days of intake, unless an extension has been approved for good cause and documented in
the investigative record. If an investigation has been extended more than once, all extensions for good
cause must be documented in the investigative record.

12: Effective immediately, the State of Texas shall ensure the Residential Child Care Licensing (“RCCL”)2
investigators, and any successor staff, observe or interview the alleged child victims in Priority One child
abuse or neglect investigations within 24 hours of intake.

13: Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff,
observe or interview the alleged child victims in Priority Two child abuse or neglect investigations within
72 hours of intake.

14: Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff,
complete Priority One and Priority Two child abuse and neglect investigations within 30 days of intake,
consistent with DFPS policy.

15: Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff,
complete Priority Three, Priority Four and Priority Five investigations within 60 days of intake, consistent
with DFPS policy.

16: Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff,
complete and submit documentation in Priority One and Priority Two investigations on the same day the
investigation is completed.

17: Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff,
complete and submit documentation in Priority Three, Priority Four and Priority Five investigations
within 60 days of intake.

18: Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff,
finalize and mail notification letters to the referent and provider(s) in Priority One and Priority Two
investigations within five days of closing a child abuse and neglect investigation or completing a standards



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investigation.

19: Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff,
finalize and mail notification letters to the referent(s) and provider(s) in Priority Three, Priority Four and
Priority Five investigations within 60 days of intake.

B5: Effective immediately, DFPS shall ensure that RCCL, or any successor entity, promptly communicates
allegations of abuse to the child’s primary caseworker. In complying with this order, DFPS shall ensure
that it maintains a system to receive, screen, and assign for investigation, reports of maltreatment of
children in the General Class, taking into account at all times the safety needs of children.

    1) Provide a list of all referrals received by DFPS and HHSC between July 31, 2019 and September 30,
       2019, via phone call, website, fax, regular mail and any other manner in which the referent expresses
       concern about child maltreatment regarding any and all PMC children in the General Class, regardless of
       placement type and licensure status, and provide same on a monthly basis thereafter. For October 2019,
       the report will be due November 15, 2019, and so forth. The list shall include the identification number
       of the referral; the PMC child identifier(s) linked to the referral; the date of the call/communication; the
       disposition of the report by Statewide Intake (where referred, whether it was classified as an intake or
       information and referral, and the priority assigned); the date and manner of notification to the child’s
       primary caseworker of the allegations; and the disposition of the report by the office/division to which it
       is referred (CCI, RCCL, CPI, etc.) including whether it was referred for an abuse and neglect
       investigation, a minimum standards investigation, the priority assigned to the investigation, and any
       other information with regard to how the state addressed or planned to address the report.

    2) For all investigations, including all those conducted by CCI, CCL, CPI etc. regarding any child in the
       PMC General Class initiated between July 31, 2019 and September 30, 2019, identify in a report due
       November 15, 2019: the manner of initiation (action taken that triggered the start of the investigation);
       the county where the maltreatment is alleged; the date/time of face to face contact with the alleged
       victim(s) (as applicable) noting any and all untimely face to face contacts and the reason for any
       approved extensions to the face to face contact timeframe; the relationship(s) of the alleged
       perpetrator(s) to the alleged child-victim(s); the child's placement type at the time of the alleged
       maltreatment; the placement/provider identification number; the referral identification number; the
       investigation identification number; and the name and identification number of the assigned investigator.
       Provide the date/time the investigation was launched and, if applicable, completed; the date
       documentation of completion was entered in IMPACT; the reason for all approved extensions to the
       investigation completion date/time (when applicable); the date the completed investigation was
       submitted to the supervisor for approval; the date the supervisor approved the investigation; the
       disposition of each allegation; the overall disposition of the investigation; and the date of any
       notification letters to parents, providers, and/or referents. Report quarterly thereafter.

    3) Provide DFPS Investigations Division Field Communication #008, published March 11, 2019.

    4)   Provide DFPS Investigations Division Field Communication #010, published June 19, 2019.

    5) Provide DFPS Investigations Division Field Communication #007, published March 8, 2019.


Remedial orders: 4, 32

4: Within 60 days, DFPS shall ensure that all caseworkers and caregivers are trained to recognize and
report sexual abuse, including child-on-child sexual abuse.

32: Within 90 days of this Order, DFPS shall create a clear policy on what constitutes child on child sexual
abuse. Within 6 months of the Court’s Order, DFPS shall ensure that all staff who are responsible for
making the determinations on what constitutes child on child sexual abuse are trained on the policy.




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    1) Due to the monitors by November 15, 2019 and on a quarterly basis thereafter, provide a list that
       includes the date of completion of sexual abuse training for all caseworkers and caregivers (including
       the name and identification number of the caseworkers; and the names, identification numbers, and
       addresses of the caregivers) assigned to serve children in the PMC class as of September 30, 2019. For
       quarterly reporting beginning with February 15, 2020 report, include all caseworkers and caregivers
       assigned to serve children in the preceding period. Consistent with the Court’s order, training is required
       to include information about how to recognize and report sexual abuse training, including child-on-child
       abuse. For ongoing quarterly reporting, provide a list that includes the date of completion of sexual
       abuse training for all caseworkers and caregivers (including the name and identification number of the
       caseworkers; and the names, identification numbers and addresses of the caregivers) assigned to serve
       children in the PMC class as of the last date of the quarter.

    2) Provide a copy of current sexual abuse training materials referenced above and, if changes or updates are
       made, provide updated materials on a quarterly basis thereafter.


Remedial Order: 11

Within 60 days and ongoing thereafter, DFPS must track and report monthly all child abuse and neglect
investigations involving children in the PMC class that are not completed on time according to this Order.
Approved extensions to the standard closure timeframe, and the reason for the extension, must be
documented and tracked.

For all investigations opened between July 31, 2019 and September 30, 2019, provide by November 15, 2019, a
list of all child abuse and neglect investigations conducted by CCI (or other divisions, offices, or agencies)
involving children in the PMC class, noting whether they were completed on time, or not; note all investigation
identification numbers; any and all approved extensions; and identify the reason for any and all approved
extensions. Provide same on an ongoing quarterly basis.


Remedial Order: 20

Within 120 days, RCCL, and/or any successor entity charged with inspections of child care placements,
will identify, track and address concerns at facilities that show a pattern of contract or policy violations.
Such facilities must be subject to heightened monitoring by DFPS and any successor entity charged with
inspections of child care placements and subject to more frequent inspections, corrective actions and, as
appropriate, other remedial actions under DFPS’ enforcement framework.

Provide:

    1) A detailed description of how RCCL defines a pattern of contract or policy violations. Provide the policy
       or protocol, if any, used to instruct decisions about whether a pattern of contract or policy violations
       exists for child care placement facilities.

    2) A list of all licensed placements, excluding agency foster homes, inspected over the last three years,
       starting from September 30, 2016 through September 30, 2019. The list should identify whether the
       inspection was announced or unannounced; all deficiencies cited during the inspection; any follow up
       inspections and the results of those inspections; any enforcement taken (including warning letters) as a
       result of a cited deficiency; the placement/provider name and identification number and county; agency
       responsible for the placement; number of beds; and name of the facility. Include the CLASS Risk
       Review Enforcement Recommendations, and, if an alternative to the recommended enforcement was
       chosen, the reason for the alternative.

    3) For the same time period, all requests by an operation for Licensing to review a policy, and the results of
       the request.




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    4) For the same time period, all risk analyses performed pursuant to the process described in section 4800
       et seq. of the HHSC Child Care Licensing Policy and Procedures Handbook, and any action taken as a
       result of the analysis.

    5) For the same time period, a list of all agency foster homes inspected. The list should indicate the date of
       the inspection(s); whether the home was inspected due to random sampling or because some other event
       triggered the inspection; whether the inspection was announced or unannounced; any deficiencies cited
       as a result of the inspection; any immediate hazards reported; and any enforcement action taken by the
       CPA or RCCL. The list should include the placement/provider name; the unique foster home
       identification number; the date the home was opened; the date the home was closed (if applicable);
       contact information for the home; the home’s county; and the agency responsible for the foster home,
       with contact information for the agency.

    6) For the same time period, all documentation of monitoring plans or corrective actions taken by the State
       (either by DFPS or RCCL) as a result of heightened contract or licensing monitoring or enforcement.

    7) For the same time period, a list of all child care placements that includes any and all allegations of
       contract violations, policy violations, minimum standards violations, or abuse and neglect, including the
       nature of the allegation and specific standard, policies, or contractual provisions allegedly violated;
       whether the allegation was substantiated; and any enforcement or corrective action taken.

    8) Starting July 31, 2019 through September 30, 2019, and on a quarterly basis thereafter, a report that
       includes a list of all restraints and/or Emergency Behavior Interventions (EBI) disaggregated by
       placement. The report shall include placement/provider name, identification number, county, contact
       information, and, if a foster home, the agency responsible; type of restraint or EBI; date of incident;
       reason for restraint or EBI; name of child(ren) involved, along with identification number, date of birth,
       and race/ethnicity/gender of the child. Identify all situations in which the child sustained an injury and
       all situations in which the child required medical attention as a result of the restraint or EBI.

    9) Provide a copy of DFPS shell contracts and contract amendments for each type of residential placement
       facility for FY 2018 and FY 2019.


Remedial order: 21

Effective immediately, RCCL and/or its successor entity, shall have the right to directly suspend or revoke
the license of a placement in order to protect children in the PMC class.

    1) Provide the number of placement licenses that have been revoked by the State over the last five years
       through September 30, 2019 and reasons for revocation.

    2) Going forward, provide the names of placements under consideration for revocation or suspension, prior
       to a final decision, including the reason(s) for such consideration. Immediately upon suspension or
       revocation of a license, provide the name of the placement; identification number; county; contact
       information; the agency responsible; and reasons for revocation or suspension.


Remedial Order: 22

Effective immediately, RCCL, and any successor entity charged with inspections of child care placements,
must consider during the placement inspection all referrals of, and in addition all confirmed findings of,
child abuse/neglect and all confirmed findings of corporal punishment occurring in the placements. During
inspections, RCCL, and any successor entity charged with inspections of child care placements, must
monitor placement agencies’ adherence to obligations to report suspected child abuse/neglect. When
RCCL, and any successor entity charged with inspections of child care placements, discovers a lapse in
reporting, it shall refer the matter to DFPS, which shall immediately investigate to determine appropriate



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corrective action, up to and including termination or modification of a contract.

Starting July 31, 2019 through September 30, 2019, and updated quarterly thereafter, provide:

For each item below include the name of the placement; identification number; county; contact information; and
the agency responsible.

    1) All reports RCCL has sent or sends to DFPS related to failure to report abuse or neglect.

    2) All notifications DFPS has sent or sends to placements regarding violations and corrective action or
       contract terminations related to failure to report abuse or neglect.

    3) Reports of punishments used on a PMC youth that are prohibited by TAC 749.1953 or 749.1957,
       disaggregated by type of punishment, reason for punishment, and placement.


Remedial Order: 23

Within 60 days, DFPS shall implement within the child’s electronic case record a profile characteristic
option for caseworkers or supervisors to designate PMC and TMC children as “sexually abused” in the
record if the child has been confirmed to be sexually abused by an adult or another youth.

    1) Provide confirmation by November 15, 2019, that the DFPS electronic case records include a profile
       characteristic option for caseworkers or supervisors to designate whether any PMC or TMC child is
       confirmed to have been “sexually abused” by an adult or another youth.

    2) Provide all instructions workers receive regarding when to check the profile characteristic box.


Remedial Orders: 24-27

24: Within 60 days, DFPS shall document in each child’s records all confirmed allegations of sexual abuse
in which the child is the victim.

25: Effective immediately, all of a child’s caregivers must be apprised of confirmed allegations at each
present and subsequent placement.

26: Effective immediately, if a child has been sexually abused by an adult or another youth, DFPS must
ensure all information about sexual abuse is reflected in the child’s placement summary form, and
common application for placement.

27: Effective immediately, all of the child’s caregivers must be apprised of confirmed allegations of sexual
abuse of the child at each present and subsequent placement.

1) Provide a list of all children who are confirmed victims of sexual abuse as of November 15, 2019. Update
same quarterly. The list should include the child’s identification number; date of birth; current placement;
placement type; provider identification number; date of placement; removal date.

2) For the period July 31, 2019 to September 30, 2019, and quarterly thereafter, provide a list of all placements
for every child identified as a sexual abuse victim. Include the child’s identification number; date of birth; the
child’s current placement; placement type; provider identification number; date of placement; removal date; date
the profile characteristic option was selected; the date all placements during the quarter commenced; the date the
placement caregivers were notified of confirmed allegations of sexual abuse involving the PMC child; and
whether all of the child’s placement summary forms and common applications for placement during the period
included all information about the child’s sexual abuse.




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Remedial Order: 28

Effective immediately, DFPS shall ensure a child’s electronic case record documents “child sexual
aggression” and “sexual behavior problem” through the profile characteristic option when a youth has
sexually abused another child or is at high risk for perpetrating sexual assault.

Provide a current list of children whose electronic case record documents “child sexual aggression” and/or
“sexual behavior problem” through the profile characteristic option (and on a quarterly basis thereafter). Include
the child’s identification number; date of birth; current placement; placement type; provider identification
number; date of placement; removal date; and when the profile characteristic option was selected. Provide an
updated list quarterly.


Remedial Order 29-31

29: Effective immediately, if sexually aggressive behavior is identified from a child, DFPS shall also ensure
the information is reflected in the child’s placement summary form, and common application for
placement.

30: Effective immediately, DFPS must also document in each child’s records all confirmed allegations of
sexual abuse involving the child as the aggressor.

31: Effective immediately, all of the child’s caregivers must be apprised at each present and subsequent
placement of confirmed allegations of sexual abuse involving the PMC child as the aggressor.

For the period July 31, 2019 to September 30, 2019, and quarterly thereafter, provide a list of all placements for
every child identified with sexual aggression and/or a sexual behavior problem. Include the child’s identification
number; date of birth; the child’s current placement; placement type; provider identification number; date of
placement; removal date; date the profile characteristic option was selected; the date all placements during the
quarter commenced; and the date the placement caregivers were notified of confirmed allegations of sexual abuse
involving the PMC child as the aggressor.


Remedial Order: 37

Within 60 days, DFPS shall ensure that all abuse and neglect referrals regarding a foster home where any
PMC child is placed, which are not referred for a child abuse and neglect investigation, are shared with the
PMC child’s caseworker and the caseworker’s supervisor within 48 hours of DFPS receiving the referral.
Upon receipt of the information, the PMC child’s caseworker will review the referral history of the home
and assess if there are any concerns for the child’s safety or well-being, and document the same in the
child’s electronic case record.

    1) Beginning September 16, 2019 through September 30, 2019 and on a quarterly basis, identify all
       referrals involving a foster home that were not ultimately referred for a child abuse and neglect
       investigation by or through Statewide Intake or a secondary review process; the date of the referral; the
       referral identification number; the child’s name(s); the allegations/concern; the placement name and
       identification number; the county responsible for the child; the date notification of the referral was made
       to the PMC child’s caseworker; and the date notification of the referral was made to the caseworker’s
       supervisor.

    2) Provide a copy of the DFPS “Prioritization Guideline Handbook” and any other guidelines, policies and
       handbooks established to inform the initiation of an investigation.


Remedial Orders: A1-A4




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A1: Within 60 days of the Court’s Order, DFPS, in consultation with and under supervision of the
Monitors, shall propose a workload study to generate reliable data regarding current caseloads and to
determine how many children caseworkers are able to safely carry, for the establishment of appropriate
guidelines for caseload ranges. The proposal shall include, but will not be limited to: the sampling criteria,
timeframes, protocols, survey questions, pool sample, interpretation models, and the questions asked
during the study. DFPS shall file this proposal with the Court within 60 days of the Court’s Order, and the
Court shall convene a hearing to review the proposal.

A2: Within 120 days of the Court’s Order, DFPS shall present the completed workload study to the Court.
DFPS shall include as a feature of their workload study submission to the Court, how many cases, on
average, caseworkers are able to safely carry, and the data and information upon which that
determination is based, for the establishment of appropriate guidelines for caseload ranges.

A3: Within 150 days of the Court’s Order, DFPS shall establish internal caseload standards based on the
findings of the DFPS workload study, and subject to the Court’s approval. The caseload standards that
DFPS will establish shall ensure a flexible method of distributing caseloads that takes into account the
following non-exhaustive criteria: the complexity of the cases; travel distances; language barriers; and the
experience of the caseworker. In the policy established by DFPS, caseloads for staff shall be prorated for
those who are less than full-time. Additionally, caseloads for staff who spend part-time in the work
described by the caseload standard and part-time in other functions shall be prorated accordingly.

A4: Within 180 days of the Court’s Order, DFPS shall ensure that the generally applicable, internal
caseload standards that are established are utilized to serve as guidance for supervisors who are handling
caseload distribution and that its hiring goals for all staff are informed by the generally applicable,
internal caseload standards that are established. This order shall be applicable to all DFPS supervisors, as
well as anyone employed by private entities who is charged by DFPS to provide case management services
to children in the General class.

Pending submission from the State.


Remedial Order: A6

Within 30 days of the Court’s Order, DFPS shall ensure that caseworkers provide children with the
appropriate point of contact for reporting issues relating to abuse or neglect. In complying with this order,
DFPS shall ensure that children in the General Class are apprised by their primary caseworkers of the
appropriate point of contact for reporting issues, and appropriate methods of contact, to report abuse and
neglect. This shall include a review of the Foster Care Bill of Rights and the number for the Texas Health
and Human Services Ombudsman. Upon receipt of the information, the PMC child’s caseworker will
review the referral history of the home and assess if there are any concerns for the child’s safety or well-
being and document the same in the child’s electronic case record.

For the period August 31, 2019 to September 30, 2019, and on a quarterly basis thereafter, provide a list of all
reports made by children in the General Class to the Texas Health and Human Services Ombudsman and/or any
person(s) designated by the State as the “appropriate point of contact for reporting issues relating to abuse or
neglect” and the disposition of those referrals. If the report is received through a point of contact other than the
Ombudsman, please so indicate. Identify for each report, the reporting child’s name; date of birth; identification
number; county; agency responsible for the placement; placement name and identification number. If referred for
investigation, identify the status of the investigation and the investigation number.


Remedial Orders: A7-A8

A7: The Defendants shall immediately cease placing PMC children in licensed foster care (LFC)
placements housing more than 6 children, inclusive of all foster, biological, and adoptive children, that lack
continuous 24-hour awake-night supervision. The continuous 24-hour awake-night supervision shall be



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designed to alleviate any unreasonable risk of serious harm.

A8: Within 60 days of this Court’s Order, and on a quarterly basis thereafter, DFPS shall provide a
detailed update and verification to the Monitors concerning the State’s providing continuous 24-hour
awake-night supervision in the operation of LFC placements that house more than 6 children, inclusive of
all foster, biological, and adoptive children.

    1) Provide a current list of all licensed placements housing more than 6 children, including all foster,
       biological and adoptive children as of September 30, 2019, due November 1, 2019, and quarterly
       thereafter. Identify the placements by name; identification number; county; address and responsible
       agency.

    2) Provide a detailed update and verification concerning the State’s provision of continuous 24-hour
       awake-night supervision in the operation of LFC placements that house more than 6 children, inclusive
       of all foster, biological, and adoptive children by November 1, 2019 and on a quarterly basis thereafter.
       Identify the dates the 24-hour awake-night plans were implemented for each placement. Identify all
       reports that an LFC placement is out of compliance, the date of the report, and who made the report.

    3) Provide a certification to the court through the Monitors that the State is providing continuous 24-hour
       awake-night supervision in the operation of all LFC placements that house more than 6 children,
       inclusive of all foster, biological and adoptive placements.

    4) Provide a list of any placements that have discharged children to avoid providing 24-hour awake-night
       supervision per the Court’s remedial order, including any reasons cited for discharging children other
       than compliance.


Remedial Order: B1

Within 60 days of the Court's Order, DFPS, in consultation with and under the supervision of the
Monitors, shall propose a workload study to: generate reliable data regarding current RCCL, or successor
entity, investigation caseloads and to determine how much time RCCL investigators, or successor staff,
need to adequately investigate allegations of child maltreatment, in order to inform the establishment of
appropriate guidelines for caseload ranges; and to generate reliable data regarding current RCCL
inspector, or successor staff, caseloads and to determine how much time RCCL inspectors, or successor
staff, need to adequately and safely perform their prescribed duties, in order to inform the establishment
of appropriate guidelines for caseload ranges. The proposal shall include, but will not be limited to: the
sampling criteria, timeframes, protocols, survey questions, pool sample, interpretation models, and the
questions asked during the study. DFPS shall file this proposal with the Court within 60 days of the
Court’s Order, and the Court shall convene a hearing to review the proposal.

Provide a report with caseloads for staff, including any supervisors, and any other staff who conduct
investigations involving any PMC child. The report will be a point in time caseload for November 1, 2019 and is
due by November 15, 2019; then for December 1, 2019 due by December 15, 2019; and so forth monthly
thereafter. The reports must include all staff who investigate maltreatment involving any child in the PMC class,
and detail their caseloads; the number and percent of staff with caseloads within, below and over the relevant
guideline once established, by office, by county, and statewide; the identification number and location of all
individual staff; include caseloads for staff, as defined above, who spend part-time in investigative functions and
part-time in other functions and so note. Identify all staff subject to a graduated caseload and so note. Provide
individual fields for every type of case that the staff carries. Identify for each staff all non-case carrying work that
impacts capacity. Identify by total at the bottom of the report the total number of supervisors carrying a case.
Identify all secondary assignments for each staff. The report shall include the number of investigations assigned
to each worker and identify each investigation by number. The report shall identify the number of children
involved in each investigation; the supervisor name and identification number; title of investigating staff; and the
county location of investigating staff. The report shall provide the identification number for each child linked to
an identified investigation.



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Remedial Orders: B2-B4

B2: Within 120 days of the Court’s Order, DFPS shall present the completed workload study to the Court.
DFPS shall include as a feature of their workload study submission to the Court, how many cases, on
average, RCCL inspectors and investigators, or any successor staff, are able to safely carry, and the data
and information upon which that determination is based, for the establishment of appropriate guidelines
for caseload ranges.

B3: Within 150 days of the Court’s Order, DFPS, in consultation with the Monitors, shall establish internal
guidelines for caseload ranges that RCCL investigators, or any successor staff, can safely manage based on
the findings of the RCCL investigator workload study, including time spent in actual investigations. In the
standard established by DFPS, caseloads for staff shall be prorated for those who are less than full-time.
Additionally, caseloads for staff who spend part-time in the work described by the RCCL, or successor
entity, standard and part-time in other functions shall be prorated accordingly.

B4: Within 180 days of this Order, DFPS shall ensure that the internal guidelines for caseload ranges and
investigative timelines are based on the determination of the caseloads RCCL investigators, or any
successor staff, can safely manage are utilized to serve as guidance for supervisors who are handling
caseload distribution and that these guidelines inform DFPS hiring goals for all RCCL inspectors and
investigators, or successor staff.

Pending submission from the State.




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FN 107




From: Kevin Ryan <kevinmichaelryan1967@gmail.com>
Date: Monday, October 28, 2019 at 8:54 AM
To: Andrew Stephens <Andrew.stephens@oag.texas.gov>, "Townsend,Frances R (HHSC)"
<Frances.Townsend@hhsc.state.tx.us>, "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>,
"Carmical,Audrey (DFPS)" <Audrey.Carmical@dfps.state.tx.us>
Cc: Deborah Fowler <dfowler@texasappleseed.net>, Megan Anni,o <manni,o@public-catalyst.com>,
Linda Brooke <lbrooke@texasappleseed.net>
Subject: M.D. v. Abbo, Informa3on and Data Request


Dear Counsel,

The monitors have carefully reviewed the DFPS Information and Data Request Proposal (“DFPS Proposal”) sent on
October 18, 2019, in response to the monitors’ Information and Data Request of September 30, 2019. The monitors
appreciate the time you took on October 24, 2019, to answer the monitors’ questions about the DFPS Proposal.
The monitors repeat the request that in the future, should DFPS or HHSC choose to offer a proposal in response to
a data or information request from the monitors, the agencies make explicit in the proposal any information and/or
data Texas proposes not to provide as requested.

This letter confirms, where indicated, the monitors’ agreement to specified parts of the DFPS Proposal that alter the
terms of the September 30, 2019, original Information and Data Request. Unless specified herein, the monitors
otherwise maintain the terms of the original Information and Data Request, including but not limited to all instances
where the monitors request ongoing, quarterly reporting and DFPS proposes not to continue reporting information
and data to the monitors.

1. With respect to page 1 of the DFPS Proposal, the monitors agree with DFPS’ proposal to align reporting periods
with the Texas state fiscal year. Specifically, the period for Quarter 1 will be September 1 through November 30, and
the Quarter 1 report will be due to the monitors by January 15; the period for Quarter 2 will be December 1 through
the end of February, and the Quarter 2 will be due to the monitors by April 15; the period for Quarter 3 will be March
1 through May 31, and the Quarter 3 report will be due to the monitors by July 15; and the period for Quarter 4 will
June 1 through August 31, and the Quarter 4 report will be due to the monitors by October 15.

2. With respect to the Injunction referenced on page 1 of the DFPS Proposal, the monitors agree to the integrated
format proposed for the report.

3. With respect to the Injunction referenced on page 1 of the DFPS Proposal, the monitors agree to suspend the
monitors’ original request for the name and contact information for PMC children’s AAL, GAL and CASA, if they
have one, based on DFPS’s representations during the October 24, 2019 phone call that this information is not
easily reportable by DFPS and, for the most part, this information is contained in children’s IMPACT case records.
The monitors will look for the information there, when needed. Should the monitors find that the information is not
consistently available in the children's IMPACT case record, the monitors will revisit this request with the State.

5. With respect to Remedial Order 1 (CPD Training) discussed on page 2 of the DFPS Proposal, the monitors agree
to move DFPS’s submission from November 1, 2019, to November 15, 2019.

6. With respect to Remedial Order 1 (CPD Training) discussed on page 3 of the DFPS Proposal, the monitors agree
to move DFPS’s submission from November 15, 2019, to December 15, 2019.

7. With respect to Remedial Orders 2 and 35 (Caseloads), discussed on page 3 of the DFPS Proposal, the monitors
confirm that DFPS intends by use of the words “Caseworker name” in the box on the bottom right to include “all
staff, including supervisors, who provide primary case management services to any child in the PMC class,” as
requested.

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8. With respect to Remedial Orders 2 and 35 (Caseloads), discussed on pages 3 and 4 of the DFPS Proposal, the
monitors do not agree to alterations in the terms of the monitor’s September 30, 2019 request. Because of the
challenges DFPS’ Proposal poses for timely verification and the monitors’ data validation work on behalf of the
Court, the monitors do not agree to a 45 day lag from the point at which caseloads are captured in a report and the
submission of the report to the monitors. We make explicit here this disapproval because DFPS is considering an
alternative proposal to support the monitors’ responsibilities. The monitors are willing to receive and review an
alternative proposal prior to the original deadline of November 1, 2019.

9. With respect to Remedial Orders 2 and 35 (Caseloads), discussed on pages 3 and 4 of the DFPS Proposal, and
for all future caseload reporting by DFPS on or after December 1, 2019, the monitors request that DFPS list, by staff
member, the names and identification numbers of all children assigned to all staff, including supervisors, who
provide primary case management services to any child in the PMC class.

10. With respect to Remedial Order 2 and 35 (Caseloads), discussed on pages 3 and 4 of the DFPS Proposal, the
monitors understand from the DFPS Proposal that DFPS cannot track and report secondary case assignments as
requested. The monitors did not see in the Summary of IMPACT Enhancements sent by email from Tara Olah on
October 25, 2019, a plan to address this issue. Please advise when this data issue will be resolved.



11. With respect to Remedial Orders 3, 5-10, 12-19 and B5 (Monitoring and Oversight), discussed on pages 5 and 6
of the DFPS Proposal, the monitors agree to the proposed deadline modifications requested by DFPS to the initial
and second report.

12. With respect to Remedial Orders 3, 5-10, 12-19 and B5 (Monitoring and Oversight), discussed on pages 5 and
6 of the DFPS Proposal, the monitors confirm the monitors’ use of the word “referrals” as recited on page 5 of the
DFPS Proposal includes any and all calls to the Statewide Intake (SWI) hotline referring to all children in the PMC
class, regardless of whether sent for investigation, and regardless of where the child is placed at the time the
call/email is made/sent to SWI.

13. With respect to Remedial Orders 3, 5-10, 12-19 and B-5 (Monitoring and Oversight), discussed on pages 5 and
6 of the DFPS Proposal, the monitors confirm that DFPS is to provide the following information and data from ALL
investigations opened during the period involving any child in PMC General Class: Intake stage ID number;
Investigation stage ID number; Person ID (for all alleged PMC victims); County where maltreatment is alleged; Most
recent investigator name and ID; Date and time investigation stage started; Program conducting investigation;
Child’s placement type at intake; Placement resource at time of intake; the manner of initiation (action taken by the
investigator that triggered the start of the investigation); the date/time of face to face contacts with alleged victim(s)
as applicable noting any and all untimely face to face contacts and the reason(s) for any approved extensions to the
face to face contact timeframe; the relationships of the alleged perpetrator(s) to the child-victims.

14. With respect to the Remedial Orders 3, 5-10, 12-19 and B-5 (Monitoring and Oversight), discussed on pages 5
and 6 of the DFPS Proposal, the monitors confirm that DFPS is to provide the following information and data from
ALL investigations closed during the period involving any child in the PMC General Class: Intake stage ID number;
Investigation stage ID number; Person ID (for all alleged PMC victims); County where maltreatment is alleged; Most
recent investigator name and ID; Date and time investigation stage started; Program conducting investigation; Date
the investigation completed; Date documentation is completed and submitted to the supervisor; the status of all
allegations involving all PMC children; overall investigation disposition; the reason(s) for all approved extensions to
the investigation completion date/time (when applicable); the date any notification letters are sent to parents,
providers, and and/or referents.

15. With respect to Remedial Orders 3, 5-10, 12-19 and B-5 (Monitoring and Oversight), discussed on pages 5 and
6 of the DFPS Proposal, the monitors requested data and information to determine for the court which active
investigations are overdue for completion. DFPS wrote in the DFPS Proposal that “Due to an IMPACT 2.0 issue,
which the DFPS IT division is addressing, DFPS is currently unable to report on timeframes for extensions or timely
completion [of investigations],” which the monitors will report to the Court.”

16. With respect to Remedial Orders 4 and 32 (Sexual Abuse Training), discussed on page 7 of the DFPS
Proposal, the monitors have carefully reviewed the email from Tara Olah, dated October 25, 2019, on behalf of
DFPS proposing to provide the monitors with “attestations from operations serving PMC children, certifying that
their caregivers serving PMC children have received the mandated training. In addition, operations will provide

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quarterly reports to DFPS that include the following data for caregivers serving PMC children: date caregiver
completed Sexual Abuse training; caregiver name; caregiver ID number; and caregiver address. DFPS will
aggregate these quarterly reports and submit them to the monitors. The first quarterly report will be submitted to the
monitors by December 1, 2019.” The monitors request that the operation attestations list all of the names of
caregivers serving PMC children who completed the mandated training, and all of the names of the caregivers
serving PMC children who did not complete the mandated training as of the date of attestation.

17. With respect to Remedial Order 20 (Heightened Monitoring), discussed on page 8 of the DFPS Proposal, the
monitors agree to the DFPS Proposal for revising the reporting period.

18. With respect to Remedial Order 22 (Serious Incident Reporting), discussed on page 8 of the DFPS Proposal,
the monitors agree to revise the reporting period.

19. With respect to Remedial Order 23 (Profile Characteristic), discussed on page 9 of the DFPS Proposal, the
monitors will advise the Court of the latest status contained in the DFPS Proposal. On September 9, 2019, DFPS
advised the Monitors that compliance with Remedial Order 23 required changes to the agency’s IMPACT data
system, which were due to be completed by November 17, 2019. By email transmission dated September 28, 2019,
from Tara Olah of DFPS, the agency confirmed “Interim (manual) solution completed. Automated solution in
development with targeted completion date of November 17, 2019. On September 9, 2019, DFPS provided the
Monitors and their staff detailed information concerning the Department’s activities, implementation challenges and
next steps. Until the necessary IT enhancements can be made (estimated completion – November 17, 2019), CPS
has implemented an interim solution that requires caseworkers to document sexual victimization on a paper form
(Placement Summary Form 2279). CPS staff are conducting qualitative case reads to ensure appropriate
documentation is included in the child’s records. Absent further instruction from the Monitors, DFPS will provide the
first quarterly case read report in November 2019. Once the IT enhancements are deployed, DFPS staff will invite
the Monitors to participate in an IMPACT demo on the required functionality.” By email transmission on October 18,
2019, DFPS advised the Monitors: “Required IMPACT enhancements are scheduled to deploy 12.19.19.
Meanwhile, CPS has implemented an interim, manual solution requiring documentation in the placement summary
form.” Please identify by November 1, 2019 the November date by which DFPS intends to provide the first quarterly
case read report referenced above.

20. With respect to Remedial Orders 24-27 (Victim Documentation), discussed on page 9 of the DFPS Proposal,
the monitors agree to the revised deadline for data and information contained in the DFPS Proposal.

21. With respect to Remedial Order 28 (Child Sexual Aggression), discussed on page 10 of the DFPS Proposal, the
monitors confirm the list of PMC children described in the DFPS Proposal for the first report will be current as of
August 31, 2019.

22. With respect to Remedial Order 37 (Home History Reviews), discussed on page 11 of the DFPS Proposal,
DFPS indicates that “[p]ending IMPACT enhancements are needed to track notification to the child’s caseworker
and supervisor.” The monitors agree to the revised reporting period and deadline.

23. With respect to Remedial Order 37 (Home History Reviews), discussed on page 11 of the DFPS Proposal,
DFPS indicates that some required notifications did not commence until October 2019. As a result, the monitors
request that DFPS’s second report for this provision be made to the monitors for the period October 1, 2019 –
October 31, 2019, due December 15, 2019, and thereafter the reporting for this provision will align to Quarter 1 as
defined in the DFPS Proposal.

24. With respect to Remedial Order A6 (Points of Contact), discussed on page 12 of the DFPS Proposal, the
monitors learned from DFPS on the October 24, 2019 phone call among DFPS, HHSC and the monitors, that DFPS
does not have access to the requested information. The monitors believe HHSC does have access to this
information and maintain our request. In addition, please provide by November 15, 2019, a detailed description of
how DFPS complies with Remedial Order A6, and what information and data the agency tracks to assess
compliance on an ongoing basis.

25. With respect to Remedial Order A7-A8 (24 Hour Supervision), discussed on page 12 of the DFPS Proposal, the
monitors do not agree to the revised deadline or terms in the DFPS Proposal, and make this decision explicit to
ensure the agency provides this information as requested well in advance of the scheduled Court hearing.

26. With respect to Remedial Order B1 (RCCL Workload Studies), described on page 13, the monitors agree to the


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revised reporting period contained in the DFPS Proposal. The monitors intend to revisit this cadence with DFPS
and HHSC after reviewing the initial data and information submission.

27. With respect to Remedial Order B1 (RCCL Workload Studies), described on page 13, DFPS indicates the
agency cannot provide any information on secondary assignments. The monitors did not see in the Summary of
IMPACT Enhancements sent by email from Tara Olah on October 25, 2019, a plan to address this issue. Please
advise when this data issue will be resolved.



Kevin Ryan and Deborah Fowler

Court Monitors

M.D. v. Abbott




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Megan Annitto

From:                               Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent:                               Friday, April 3, 2020 1:46 PM
To:                                 Kevin Ryan
Cc:                                 Harris,Rand S (DFPS); Carmical,Audrey (DFPS); Kintzer,Corey D (HHSC);
                                    dfowler@texasappleseed.net; Masters,Jaime D (DFPS); Gdula, Kimberly; Linda Brooke;
                                    Megan Annitto; Stephens, Andrew
Subject:                            FW: Case Reads
Attachments:                        JAN RCCI Addendum to Cohort and Non-Cohort Reports Issued 1-29-2020(Final).pdf;
                                    NOV RCCI Addendum to Cohort and Non-Cohort Reports Issued
                                    11-15-2019(Final).pdf



Hi Kevin,

I apologize for the delay. Amid the flurry of activity during the past few weeks, I mistakenly believed we had already sent
this information to you. Historically, CCI interpreted policy to mean that investigation initiation is met by making face-to-
face contact with the alleged victim, unless an exception is granted. While all alleged victims should be observed or
interviewed within the required time frames, in these case reads, CCI determined that the investigation initiation was
met when contact was made with at least one alleged victim, or by other means if an exception to the face-to-face
contact with the alleged victim was granted. The case reading measured timely contact with all alleged victims as a
separate measure. The CCI Quality Assurance Team (QAT) has reevaluated data in the November 2019 and January 2020
case read reports for compliance with investigation initiation time frames based on strict interpretation of CCI Policy and
Field Communication #008. The results of the CCI QAT’s reevaluation is in the attached addendums, in which
investigations are only credited for timely initiation if all alleged victims were interviewed. Future case read reports will
do the same.

Please let us know if you need anything additional.

Thank you,

Tara

From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
Sent: Friday, April 3, 2020 10:24 AM
To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>;
Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>; dfowler@texasappleseed.net; Masters,Jaime D (DFPS)
<Jaime.Masters@dfps.state.tx.us>; Kimberly Gdula <Kimberly.Gdula@oag.texas.gov>; Linda Brooke
<lbrooke@texasappleseed.net>; mannitto@public-catalyst.com; Stephens, Andrew <andrew.stephens@oag.texas.gov>;
Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Subject: Fwd: Case Reads

WARNING: This email is from outside the DFPS system. Do not click on links or attachments unless you expect
                           them from the sender and know the content is safe.
Rand and Tara,

Can you advise me when you will be able to respond to our question of March 2nd below?



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Thank you,

Kevin Ryan

      Sent: Monday, March 2, 2020 5:38 PM
      To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Carmical,Audrey (DFPS)
      <Audrey.Carmical@dfps.state.tx.us>; Deborah Fowler <dfowler@texasappleseed.net>; Gdula,
      Kimberly <Kimberly.Gdula@oag.texas.gov>; Megan Annitto <mannitto@public-catalyst.com>;
      Jaime Masters <Jaime.Masters@dfps.state.tx.us>; Linda Brooke <lbrooke@texasappleseed.net>;
      Andrew Stephens <Andrew.stephens@oag.texas.gov>; Olah,Tara (DFPS)
      <Tara.Olah@dfps.state.tx.us>; Roper,Tiffany (DFPS) <tiffany.roper@dfps.state.tx.us>
      Subject: Case Reads



      Dear Rand,



      We are reviewing the DFPS case reads, which appear to credit the agency with satisfactory
      performance for initiation of a CCI investigation when there is a timely face-to-face meeting
      with one alleged child victim, even if other alleged child victims are not seen timely and there is
      no permissible exception or extension. We have reviewed the DFPS guidance in effect at the
      time with respect to initiation of an investigation, and it clearly requires timely face-to-face
      contact with all alleged child victims absent an authorized exception/extension. Can you explain
      how to reconcile the policy guidance with the case reads?



      Kevin




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 Fwd: Data Request for Remedial Order A6
 1 message




    ---------- Forwarded message ---------
    From: Townsend,Frances R (HHSC) <Frances.Townsend@hhsc.state.tx.us>
    Date: Wed, Oct 30, 2019 at 5:31 PM
    Subject: Data Request for Remedial Order A6
    To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>, Kevin Ryan <kevinmichaelryan1967@gmail.com>
    Cc: Stephens, Andrew <andrew.stephens@oag.texas.gov>, Angela Colmenero <Angela.Colmenero@gov.texas.gov>,
    Joe Bingham <Joe.Bingham@gov.texas.gov>, Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>,
    Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>,
    Fescenmeyer,Megan C (DFPS) <Megan.Fescenmeyer@dfps.state.tx.us>, Harris,Russ (HHSC)
    <Russ.Harris@hhsc.state.tx.us>



    Dear Deborah,



    I am following up from our call last week in which you asked me if HHSC had access to the reports that PMC children
    make to the HHSC Ombudsman. The answer is yes.



    In response to the data request for Remedial Order A6, HHSC is prepared to produce to the Monitors and to the Court a
    list of all reports that PMC children made to the HHSC Ombudsman for the period of August 31, 2019 to September 30,
    2019. Due to the confidentiality statute governing communications with the ombudsman, HHSC is concerned that this
    information cannot be shared with any third parties, such as Plaintiffs’ counsel. (Please see S.B 830, 84th Legislature,
    Regular Session, 2015, (https://capitol.texas.gov/tlodocs/84R/billtext/html/SB00830F.htm). Do you mind sharing your
    thoughts on this issue?



    Also, due to the confidentiality statute, I greatly would appreciate your guidance on how to send this information to you
    and to the Court. Does the Court have a preferred method for transmitting sensitive information, perhaps such as filing it
    under seal with the Court?



    Thank you so very much for your help!



    Respectfully,

    Frances Townsend




    Frances Townsend │ A orney

    Li ga on Department │ Legal Services Division

    4900 North Lamar, Mail Code: 1100
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    Aus n, TX 78751

    Oﬃce: 512-424-6926

    www.hhs.texas.gov │ www.dshs.texas.gov




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    immediately and then delete the message.




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                                                                            and Data/Information Request46 of 282




 Fwd: Correspondence and Data/Information Request
 1 message




    ---------- Forwarded message ---------
    From: Kevin Ryan <kevinmichaelryan1967@gmail.com>
    Date: Fri, Feb 21, 2020 at 5:54 PM
    Subject: Correspondence and Data/Information Request
    To: Andrew Stephens <Andrew.stephens@oag.texas.gov>, Corey D Kintzer <Corey.Kintzer@hhsc.state.tx.us>, Audrey
    Carmical <Audrey.Carmical@dfps.state.tx.us>, Rand S Harris <Rand.Harris@dfps.state.tx.us>, Jaime Masters
    <Jaime.Masters@dfps.state.tx.us>, Tiffany Roper <Tiffany.Roper@dfps.state.tx.us>, Tara Olah
    <Tara.Olah@dfps.state.tx.us>, Kimberly Gdula <Kimberly.Gdula@oag.texas.gov>
    Cc: Deborah Fowler <dfowler@texasappleseed.net>, Linda Brooke <lbrooke@texasappleseed.net>, Megan Annitto
    <mannitto@public-catalyst.com>


    Counsel,

    Correspondence and data/information request attached. Thank you for your attention to this matter.




    2 attachments
         2020.02.19 Letter to AG re DI Request.Final.pdf
         88K
         Texas Data and Information Request - ongoing.xlsx
         58K




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February 21, 2020
Mr. Andrew Stephens, Esq.
Office of the Attorney General
PO Box 12548
Austin, Texas 78711-2548


Dear Mr. Stephens:
       The attached spreadsheet provides an updated data and information production request
from the Monitors regarding the State’s obligations pursuant to the U.S. District Court’s Order in
M.D. v. Abbott. The document identifies two categories of information. First, the monitors have
added new data and information requests. Second, the document identifies data that was previously
requested by the Monitors in the September 30, 2019 correspondence and in the October 28, 2019
correspondence, and which the Monitors assert the State did not produce.

        We are aware that the State previously identified information in the Monitors’ requests that
it could not provide due to technological deficiencies in its systems or otherwise and that those
deficiencies may have been cured or will be cured in future data submissions to the Monitors. To
the extent the State believes some information in this request has already been provided to the
Monitors, please identify and summarize how the State has addressed the defects. If the State
remains unable to provide certain data and information, please identify, summarize, and provide
an expected date of when the State will be able to do so. Where possible, please provide these
summaries in the spreadsheet provided in the relevant space identified. For responses that require
an attachment or a lengthier explanation, please indicate as such within the relevant cell.

Sincerely,




Deborah Fowler                        Kevin Ryan


CC:
Audrey Carmical
Corey Kintzer
Tara Olah
Jaime Masters




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                                     Tuesday, June 23, 2020 at 6:05:28 PM Central Daylight Time

Subject:    FW: RO37 - Home History Reviews (process, documenta=on, =meframes)
Date:       Tuesday, June 23, 2020 at 6:05:05 PM Central Daylight Time
From:       Linda Brooke
AGachments: Home History Review Process and Screen Shots 01.29.20.pdf

From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Date: Wed, Jan 29, 2020 at 7:15 PM
Subject: RE: RO37 - Home History Reviews (process, documenta=on, =meframes)
To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
Cc: Kevin Ryan <kevinmichaelryan1967@gmail.com>, manni\o@public-catalyst.com <manni\o@public-
catalyst.com>, Viveca <vmar=nez@texasappleseed.net>, Carmical,Audrey (DFPS)
<Audrey.Carmical@dfps.state.tx.us>, Roper,Tiﬀany (DFPS) <Tiﬀany.Roper@dfps.state.tx.us>, Levy,Leslie M
(DFPS) <Leslie.Levy2@dfps.state.tx.us>


Kevin/Deborah,

Please see a\ached for the PowerPoint presenta=on men=oned in my email below. I also uploaded it to the
SharePoint. Please let us know if you have ques=ons or need any addi=onal informa=on.

Thank you,

Tara




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  FN 292




---------- Forwarded message ---------
From: Deborah Fowler <dfowler@texasappleseed.net>
Date: Mon, Mar 9, 2020 at 9:55 AM
Subject: Re: RO 37
To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Cc: Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Harris,Rand S (DFPS)
<Rand.Harris@dfps.state.tx.us>, Kevin Ryan <kevinmichaelryan1967@gmail.com>, Viveca Mar]nez
<vmar]nez@texasappleseed.net>, Linda Brooke <lbrooke@texasappleseed.net>


Tara, following up on this - there is an element in our recent data & informa]on request that was mistakenly
included for RO 37:

"Provide Abuse and Neglect and Corporal Punishment reports created to help inspectors compile datafor the
5 year retrospec]ve reports."

That informa]on does not relate to RO 37 - I think it was just a mistake in adding informa]on to the
spreadsheet, we do not need that data.

However, we would like to have the home history reviews themselves. I don't think we have access to the
ﬁles where these are being stored - but I'd like to just clarify that when we talk later this morning. If that's
true, I'd like to talk about where these could be made available to us - either in Sharepoint or OneCase.

Thank you,

Deborah Fowler
Execu]ve Director
Texas Appleseed
1609 Shoal Creek Blvd., Ste. 201
Aus]n, TX 78701
512.473.2800, ext. 105
512.757.1458 (cell)
www.texasappleseed.org




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  FN 312




From: "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>
Date: Wednesday, January 15, 2020 at 11:47 PM
To: Kevin Ryan <kevinmichaelryan1967@gmail.com>
Cc: "dfowler@texasappleseed.net" <dfowler@texasappleseed.net>, "Stephens, Andrew"
<andrew.stephens@oag.texas.gov>, "Kintzer,Corey D (HHSC)" <Corey.Kintzer@hhsc.state.tx.us>,
"Carmical,Audrey (DFPS)" <Audrey.Carmical@dfps.state.tx.us>, "mannitto@public-catalyst.com"
<mannitto@public-catalyst.com>, Linda Brooke <lbrooke@texasappleseed.net>, "Hilton, Christopher"
<Christopher.Hilton@oag.texas.gov>, "Roper,Tiffany (DFPS)" <Tiffany.Roper@dfps.state.tx.us>
Subject: RE: M.D. v. Abbott Information and Data Request

Kevin/Deborah,

We have uploaded to the SharePoint everything we believe is responsive to the items in your informa3on and
data request dated 9.30.19 and having a 1.15.20 deadline, as modiﬁed by your email dated 10.28.19. In
addi3on, we note the following:

      New Data DicIonaries: Pursuant to the Monitors’ recent request, a data dic3onary has been provided
      for each report, describing the data in each column in the format the Monitors requested. To the
      extent a column is repeated in mul3ple tabs in the same report, it is included in the data dic3onary
      only once, as the descrip3on is the same for each tab. For all reports, if a par3cular ﬁeld is blank, it is
      either because the column is not applicable par3cular row (e.g., children s3ll in PMC at the end of the
      quarter will not have a placement at exit from PMC) or the informa3on was not in the data warehouse
      at the 3me the data was pulled.

      New Reports:
           R03.2 CPI Inves3ga3ons Q1 FY 20 – CPI inves3ga3ve 3meframes are diﬀerent from RCI
           3meframes. CPI policies are available at: h,ps://www.dfps.state.tx.us/handbooks/ (generally
           sec3ons 2000-3000).

            R0.Inj Gap Analysis for List of Children in PMC Q1 FY 20 – Children in PMC on the ﬁrst day of the
            quarter who had a PMC date that started in the previous quarter but who were not on the
            previous quarter’s PMC list. These children represent approximately 1% of all children in PMC
            and appear to be the result of data entry issues and/or delayed documenta3on.

      Revisions to ExisIng Reports:
            R01.1 CPD Comple3on as of 9-30-19 – 11-15-19 – CLOE: Aeer the ini3al report was produced,
            DFPS iden3ﬁed a number of incorrect CPD start and exit dates and staﬀ included on the list who
            were not hired as a CVS caseworker. DFPS re-ran the list to include individuals hired as a CVS
            caseworker between 9.1.18 and 9.1.19, corrected their CPD start and exit dates and added an
            indicator for whether they had completed all CPD requirements, along with relevant notes
            about their CPD status, where appropriate. The revised ﬁle is en3tled: R01.1 CPD Comple3on as
            of 9-30-19 – 11-15-19 – CLOE – amended 1-15-20.

            R01.1 CPD for Workers hired October 2019 (with their CPD status as of October 30, 2019)


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             provided on December 15, 2019: This report was updated to include this cohort’s CPD status as
             of November 30, 2019.

             R02.4 Graduated Caseloads Sept 2019: Determining the individuals subject to graduated
             caseloads is based on the date they complete all CPD requirements. As the ini3al CPD list
             included some errors, the list of individuals included in this report as being subject to graduated
             caseloads also included some errors. Once the ini3al CPD list (September 2018 – September
             2019) was revised and the October 2019 CPD list was updated, a cohort of individuals subject to
             graduated caseloads at some point between September-November 2019 was created. That list
             is en3tled: R02.4 CVS Caseworkers Subject to Graduated Caseloads Sept-Nov 2019 1-15-20
             96799.

             Moving forward, we will produce the following CPD and graduated caseloads data monthly:
                  Individuals hired as CPS caseworkers in the month and their ini3al CPD status
                  Individuals comple3ng CPD during the month
                  Caseloads for individuals subject to graduated caseloads during the month

      New Columns in ExisIng Reports:
           R03.1 RCI and CPI Intakes – added:
                 Column for both RCI and CPI with reason for changing an intake priority from a P1 or a P2
                 to a PN
                 Column for RCI with an indicator for whether an inves3ga3on was opened in
                 CLASS. Generally, when an RCI intake is closed PN, HHSC RCCL reviews the intake to
                 determine whether it should be inves3gated as a minimum standards viola3on. If so,
                 RCCL will open an inves3ga3on in CLASS. Any RCI intake with a PN that has a "Y" in this
                 column means RCCL opened it for an inves3ga3on.

             R03.2 RCI Inves3ga3ons:
                   Extension 3meframes and reason for extension have been added to this report.
                   As previously noted, to meet the Monitors’ 3meframes, previous reports for
                   inves3ga3ons started between August - September 2019 and closed during that
                   3meframe were pulled from mul3ple reports, and the format and columns in the two
                   reports (R03.2 RCI Closed INV in Aug and Sept 2019 and R03.2 RCI Inves3ga3ons July 31-
                   Sept 30) did not match. To be,er align repor3ng and navigability, the inves3ga3ons
                   started between October - November 2019 and inves3ga3ons closed during that 3me
                   period and the related extensions and allega3ons are all in diﬀerent tabs within the same
                   report en3tled: R03.2 RCI Inves3ga3ons Oct-Nov 2019 Jan-15-20- 96882. The columns
                   across the tabs have been aligned.
                   Moving forward, DFPS will provide a quarterly report on the state ﬁscal year (SFY) quarter
                   3meframes. The next report will cover SFY Quarter 2 (December 2019 – February 2020).

      Request for Two-Week Extension on RCCI Case Read Report: For the SFY 2019 Q1 RCCI case reading
      report, we need to request a two-week extension to ensure the most useful work product is provided
      to you. Going forward, we do not an3cipate the need for addi3onal extensions.

      CPI InvesIgaIve Reports: We would like to reiterate our posi3on regarding the CPI inves3ga3ve
      reports being outside the scope of the LFC-related orders upheld by the 5th Circuit. While DFPS
      intends to con3nue coopera3ng with the data and informa3on requests, we view any remedial ac3on
      in response to CPI data as out of scope.

Thank you,

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Tara




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Megan Annitto

From:                             Kevin Ryan <kevinmichaelryan1967@gmail.com>
Sent:                             Tuesday, February 4, 2020 1:37 PM
To:                               Jaime.Masters@dfps.state.tx.us; Carmical,Audrey (DFPS); Andrew Stephens;
                                  Kintzer,Corey D (HHSC); Olah,Tara (DFPS); Roper,Tiffany (DFPS); Gdula, Kimberly;
                                  Harris,Rand S (DFPS); Levy,Leslie M (DFPS); joseph.bingham@hhsc.state.tx.us;
                                  Lam,Taryn (HHSC)
Cc:                               Deborah Fowler; Linda Brooke; Eileen Crummy; Lisa Taylor; Tim Ross; Viveca Martinez;
                                  Nancy Arrigona; Megan Annitto
Subject:                          Comments on the CVS, CCI and CCL Draft Workload Standards/Guidance

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



Dear Commissioner and Counsel,



Thank you for submitting for our review and feedback the proposed CVS, CCI, and RCCL workload standards. Our
comments follow.



All Three Drafts:



 1. On Page 1 of the CVS and CCI draft workload standards, the drafts state, “These recommendations and guidelines are
intended to be utilized as a mechanism in support of achieving the [] Caseload Standards. As nonbinding guidance in
support of the Standards, the recommendations and instructions in this document should not be construed to apply to
the extent the Standards are achieved.” Similarly, on page 1 of the RCCL draft workload standards, the draft states,
“These recommendations and guidelines are intended to be utilized as a mechanism in support of achieving the RCCL
Workload Standards. As non-binding guidance in support of the Standards, the recommendations and instructions in
this document should not be construed to bind future practice to the extent the Standards are achieved.”



We do not think this language will be clearly understood by the staff who are accountable for implementation. Please
consider deleting the second sentence and inserting the word “nonbinding” in front of “recommendations and
guidelines.”



2. The three drafts do not provide adequate specific, measurable guidance. More specific, measurable guidance will
strengthen the guidance and better assist supervisors and Program Administrators in working toward the 14-17
workload standards. Examples for each draft are discussed, below.




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CVS draft Standards:



1.    The draft mentions a new report, “the CVS caseload report,” which is to be used for internal monitoring of
caseload standards. Please confirm whether this report is separate from the monthly CVS caseload data that is currently
produced to the monitors.




 2.    Beginning on Page 2, the draft shies away from providing measurable guidance to the field that would be useful
to supervisors. Recognizing the Department’s need to exercise discretion with caseload assignments, we think more
specific, measurable guidance will strengthen the guidance to supervisors. We want to provide examples from pages 2-3
of the CVS Caseload Standards draft to make sure the point is clear. This section identifies various factors of case
complexity that supervisors should take into consideration when assigning cases. The guidance in the document does
not go beyond taking these factors into consideration, and is not sufficiently clear about the factors. Consider:




        Travel time: The Standards will be more useful to supervisors if DFPS provides more specific, measurable
guidance, for example: “avoid assigning any caseworker more than two cases that require more than 60 minutes travel
time.”

       New Caseworker: How does DFPS define a new caseworker, i.e., 12 months, 18 months? Is that universally
understood by all supervisors?

          Is a "less-complex case" defined by DFPS in the INSIGHT case complexity tool referenced on page 3? If not, how
is it defined and how do supervisors know what constitutes a “less-complex case.” If yes, please send us the formula for
assessing case complexity.

        What does “increased support” entail?



3.      There is a lack of measurable guidance concerning when to skip the wheel of assignments. While the document
lists factors to take into consideration, they don’t list measurable criteria. In light of the guidelines around case
assignment recited on pages 2-3, it is unclear how "rotation" on page 3 factors into workload assignment. Please clarify
and consider providing stronger guidance.



4.    From page 3, under “Reassignment of Cases,” is there guidance around how long extended leave is?



5.     On page 4, the draft states, “Supervisors must always utilize the expertise of their Program Directors in the
following circumstances.” Please clarify whether supervisors are required to enlist their Program Director as these
circumstances arise or only during the monthly staffings described below.



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5.    On page 5, the draft states, “In order to determine the average daily caseload, supervisors should use the CVS
caseload report.” Please confirm that you intend here to use the word “daily” and not “monthly.”



7.     On page 5, the draft references “Cases that require special handling.” What kinds of cases are these? Where is
that defined for supervisors receiving this guidance?



8.    On page 5, the draft references “an informal conference.” How is that defined? How is that different from a
“formal conference?” Where is that defined for supervisors receiving this guidance?



9.    On page 7, the draft states, “If there is not a perpetual posting in the region, upon notification of an upcoming
vacancy, supervisors should notify TAG to ensure the position is posted quickly.” Is there currently a required time frame
for the posting?



CCI draft Standards:



1. “Assigning Investigations” on page 3 of the draft includes travel as a factor to be considered, but does not include
measurable guidance. The workload study completed in 2017 indicated that of the entities reported on in the survey, 70
percent take between 30 minutes and 2 hours to reach one-way, and 10 percent take more than 2 hours to reach. 40
percent required more than an hour of travel, one-way. Travel is an important consideration in investigator
workloads. It is also an important consideration for Program Administrators’ decision to reassign investigation to other
units or regions (discussed on page 7).



2. Complex Investigations (beginning on page 3 of draft): Problems similar to those discussed above, in the section
regarding the CVS draft, exist with regard to the lack of specificity in the CCI discussion of complex investigations. While
there is discussion of INSIGHT as a workload management tool, the draft does not clearly indicate whether INSIGHT
includes measures of case complexity for investigations. If it does not assign weights to the different complexity factors
described on pages 3-4, providing more specific, measurable guidance in this section of the caseload standard would
assist supervisors in assigning investigations.



There are also additional measures of complexity that should be considered that are not listed in the draft, based on the
workload study completed in 2017. In that study, investigators reported several investigation characteristics that
require more time:




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 The investigation is a Priority 1 (while the draft lists fatalities and near-fatalities as a consideration for complexity,
not all Priority 1 investigations include a fatality or near-fatality);

 There are allegations of sexual abuse;

 The investigation regards an RTC.



More specific, measurable guidance would give supervisors some guidelines for the number of complex cases to assign
an investigator. For example, “Avoid assigning more than one Priority 1 investigation to any one investigator” or “Avoid
assigning more than X cases involving multiple allegations, perpetrators, or victims to any one investigator.”



3. Removal from Rotation: the draft states, “supervisors should determine an appropriate time to stop assigning new
investigations.” Because this section includes both temporary removals (based on FMLA or “extended leave,” case
complexity, or other factors) as well as permanent removal due to staff leaving a position, please consider providing
more specific guidance regarding when to stop assigning new cases to investigators who are leaving a position
permanently. Similarly, because FMLA may be planned in advance, please include specific recommendations regarding
the lead up to FMLA – for example, “If FMLA is planned, begin tapering the assignment of new cases X months prior to
the expected start of FMLA.”



4. Caseload for New Investigators: the draft indicates that supervisors may skip a new investigator in the assignment
rotation during the first 60 days that an investigator is case assignable. Are new investigators immediately eligible for a
full caseload as soon as they become caseload assignable? Please consider more specific guidance for supervisors
regarding caseloads for new investigators.



5. Hiring: How is the decision to have a “perpetual posting” determined? Is this left to the discretion of TAG, or Program
Administrators? If it is a decision made by Program Administrators (or if they can make the decision), providing specific
guidance regarding when this is appropriate would be helpful, perhaps based on the number of positions that are
historically vacant in a unit.



RCCL draft Standards:



1. Under “Items to Consider When Assigning Tasks,” the list fails to include specific, measurable goals. It also fails to
include specific, measurable goals related to the balance between the four tasks listed on the first page just above this
section.



According to the workload report completed in 2017, inspectors reported spending about half their time on standards
investigations, and approximately 23 percent of their time on monitoring inspections, despite the fact that inspectors’
average daily caseloads included fewer standards investigations than operation inspections. This suggests that
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standards investigations are more time consuming. Specific, measurable guidance regarding a balanced assignment of
the 4 tasks described on the first page would be helpful to supervisors making assignments.



More specific guidance should be given related to travel (see discussions above).



While the table in this section includes complexity measures related to operations, it does not include items specific to
complex standards investigations. Complexity measures for standards investigations – including the number of
standards at issue, the weight of the standards at issue, the number of victims or perpetrators involved, the number of
allegations involved, whether there are allegations of sexual abuse, and whether the entity being investigated is an RTC
– should be added, along with specific, measurable guidance regarding assignment of complex investigations and
operations. The number of investigations that an investigator is providing technical assistance or follow-up in should
also be considered during task assignments.



Furthermore, as described above, specific, measurable guidance should be given regarding the number of complex
operations or investigations assigned. For example, “avoid assigning more than X operations that are on a corrective
action plan” or “avoid assigning more than one operation that serves children with specialized medical needs,” etc.



2. Under “Additional Guidance” on page 3: The guidance instructs supervisors to skip an inspector if they are “well
above the workload guideline.” Providing more specific, measurable guidance will insure supervisors consistently
understand when they should skip an inspector. For example, “if an inspector’s caseload is X tasks above the guidelines,
the inspector should be skipped for assignment if another inspector has a smaller workload.”



3. Under “Task to Reassign” – consider including language like that described above, that would taper assignments if a
staff is planning FMLA or extended leave for a future date, or if they have given advance notice that they will leave
permanently.



Please let us know if you have any questions about this. We look forward to hearing from you on this.



Kevin Ryan and Deborah Fowler




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                                                                                                      Standards/Guidance




 Fwd: Fw: Comments on the CVS, CCI and CCL Draft Workload Standards/Guidance
 1 message




    ---------- Forwarded message ---------
    From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
    Date: Tue, Feb 18, 2020 at 8:41 PM
    Subject: RE: Comments on the CVS, CCI and CCL Draft Workload Standards/Guidance
    To: Kevin Ryan <kevinmichaelryan1967@gmail.com>, dfowler@texasappleseed.net <dfowler@texasappleseed.net>
    Cc: Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.
    us>, Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>, Stephens, Andrew <andrew.stephens@oag.texas.gov>,
    Hilton, Christopher <Christopher.Hilton@oag.texas.gov>, Gdula, Kimberly <Kimberly.Gdula@oag.texas.gov>,
    Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>, Lam,Taryn (HHSC) <Taryn.Lam@hhsc.state.tx.us>,
    Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>



    Kevin/Deborah,



    Thank you for your recent feedback concerning the caseload standards we submi ed to you on 1.16.20 in accordance
    with ROA3 (CVS Internal Caseload Standards) and ROB3 (RCCL/RCCI Internal Caseload Standards). We have
    incorporated your feedback where feasible (see a ached). Also a ached for your reference are communica ons and
    training materials CVS and RCCI developed and administered to staﬀ concerning the caseload standards. In
    accordance with ROA4 (CVS Standards Guidance) and ROB4 (RCCL/RCCI Standards Guidance), these caseload
    standards are now being u lized to guide supervisors handling caseload distribu on and inform DFPS’ hiring goals.
    Please let us know if you have ques ons or need any addi onal informa on.



    Thank you,



    Tara




    From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
    Sent: Tuesday, February 4, 2020 12:37 PM
    To: Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>; Carmical,Audrey (DFPS)
    <Audrey.Carmical@dfps.state.tx.us>; Stephens, Andrew <andrew.stephens@oag.texas.gov>; Kintzer,Corey D
    (HHSC) <Corey.Kintzer@hhsc.state.tx.us>; Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>; Roper,Tiﬀany (DFPS)
    <Tiffany.Roper@dfps.state.tx.us>; Gdula, Kimberly <Kimberly.Gdula@oag.texas.gov>; Harris,Rand S (DFPS)
    <Rand.Harris@dfps.state.tx.us>; Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>; Bingham,Joseph (HHSC)
    <Joseph.Bingham@hhsc.state.tx.us>; Lam,Taryn (HHSC) <Taryn.Lam@hhsc.state.tx.us>
    Cc: dfowler@texasappleseed.net; Linda Brooke <lbrooke@texasappleseed.net>; Eileen Crummy
    <ecrummy@public-catalyst.com>; Lisa Taylor <ltaylor@public-catalyst.com>; Tim Ross
    <tross@actionresearchpartners.com>; Viveca Mar nez <vmartinez@texasappleseed.net>;

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                                                                                        Draft Workload     59 of 282
                                                                                                       Standards/Guidance

    narrigona@texasappleseed.net; mannitto@public-catalyst.com
    Subject: Comments on the CVS, CCI and CCL Dra Workload Standards/Guidance




        WARNING: This email is from outside the DFPS system. Do not click on links or a achments unless you expect them from the
                                                  sender and know the content is safe.


    Dear Commissioner and Counsel,



    Thank you for submitting for our review and feedback the proposed CVS, CCI, and RCCL workload standards. Our
    comments follow.



    All Three Drafts:



     1. On Page 1 of the CVS and CCI draft workload standards, the drafts state, “These recommendations and guidelines
    are intended to be utilized as a mechanism in support of achieving the [] Caseload Standards. As nonbinding guidance in
    support of the Standards, the recommendations and instructions in this document should not be construed to apply to the
    extent the Standards are achieved.” Similarly, on page 1 of the RCCL draft workload standards, the draft states, “These
    recommendations and guidelines are intended to be utilized as a mechanism in support of achieving the RCCL Workload
    Standards. As non-binding guidance in support of the Standards, the recommendations and instructions in this document
    should not be construed to bind future practice to the extent the Standards are achieved.”



    We do not think this language will be clearly understood by the staff who are accountable for implementation. Please
    consider deleting the second sentence and inserting the word “nonbinding” in front of “recommendations and guidelines.”



    2. The three drafts do not provide adequate specific, measurable guidance. More specific, measurable guidance will
    strengthen the guidance and better assist supervisors and Program Administrators in working toward the 14-17 workload
    standards. Examples for each draft are discussed, below.



    CVS draft Standards:



    1.     The draft mentions a new report, “the CVS caseload report,” which is to be used for internal monitoring of
    caseload standards. Please confirm whether this report is separate from the monthly CVS caseload data that is currently
    produced to the monitors.




     2.     Beginning on Page 2, the draft shies away from providing measurable guidance to the field that would be useful to
    supervisors. Recognizing the Department’s need to exercise discretion with caseload assignments, we think more
    specific, measurable guidance will strengthen the guidance to supervisors. We want to provide examples from pages 2-3
    of the CVS Caseload Standards draft to make sure the point is clear. This section identifies various factors of case
    complexity that supervisors should take into consideration when assigning cases. The guidance in the document does not
    go beyond taking these factors into consideration, and is not sufficiently clear about the factors. Consider:



    ·         Travel time: The Standards will be more useful to supervisors if DFPS provides more specific, measurable
    guidance, for example: “avoid assigning any caseworker more than two cases that require more than 60 minutes travel
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6/23/2020      Case 2:11-cv-00084
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                                                                                         Draft Workload     60 of 282
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    time.”

    ·        New Caseworker: How does DFPS define a new caseworker, i.e., 12 months, 18 months? Is that universally
    understood by all supervisors?

    ·          Is a "less-complex case" defined by DFPS in the INSIGHT case complexity tool referenced on page 3? If not,
    how is it defined and how do supervisors know what constitutes a “less-complex case.” If yes, please send us the formula
    for assessing case complexity.

    ·          What does “increased support” entail?



    3.       There is a lack of measurable guidance concerning when to skip the wheel of assignments. While the document
    lists factors to take into consideration, they don’t list measurable criteria. In light of the guidelines around case assignment
    recited on pages 2-3, it is unclear how "rotation" on page 3 factors into workload assignment. Please clarify and consider
    providing stronger guidance.



    4.       From page 3, under “Reassignment of Cases,” is there guidance around how long extended leave is?



    5.      On page 4, the draft states, “Supervisors must always utilize the expertise of their Program Directors in the
    following circumstances.” Please clarify whether supervisors are required to enlist their Program Director as these
    circumstances arise or only during the monthly staffings described below.



    5.     On page 5, the draft states, “In order to determine the average daily caseload, supervisors should use the CVS
    caseload report.” Please confirm that you intend here to use the word “daily” and not “monthly.”



    7.      On page 5, the draft references “Cases that require special handling.” What kinds of cases are these? Where is
    that defined for supervisors receiving this guidance?



    8.     On page 5, the draft references “an informal conference.” How is that defined? How is that different from a “formal
    conference?” Where is that defined for supervisors receiving this guidance?



    9.     On page 7, the draft states, “If there is not a perpetual posting in the region, upon notification of an upcoming
    vacancy, supervisors should notify TAG to ensure the position is posted quickly.” Is there currently a required time frame
    for the posting?



    CCI draft Standards:

    1. “Assigning Investigations” on page 3 of the draft includes travel as a factor to be considered, but does not include
    measurable guidance. The workload study completed in 2017 indicated that of the entities reported on in the survey, 70
    percent take between 30 minutes and 2 hours to reach one-way, and 10 percent take more than 2 hours to reach. 40
    percent required more than an hour of travel, one-way. Travel is an important consideration in investigator workloads. It
    is also an important consideration for Program Administrators’ decision to reassign investigation to other units or regions
    (discussed on page 7).



    2. Complex Investigations (beginning on page 3 of draft): Problems similar to those discussed above, in the section
    regarding the CVS draft, exist with regard to the lack of specificity in the CCI discussion of complex investigations. While
    there is discussion of INSIGHT as a workload management tool, the draft does not clearly indicate whether INSIGHT

    includes measures of case complexity for investigations. If it60does not assign weights to the different complexity factors
6/23/2020     Case 2:11-cv-00084
                        Texas AppleseedDocument
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                                                        Comments     onCVS,
                                                                 on the 07/07/20     in TXSD
                                                                            CCI and CCL            Page
                                                                                        Draft Workload     61 of 282
                                                                                                       Standards/Guidance
    described on pages 3-4, providing more specific, measurable guidance in this section of the caseload standard would
    assist supervisors in assigning investigations.



    There are also additional measures of complexity that should be considered that are not listed in the draft, based on the
    workload study completed in 2017. In that study, investigators reported several investigation characteristics that require
    more time:



    · The investigation is a Priority 1 (while the draft lists fatalities and near-fatalities as a consideration for complexity, not
    all Priority 1 investigations include a fatality or near-fatality);

    ·   There are allegations of sexual abuse;

    ·   The investigation regards an RTC.



    More specific, measurable guidance would give supervisors some guidelines for the number of complex cases to assign
    an investigator. For example, “Avoid assigning more than one Priority 1 investigation to any one investigator” or “Avoid
    assigning more than X cases involving multiple allegations, perpetrators, or victims to any one investigator.”



    3. Removal from Rotation: the draft states, “supervisors should determine an appropriate time to stop assigning new
    investigations.” Because this section includes both temporary removals (based on FMLA or “extended leave,” case
    complexity, or other factors) as well as permanent removal due to staff leaving a position, please consider providing more
    specific guidance regarding when to stop assigning new cases to investigators who are leaving a position permanently.
    Similarly, because FMLA may be planned in advance, please include specific recommendations regarding the lead up to
    FMLA – for example, “If FMLA is planned, begin tapering the assignment of new cases X months prior to the expected
    start of FMLA.”



    4. Caseload for New Investigators: the draft indicates that supervisors may skip a new investigator in the assignment
    rotation during the first 60 days that an investigator is case assignable. Are new investigators immediately eligible for a
    full caseload as soon as they become caseload assignable? Please consider more specific guidance for supervisors
    regarding caseloads for new investigators.



    5. Hiring: How is the decision to have a “perpetual posting” determined? Is this left to the discretion of TAG, or Program
    Administrators? If it is a decision made by Program Administrators (or if they can make the decision), providing specific
    guidance regarding when this is appropriate would be helpful, perhaps based on the number of positions that are
    historically vacant in a unit.



    RCCL draft Standards:



    1. Under “Items to Consider When Assigning Tasks,” the list fails to include specific, measurable goals. It also fails to
    include specific, measurable goals related to the balance between the four tasks listed on the first page just above this
    section.



    According to the workload report completed in 2017, inspectors reported spending about half their time on standards
    investigations, and approximately 23 percent of their time on monitoring inspections, despite the fact that inspectors’
    average daily caseloads included fewer standards investigations than operation inspections. This suggests that
    standards investigations are more time consuming. Specific, measurable guidance regarding a balanced assignment of
    the 4 tasks described on the first page would be helpful to supervisors making assignments.


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6/23/2020       Case 2:11-cv-00084
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                                                                              CCI and CCL            Page
                                                                                          Draft Workload     62 of 282
                                                                                                         Standards/Guidance
    More specific guidance should be given related to travel (see discussions above).



    While the table in this section includes complexity measures related to operations, it does not include items specific to
    complex standards investigations. Complexity measures for standards investigations – including the number of standards
    at issue, the weight of the standards at issue, the number of victims or perpetrators involved, the number of allegations
    involved, whether there are allegations of sexual abuse, and whether the entity being investigated is an RTC – should be
    added, along with specific, measurable guidance regarding assignment of complex investigations and operations. The
    number of investigations that an investigator is providing technical assistance or follow-up in should also be considered
    during task assignments.



    Furthermore, as described above, specific, measurable guidance should be given regarding the number of complex
    operations or investigations assigned. For example, “avoid assigning more than X operations that are on a corrective
    action plan” or “avoid assigning more than one operation that serves children with specialized medical needs,” etc.



    2. Under “Additional Guidance” on page 3: The guidance instructs supervisors to skip an inspector if they are “well
    above the workload guideline.” Providing more specific, measurable guidance will insure supervisors consistently
    understand when they should skip an inspector. For example, “if an inspector’s caseload is X tasks above the guidelines,
    the inspector should be skipped for assignment if another inspector has a smaller workload.”



    3. Under “Task to Reassign” – consider including language like that described above, that would taper assignments if a
    staff is planning FMLA or extended leave for a future date, or if they have given advance notice that they will leave
    permanently.



    Please let us know if you have any questions about this. We look forward to hearing from you on this.



    Kevin Ryan and Deborah Fowler


     6 attachments
            Child Care Investigations - Caseload Guidelines.pdf
            790K
            FC020_Resources_to_Support_RCCI_Targeted_Case_Ranges_and_Equitable_Workl....pdf
            23K
            CPS Generally Applicable Internal Caseload Standards.pdf
            382K
            RCCI Caseload Standards PowerPoint.pdf
            402K
            CPS CVS Caseload Standards PowerPoint.pdf
            410K
            CPS CVS Communication re Mandatory Training on Caseload Standards.pdf
            38K




                                                                   62
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FN 349 Attachment 6




     From:            DFPS CPS Communications
     Cc:              Blackstone,Kristene (DFPS); Banuelos,Erica (DFPS); Broussard-White,CJ (DFPS); Cannata,George (DFPS);
                      Fisher,Leshia E (DFPS); Judson,Ginny L (DFPS); Martinez,Georgina (DFPS); O"Connell,Tara (DFPS); Ortiz,Hector
                      (DFPS); Smith,Sheryl (DFPS); Van Buskirk,Lindsey (DFPS); Bugg,Heather M (DFPS); Emerson,Debra D (DFPS);
                      Hinson,Jenny R (DFPS); Hobbs,Melissa (DFPS); Kromrei,Elizabeth (DFPS); Letts,Ellen K (DFPS); Self,Carol G
                      (DFPS); Taccetta,Kaysie E. (DFPS); Voss,Angie K (DFPS); Eaton,Leigh A (DFPS); Shores,Julie L (DFPS)
     Subject:         ACTION REQUIRED: Implementation of Generally Applicable Caseload Standards – Mandatory Training
     Date:            Tuesday, February 11, 2020 9:30:25 AM


     To: CPS Conservatorship (CVS) Supervisor, PD, PA, and RD Staff
     From: Kristene Blackstone, Associate Commissioner for CPS
     Subject: Implementation of Generally Applicable Caseload Standards
     Date: February 11, 2020


     ACTION REQUIRED: Implementation of Generally Applicable
     Caseload Standards – Mandatory Training


     Reminder: Participation in the webinar is mandatory for CVS
     Supervisors and above level management staff.

     Implementation of Generally Applicable Caseload Standards
     To ensure equitable caseloads across the state Child Protective Services
     (CPS) has developed, and will implement, a caseload guideline of 14-17
     children per conservatorship (CVS) worker. The guideline is not a caseload
     cap, or an enforced caseload range.

     CVS supervisor, and above, level staff will participate in mandatory
     webinars to learn strategies for working toward equitable caseload
     distribution.

     Register for an upcoming webinar via this link:
     https://attendee.gotowebinar.com/rt/3119556785228123661

     Webinar schedule:

     Tuesday, February 11
         9:00-10:00 AM CST
         10:30-11:30 AM CST
         1:30-2:30 PM CST
         3:00-4:00 PM CST

     Please direct questions to                                        or




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Subject:                  FW: Comments on the CVS, CCI and CCL Draft Workload
                          Standards/Guidance




       On Feb 18, 2020, at 8:41 PM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
       wrote:


       Kevin/Deborah,

       Thank you for your recent feedback concerning the caseload standards we submitted to
       you on 1.16.20 in accordance with ROA3 (CVS Internal Caseload Standards) and ROB3
       (RCCL/RCCI Internal Caseload Standards). We have incorporated your feedback where
       feasible (see attached). Also attached for your reference are communications and
       training materials CVS and RCCI developed and administered to staff concerning the
       caseload standards. In accordance with ROA4 (CVS Standards Guidance) and ROB4
       (RCCL/RCCI Standards Guidance), these caseload standards are now being utilized to
       guide supervisors handling caseload distribution and inform DFPS’ hiring goals. Please
       let us know if you have questions or need any additional information.

       Thank you,

       Tara

       From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
       Sent: Tuesday, February 4, 2020 12:37 PM
       To: Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>; Carmical,Audrey (DFPS)
       <Audrey.Carmical@dfps.state.tx.us>; Stephens, Andrew
       <andrew.stephens@oag.texas.gov>; Kintzer,Corey D (HHSC)
       <Corey.Kintzer@hhsc.state.tx.us>; Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>;
       Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>; Gdula, Kimberly
       <Kimberly.Gdula@oag.texas.gov>; Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>;
       Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>; Bingham,Joseph (HHSC)
       <Joseph.Bingham@hhsc.state.tx.us>; Lam,Taryn (HHSC) <Taryn.Lam@hhsc.state.tx.us>
       Cc: dfowler@texasappleseed.net; Linda Brooke <lbrooke@texasappleseed.net>; Eileen
       Crummy <ecrummy@public-catalyst.com>; Lisa Taylor <ltaylor@public-catalyst.com>;
       Tim Ross <tross@actionresearchpartners.com>; Viveca Martinez
       <vmartinez@texasappleseed.net>; narrigona@texasappleseed.net; mannitto@public-
       catalyst.com
       Subject: Comments on the CVS, CCI and CCL Draft Workload Standards/Guidance

           WARNING: This email is from outside the DFPS system. Do not click on links or
           attachments unless you expect them from the sender and know the content is
                                             safe.




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   Dear Commissioner and Counsel,



   Thank you for submitting for our review and feedback the proposed CVS, CCI,
   and RCCL workload standards. Our comments follow.



   All Three Drafts:



    1. On Page 1 of the CVS and CCI draft workload standards, the drafts state,
   “These recommendations and guidelines are intended to be utilized as a
   mechanism in support of achieving the [] Caseload Standards. As nonbinding
   guidance in support of the Standards, the recommendations and instructions in
   this document should not be construed to apply to the extent the Standards are
   achieved.” Similarly, on page 1 of the RCCL draft workload standards, the draft
   states, “These recommendations and guidelines are intended to be utilized as a
   mechanism in support of achieving the RCCL Workload Standards. As non-
   binding guidance in support of the Standards, the recommendations and
   instructions in this document should not be construed to bind future practice to the
   extent the Standards are achieved.”



   We do not think this language will be clearly understood by the staff who are
   accountable for implementation. Please consider deleting the second sentence
   and inserting the word “nonbinding” in front of “recommendations and
   guidelines.”



   2. The three drafts do not provide adequate specific, measurable guidance. More
   specific, measurable guidance will strengthen the guidance and better assist
   supervisors and Program Administrators in working toward the 14-17 workload
   standards. Examples for each draft are discussed, below.



   CVS draft Standards:




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   1.      The draft mentions a new report, “the CVS caseload report,” which is to
   be used for internal monitoring of caseload standards. Please confirm whether this
   report is separate from the monthly CVS caseload data that is currently produced
   to the monitors.




    2.     Beginning on Page 2, the draft shies away from providing measurable
   guidance to the field that would be useful to supervisors. Recognizing the
   Department’s need to exercise discretion with caseload assignments, we think
   more specific, measurable guidance will strengthen the guidance to supervisors.
   We want to provide examples from pages 2-3 of the CVS Caseload Standards
   draft to make sure the point is clear. This section identifies various factors of case
   complexity that supervisors should take into consideration when assigning
   cases. The guidance in the document does not go beyond taking these factors into
   consideration, and is not sufficiently clear about the factors. Consider:



   •         Travel time: The Standards will be more useful to supervisors if DFPS
   provides more specific, measurable guidance, for example: “avoid assigning any
   caseworker more than two cases that require more than 60 minutes travel time.”

   •         New Caseworker: How does DFPS define a new caseworker, i.e., 12
   months, 18 months? Is that universally understood by all supervisors?

   •          Is a "less-complex case" defined by DFPS in the INSIGHT case
   complexity tool referenced on page 3? If not, how is it defined and how do
   supervisors know what constitutes a “less-complex case.” If yes, please send
   us the formula for assessing case complexity.

   •          What does “increased support” entail?



   3.      There is a lack of measurable guidance concerning when to skip the wheel
   of assignments. While the document lists factors to take into consideration, they
   don’t list measurable criteria. In light of the guidelines around case assignment
   recited on pages 2-3, it is unclear how "rotation" on page 3 factors
   into workload assignment. Please clarify and consider providing stronger
   guidance.




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   4.     From page 3, under “Reassignment of Cases,” is there guidance around
   how long extended leave is?



   5.      On page 4, the draft states, “Supervisors must always utilize the expertise
   of their Program Directors in the following circumstances.” Please clarify whether
   supervisors are required to enlist their Program Director as these circumstances
   arise or only during the monthly staffings described below.



   5.     On page 5, the draft states, “In order to determine the average daily
   caseload, supervisors should use the CVS caseload report.” Please confirm that
   you intend here to use the word “daily” and not “monthly.”



   7.      On page 5, the draft references “Cases that require special
   handling.” What kinds of cases are these? Where is that defined for supervisors
   receiving this guidance?



   8.     On page 5, the draft references “an informal conference.” How is that
   defined? How is that different from a “formal conference?” Where is that defined
   for supervisors receiving this guidance?



   9.    On page 7, the draft states, “If there is not a perpetual posting in the region,
   upon notification of an upcoming vacancy, supervisors should notify TAG to
   ensure the position is posted quickly.” Is there currently a required time frame for
   the posting?



   CCI draft Standards:



   1. “Assigning Investigations” on page 3 of the draft includes travel as a factor to
   be considered, but does not include measurable guidance. The workload study
   completed in 2017 indicated that of the entities reported on in the survey, 70
   percent take between 30 minutes and 2 hours to reach one-way, and 10 percent
   take more than 2 hours to reach. 40 percent required more than an hour of travel,



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   one-way. Travel is an important consideration in investigator workloads. It is
   also an important consideration for Program Administrators’ decision to reassign
   investigation to other units or regions (discussed on page 7).



   2. Complex Investigations (beginning on page 3 of draft): Problems similar to
   those discussed above, in the section regarding the CVS draft, exist with regard to
   the lack of specificity in the CCI discussion of complex investigations. While
   there is discussion of INSIGHT as a workload management tool, the draft does
   not clearly indicate whether INSIGHT includes measures of case complexity for
   investigations. If it does not assign weights to the different complexity factors
   described on pages 3-4, providing more specific, measurable guidance in this
   section of the caseload standard would assist supervisors in assigning
   investigations.



   There are also additional measures of complexity that should be considered that
   are not listed in the draft, based on the workload study completed in 2017. In that
   study, investigators reported several investigation characteristics that require more
   time:



   • The investigation is a Priority 1 (while the draft lists fatalities and near-
   fatalities as a consideration for complexity, not all Priority 1 investigations
   include a fatality or near-fatality);

   • There are allegations of sexual abuse;

   • The investigation regards an RTC.



   More specific, measurable guidance would give supervisors some guidelines for
   the number of complex cases to assign an investigator. For example, “Avoid
   assigning more than one Priority 1 investigation to any one investigator” or
   “Avoid assigning more than X cases involving multiple allegations, perpetrators,
   or victims to any one investigator.”



   3. Removal from Rotation: the draft states, “supervisors should determine an
   appropriate time to stop assigning new investigations.” Because this section
   includes both temporary removals (based on FMLA or “extended leave,” case



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   complexity, or other factors) as well as permanent removal due to staff leaving a
   position, please consider providing more specific guidance regarding when to stop
   assigning new cases to investigators who are leaving a position
   permanently. Similarly, because FMLA may be planned in advance, please
   include specific recommendations regarding the lead up to FMLA – for example,
   “If FMLA is planned, begin tapering the assignment of new cases X months prior
   to the expected start of FMLA.”



   4. Caseload for New Investigators: the draft indicates that supervisors may skip a
   new investigator in the assignment rotation during the first 60 days that an
   investigator is case assignable. Are new investigators immediately eligible for a
   full caseload as soon as they become caseload assignable? Please consider more
   specific guidance for supervisors regarding caseloads for new investigators.



   5. Hiring: How is the decision to have a “perpetual posting” determined? Is this
   left to the discretion of TAG, or Program Administrators? If it is a decision made
   by Program Administrators (or if they can make the decision), providing specific
   guidance regarding when this is appropriate would be helpful, perhaps based on
   the number of positions that are historically vacant in a unit.



   RCCL draft Standards:



   1. Under “Items to Consider When Assigning Tasks,” the list fails to include
   specific, measurable goals. It also fails to include specific, measurable goals
   related to the balance between the four tasks listed on the first page just above this
   section.



   According to the workload report completed in 2017, inspectors reported
   spending about half their time on standards investigations, and approximately 23
   percent of their time on monitoring inspections, despite the fact that inspectors’
   average daily caseloads included fewer standards investigations than operation
   inspections. This suggests that standards investigations are more time
   consuming. Specific, measurable guidance regarding a balanced assignment of
   the 4 tasks described on the first page would be helpful to supervisors making
   assignments.




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   More specific guidance should be given related to travel (see discussions above).



   While the table in this section includes complexity measures related to operations,
   it does not include items specific to complex standards
   investigations. Complexity measures for standards investigations – including the
   number of standards at issue, the weight of the standards at issue, the number of
   victims or perpetrators involved, the number of allegations involved, whether
   there are allegations of sexual abuse, and whether the entity being investigated is
   an RTC – should be added, along with specific, measurable guidance regarding
   assignment of complex investigations and operations. The number of
   investigations that an investigator is providing technical assistance or follow-up in
   should also be considered during task assignments.



   Furthermore, as described above, specific, measurable guidance should be given
   regarding the number of complex operations or investigations assigned. For
   example, “avoid assigning more than X operations that are on a corrective action
   plan” or “avoid assigning more than one operation that serves children with
   specialized medical needs,” etc.



   2. Under “Additional Guidance” on page 3: The guidance instructs supervisors
   to skip an inspector if they are “well above the workload guideline.” Providing
   more specific, measurable guidance will insure supervisors consistently
   understand when they should skip an inspector. For example, “if an inspector’s
   caseload is X tasks above the guidelines, the inspector should be skipped for
   assignment if another inspector has a smaller workload.”



   3. Under “Task to Reassign” – consider including language like that described
   above, that would taper assignments if a staff is planning FMLA or extended
   leave for a future date, or if they have given advance notice that they will leave
   permanently.



   Please let us know if you have any questions about this. We look forward to
   hearing from you on this.




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   Kevin Ryan and Deborah Fowler

   <Child Care Investigations - Caseload Guidelines.pdf>
   <FC020_Resources_to_Support_RCCI_Targeted_Case_Ranges_and_Equitable_Workl....p
   df>
   <CPS Generally Applicable Internal Caseload Standards.pdf>
   <RCCI Caseload Standards PowerPoint.pdf>
   <CPS CVS Caseload Standards PowerPoint.pdf>
   <CPS CVS Communication re Mandatory Training on Caseload Standards.pdf>
   <CPS CVS Staff Communication 2.12.20.pdf>
   <CPS CVS Staff Communication 2.14.20.pdf>




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                                                                         assignment        Page 72 of 282
                                                                                    question




 Fwd: Secondary assignment question
 1 message




    ---------- Forwarded message ---------
    From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
    Date: Fri, Feb 28, 2020 at 9:54 PM
    Subject: RE: Secondary assignment question
    To: Kevin Ryan <kevinmichaelryan1967@gmail.com>
    Cc: Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>, Carmical,Audrey (DFPS)
    <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>, mannitto@public-
    catalyst.com <mannitto@public-catalyst.com>, Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>, Stephens,
    Andrew <andrew.stephens@oag.texas.gov>, Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>,
    dfowler@texasappleseed.net <dfowler@texasappleseed.net>, Lisa Taylor <ltaylor@public-catalyst.com>, Eileen Crummy
    <ecrummy@public-catalyst.com>, Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>



    Kevin/Deborah,



    A ached is the informa on you recently requested concerning secondary assignments. Please let us know if you have
    any addi onal ques ons.



    Thank you,



    Tara




    2 attachments
           Secondary Assignments - RCCI 2.28.20.pdf
           73K
           Secondary Assignments - CVS 2.28.20.pdf
           140K




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RCCI policy does not directly address secondary assignments in IMPACT, and while staff may be familiar
with the term “secondary assignment” or “secondary investigator,” RCCI policy uses the term “designee."
This is due to the program’s use of CLASS to document investigations and the term “designee” historically
being a term used for CLASS. A secondary assignment may be utilized when investigators are assisting
with investigation tasks or when a trainee is assigned as a designee during basic skills training to perform
basic tasks on investigations.

Per CCI Policy 1221, an investigator may be assigned as a designee (the IMPACT term would be secondary
assignment or secondary investigator) to assist with the following:

        Inspectors and Investigators

                A Licensing inspector or investigator may assign designee status to another Licensing
                inspector or investigator only for the purposes of:
                 • completing a specific task; or
                 • temporarily covering a caseload.

                Once the specific task is completed, the designee status must be deactivated.

                Examples of the tasks appropriate for assignment to a designee include:
                a. conducting courtesy interviews during an investigation;
                b. sharing inspection responsibilities, temporarily, for a vacant caseload; or
                c. completing other specific tasks assigned by a supervisor, manager, or district director.

Specific examples of tasks a designee or secondary investigator have completed include:
   - Upload audio, external records, and photos into One Case.
   - Assist with Persons List merges (if needed)
   - Access One Case externals for documentation into CLASS
   - Review AP/OV history

Trainees may also be assigned as a secondary in IMPACT during basic skills training. This helps the
investigator become familiar with the computer applications and job tasks they will be doing once they
graduate from training. Trainees may assist in transcribing documentation such as incident reports,
medical documents, or audio recordings, and uploading documents into OneCase.




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FNCase
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Secondary Assignments – 2.28.2020

INFORMATION REQUEST:

By February 28, 2020 detail how DFPS defines a secondary assignment, and what responsibilities are
involved in the secondary assignment.

RESPONSE:

Secondary assignments are defined as actions performed by a caseworker on a case to which they are
not assigned primary.

Conservatorship (CVS) caseworkers, who also have primary assignments, may be assigned secondary to
cases requiring courtesy supervision. Courtesy supervision is required when:
    • A parent resides outside of the child’s legal region.
    • A child or youth in conservatorship is placed outside of the region that has legal jurisdiction and
        is residing with a parent.
    • A child or youth is placed in an adoptive home outside of the region that has legal jurisdiction.
        An adoption preparation worker is assigned as secondary.
    • A child or youth is placed in Texas from another state.
    • A child or youth is residing in a General Residential Operation for children with intellectual
        disabilities.*
    • A child or youth is placed in an intermediate care facility for individuals with intellectual
        disabilities.*
    • A child or youth is placed in a nursing home.*

*Note that children in the last 3 bullets may be served by Local Permanency specialists, developmental
disability specialists and/or CVS caseworkers, depending on resources, workloads, geographical location
and the child’s needs.

In most cases, the duties performed by CVS workers providing courtesy supervision are brief and not
extensive.

Examples of CVS caseworkers’ responsibilities when providing courtesy supervision are detailed in the
following policies:
6314.11 Courtesy Caseworker Responsibilities
6314     Services to Children and Parents Across Regional Lines
6314.1 Coordination Between Primary Caseworker and Courtesy Supervision Caseworker
6320 Conducting Visits with the Family
6413 Services to Children and Caregivers Across Regional Lines
6417 Supervising a Child Placed in Texas From Another State
6900 Adoption Preparation and Support Services

CVS caseworkers may also be assigned secondary when children or youth have been removed from their
custodian by Child Protective Investigation, and the case has not yet been transferred to
conservatorship. In general, cases are transferred to CVS after the Adversary Hearing.
Required tasks include:
    • Review the case in IMPACT
    • Review the case file




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Secondary Assignments – 2.28.2020

    •   Contact other caseworkers to offer assistance and obtain information about the child and
        family.
    •   Notify required parties of caseworker’s assignment and provide contact information
    •   Ensure all potential caregivers within the child’s family, or designated by the parent, have been
        provided notice of CPS conservatorship

CVS caseworkers who are assigned primary for children in DFPS conservatorship may receive support
from the following types of secondary workers assigned to their cases:
    • Local Permanency specialist
    • Courtesy supervision/adoption services (another CVS worker – see above)
    • Protégé
    • FAD worker
    • KIN worker
    • Special Investigator assigned when a child is missing
    • Developmental disability specialist
    • Immigration specialist
    • Eligibility specialist
    • FGDM (Family Group Decision Making) specialist
    • Well-being specialists
    • Nurse consultants
    • Education specialists

Information can be provided, as needed, on any of the above-mentioned roles.

Local Permanency specialists are secondary caseworkers for children and youth in DFPS conservatorship
placed outside the region that has legal jurisdiction. The Local Permanency specialist acts as an
extension of the primary caseworker and aids the primary caseworker in ensuring that the child or
youth’s needs for safety and well-being are being met. Local Permanency specialists are not generally
primary on any cases. The Local Permanency specialist also works to ensure that the child or youth
achieves permanency. The roles of Local Permanency specialists are to:
    • Ensure that children and youth in out-of-region placements are seen at least monthly and that
        most of the visits occur in the child’s home.
    • Assess a home or facility’s safety and appropriateness.
    • Increase the child’s sense of support and stability.
    • Allow for a quick response to a child in crisis.
    • Ensure that case planning activities are communicated to:
           o The placement
           o The child or youth.
           o The legal region (the region that holds legal jurisdiction).

Additional information about Local Permanency specialists is available in the CPS Handbook Section
64141.




1
 The CPS Handbook Section 6414 is available online at
https://www.dfps.state.tx.us/handbooks/CPS/Files/CPS pg 6400.asp#CPS 6414 (last accessed February 28,
2020).


                                                    75
             Case 2:11-cv-00084 Document 904 Filed on 07/07/20 in TXSD Page 76 of 282


Megan Annitto

From:                            Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent:                            Monday, March 2, 2020 5:19 PM
To:                              Kevin Ryan
Cc:                              Masters,Jaime D (DFPS); Carmical,Audrey (DFPS); Roper,Tiffany (DFPS); Megan Annitto;
                                 Harris,Rand S (DFPS); Stephens, Andrew; Kintzer,Corey D (HHSC);
                                 dfowler@texasappleseed.net; Lisa Taylor; Eileen Crummy; Levy,Leslie M (DFPS)
Subject:                         RE: Secondary assignment question

Follow Up Flag:                  Follow up
Flag Status:                     Flagged



Kevin,

We are working with CPS program and Data and Systems Improvement staff to provide data/information in response to
your question below. We should be able to provide this data/information by Monday, March 16, 2020.

Thank you,

Tara



From: "Kevin Ryan" <kevinmichaelryan1967@gmail.com>
Date: Monday, March 2, 2020 at 11:04:05
To: "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>
Cc: "Masters,Jaime D (DFPS)" <Jaime.Masters@dfps.state.tx.us>, "Carmical,Audrey (DFPS)"
<Audrey.Carmical@dfps.state.tx.us>, "Roper,Tiffany (DFPS)" <Tiffany.Roper@dfps.state.tx.us>,
"mannitto@public-catalyst.com" <mannitto@public-catalyst.com>, "Harris,Rand S (DFPS)"
<Rand.Harris@dfps.state.tx.us>, "Stephens, Andrew" <andrew.stephens@oag.texas.gov>, "Kintzer,Corey D
(HHSC)" <Corey.Kintzer@hhsc.state.tx.us>, "dfowler@texasappleseed.net" <dfowler@texasappleseed.net>,
"Lisa Taylor" <ltaylor@public-catalyst.com>, "Eileen Crummy" <ecrummy@public-catalyst.com>,
"Levy,Leslie M (DFPS)" <Leslie.Levy2@dfps.state.tx.us>
Subject: Re: Secondary assignment question

WARNING: This email is from outside the DFPS system. Do not click on links or attachments unless you expect
                           them from the sender and know the content is safe.
Tara,

The attached DFPS document reports that “In most cases, the duties performed by CVS workers providing
courtesy supervision are brief and not extensive.” Please send us the data/data reports DFPS is using for this
analysis.

Our interviews with caseworkers and our reviews in Impact indicate that secondary assignments can be quite
extensive and ongoing in numerous instances. Does DFPS track the amount of time required for secondary
assignments?

Kevin Ryan

                                                        76
   Case 2:11-cv-00084 Document 904 Filed on 07/07/20 in TXSD Page 77 of 282




On Feb 28, 2020, at 10:54 PM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us> wrote:


Kevin/Deborah,

Attached is the information you recently requested concerning secondary assignments. Please let us
know if you have any additional questions.

Thank you,

Tara

From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
Sent: Thursday, February 27, 2020 11:20 AM
To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Cc: Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>; Carmical,Audrey (DFPS)
<Audrey.Carmical@dfps.state.tx.us>; Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>;
mannitto@public-catalyst.com; Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Stephens, Andrew
<andrew.stephens@oag.texas.gov>; Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>;
dfowler@texasappleseed.net; Lisa Taylor <ltaylor@public-catalyst.com>; Eileen Crummy
<ecrummy@public-catalyst.com>; Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>
Subject: Re: Secondary assignment question

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         unless you expect them from the sender and know the content is safe.
Thank you Tara

Kevin Ryan



       On Feb 27, 2020, at 11:13 AM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
       wrote:


       Hi Kevin,

       We are working toward the delivery date requested in your email below. So far, we
       appear to be on target; however, if that changes, I will be in touch with an estimated
       delivery date.

       Thank you,

       Tara

       From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
       Sent: Thursday, February 27, 2020 10:24 AM
       To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>

                                                  77
Case 2:11-cv-00084 Document 904 Filed on 07/07/20 in TXSD Page 78 of 282

   Cc: Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>; Carmical,Audrey (DFPS)
   <Audrey.Carmical@dfps.state.tx.us>; Roper,Tiffany (DFPS)
   <Tiffany.Roper@dfps.state.tx.us>; mannitto@public-catalyst.com; Harris,Rand S (DFPS)
   <Rand.Harris@dfps.state.tx.us>; Stephens, Andrew <andrew.stephens@oag.texas.gov>;
   Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>;
   dfowler@texasappleseed.net; Lisa Taylor <ltaylor@public-catalyst.com>; Eileen Crummy
   <ecrummy@public-catalyst.com>; Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>
   Subject: Re: Secondary assignment question

    WARNING: This email is from outside the DFPS system. Do not click on links or
    attachments unless you expect them from the sender and know the content is
                                      safe.
   Tara,

   Do you have a target date when you’ll be sending this information?

   Kevin Ryan



           On Feb 21, 2020, at 9:11 AM, Olah,Tara (DFPS)
           <Tara.Olah@dfps.state.tx.us> wrote:


           Kevin,

           We are working with CCI and CPS staff to address your inquiry and will
           get back to you as soon as possible with the information you have
           requested.

           Thank you,

           Tara

           From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
           Sent: Friday, February 21, 2020 8:38 AM
           To: Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>;
           Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>;
           Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>; Olah,Tara
           (DFPS) <Tara.Olah@dfps.state.tx.us>; mannitto@public-catalyst.com;
           Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Stephens, Andrew
           <andrew.stephens@oag.texas.gov>; Kintzer,Corey D (HHSC)
           <Corey.Kintzer@hhsc.state.tx.us>; dfowler@texasappleseed.net; Lisa
           Taylor <ltaylor@public-catalyst.com>; Eileen Crummy
           <ecrummy@public-catalyst.com>
           Subject: Secondary assignment question

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             click on links or attachments unless you expect them from the
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             Dear Commissioner and Counsel,

             The caseload data for CVS workers indicates that secondary
             assignments are prevalent among the workforce. It appears some
             CCI investigators also have secondary assignments. Our field
             interviews with CVS staff, so far, indicate some types of
             secondary assignments can be quite robust.

             Would you please detail to us by February 28, 2020 how DFPS
             defines a secondary assignment and what responsibilities are
             involved in the secondary assignment. We would like to
             understand this information and evaluate it as we conduct our next
             rounds of interviews with CVS caseworkers and CCI investigators.

             Kevin
<Secondary Assignments - RCCI 2.28.20.pdf>
<Secondary Assignments - CVS 2.28.20.pdf>




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             Case 2:11-cv-00084 Document 904 Filed on 07/07/20 in TXSD Page 80 of 282


Megan Annitto

From:                             Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent:                             Monday, March 16, 2020 10:53 PM
To:                               Kevin Ryan
Cc:                               Masters,Jaime D (DFPS); Carmical,Audrey (DFPS); Roper,Tiffany (DFPS); Megan Annitto;
                                  Harris,Rand S (DFPS); Stephens, Andrew; Kintzer,Corey D (HHSC);
                                  dfowler@texasappleseed.net; Lisa Taylor; Eileen Crummy; Levy,Leslie M (DFPS)
Subject:                          RE: Secondary assignment question

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



Kevin,

At this time, we do not have a way of tracking aggregate data on time spent on secondary assignments. However,
supervisors are aware of and use information concerning the duration/complexity of CVS caseworkers’ current
secondary assignments when assigning primary cases. Although we cannot presently track aggregate data on time spent
on secondary assignments, we have the average number of days secondary assignments remain on a CVS caseworker or
supervisor’s workload. Statewide, average timeframes for all secondary assignments for all SUB stages are as
follows: CVS caseworker (86 days) and CVS supervisor (187 days). Since most conservatorship stages are open 12-18
months at a minimum, average timeframes for all secondary assignments for all SUB stages are considerably shorter
than the average substitute care case time. Likewise, variation in duration/complexity exists across secondary
assignments (e.g., setting up services, making visits), with some activities requiring more extensive involvement than
others. However, secondary workers (aka local permanency specialists or LPS) are exclusively required to complete and
document those tasks, and they do not have the significant additional responsibilities of a primary CVS caseworker,
including notification and coordination of parties, and court reports and hearings, among others. Finally, CVS
caseworkers who have secondary assignments on their workload may also have workers assigned secondary to
complete certain tasks on their primary caseload, which effectively equalizes workloads.

Thank you,

Tara



From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
Sent: Monday, March 16, 2020 3:43 PM
To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Cc: dfowler@texasappleseed.net; mannitto@public-catalyst.com
Subject: Re: Secondary assignment question

WARNING: This email is from outside the DFPS system. Do not click on links or attachments unless you expect
                           them from the sender and know the content is safe.
That’s fine Tara as long as it doesn’t delay your response on secondary assignments, which I believe is coming
today. If it delays your response, please treat them as distinct.

Kevin Ryan



                                                          80
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On Mar 16, 2020, at 4:39 PM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us> wrote:


Hi Kevin,

I saw your email of this morning which was directed to Rand and pertains to the CVS caseload
methodology and questions concerning CVS caseworkers’ time spent on non-caseload carrying
functions. As your inquiry of 3.2.20 pertaining to secondary assignments appears directly related to
today’s broader inquiry, we would like to address your inquiry of 3.2.20 within our response to the
inquiry you submitted to Rand today. Please let us know if you have any concerns with this requested
approach.

Thank you,

Tara

From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
Sent: Monday, March 2, 2020 4:21 PM
To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Subject: Re: Secondary assignment question

  WARNING: This email is from outside the DFPS system. Do not click on links or attachments
         unless you expect them from the sender and know the content is safe.
Thank you Tara

On Mon, Mar 2, 2020 at 5:19 PM Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us> wrote:

 Kevin,



 We are working with CPS program and Data and Systems Improvement staff to provide
 data/information in response to your question below. We should be able to provide this
 data/information by Monday, March 16, 2020.



 Thank you,



 Tara




 From: "Kevin Ryan" <kevinmichaelryan1967@gmail.com>
 Date: Monday, March 2, 2020 at 11:04:05
 To: "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>
 Cc: "Masters,Jaime D (DFPS)" <Jaime.Masters@dfps.state.tx.us>, "Carmical,Audrey (DFPS)"

                                                  81
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<Audrey.Carmical@dfps.state.tx.us>, "Roper,Tiffany (DFPS)"
<Tiffany.Roper@dfps.state.tx.us>, "mannitto@public-catalyst.com" <mannitto@public-
catalyst.com>, "Harris,Rand S (DFPS)" <Rand.Harris@dfps.state.tx.us>, "Stephens, Andrew"
<andrew.stephens@oag.texas.gov>, "Kintzer,Corey D (HHSC)"
<Corey.Kintzer@hhsc.state.tx.us>, "dfowler@texasappleseed.net"
<dfowler@texasappleseed.net>, "Lisa Taylor" <ltaylor@public-catalyst.com>, "Eileen
Crummy" <ecrummy@public-catalyst.com>, "Levy,Leslie M (DFPS)"
<Leslie.Levy2@dfps.state.tx.us>
Subject: Re: Secondary assignment question



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        unless you expect them from the sender and know the content is safe.

Tara,



The attached DFPS document reports that “In most cases, the duties performed by CVS workers
providing courtesy supervision are brief and not extensive.” Please send us the data/data reports
DFPS is using for this analysis.



Our interviews with caseworkers and our reviews in Impact indicate that secondary assignments
can be quite extensive and ongoing in numerous instances. Does DFPS track the amount of time
required for secondary assignments?

Kevin Ryan




        On Feb 28, 2020, at 10:54 PM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
        wrote:



        Kevin/Deborah,



        Attached is the information you recently requested concerning secondary assignments.
        Please let us know if you have any additional questions.



        Thank you,

                                                82
Case 2:11-cv-00084 Document 904 Filed on 07/07/20 in TXSD Page 83 of 282



    Tara




    From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
    Sent: Thursday, February 27, 2020 11:20 AM
    To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
    Cc: Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>; Carmical,Audrey (DFPS)
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    <ltaylor@public-catalyst.com>; Eileen Crummy <ecrummy@public-catalyst.com>;
    Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>
    Subject: Re: Secondary assignment question




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     attachments unless you expect them from the sender and know the content is
                                       safe.

    Thank you Tara

    Kevin Ryan




           On Feb 27, 2020, at 11:13 AM, Olah,Tara (DFPS)
           <Tara.Olah@dfps.state.tx.us> wrote:



           Hi Kevin,



           We are working toward the delivery date requested in your email
           below. So far, we appear to be on target; however, if that changes, I
           will be in touch with an estimated delivery date.



           Thank you,


                                             83
Case 2:11-cv-00084 Document 904 Filed on 07/07/20 in TXSD Page 84 of 282



          Tara




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          Sent: Thursday, February 27, 2020 10:24 AM
          To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
          Cc: Masters,Jaime D (DFPS) <Jaime.Masters@dfps.state.tx.us>;
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          Taylor <ltaylor@public-catalyst.com>; Eileen Crummy
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          <Leslie.Levy2@dfps.state.tx.us>
          Subject: Re: Secondary assignment question




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           click on links or attachments unless you expect them from the
                         sender and know the content is safe.

          Tara,



          Do you have a target date when you’ll be sending this
          information?

          Kevin Ryan




                  On Feb 21, 2020, at 9:11 AM, Olah,Tara (DFPS)
                  <Tara.Olah@dfps.state.tx.us> wrote:



                  Kevin,




                                          84
Case 2:11-cv-00084 Document 904 Filed on 07/07/20 in TXSD Page 85 of 282

                We are working with CCI and CPS staff to address your
                inquiry and will get back to you as soon as possible
                with the information you have requested.



                Thank you,



                Tara




                From: Kevin Ryan
                [mailto:kevinmichaelryan1967@gmail.com]
                Sent: Friday, February 21, 2020 8:38 AM
                To: Masters,Jaime D (DFPS)
                <Jaime.Masters@dfps.state.tx.us>; Carmical,Audrey
                (DFPS) <Audrey.Carmical@dfps.state.tx.us>;
                Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>;
                Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>;
                mannitto@public-catalyst.com; Harris,Rand S (DFPS)
                <Rand.Harris@dfps.state.tx.us>; Stephens, Andrew
                <andrew.stephens@oag.texas.gov>; Kintzer,Corey D
                (HHSC) <Corey.Kintzer@hhsc.state.tx.us>;
                dfowler@texasappleseed.net; Lisa Taylor
                <ltaylor@public-catalyst.com>; Eileen Crummy
                <ecrummy@public-catalyst.com>
                Subject: Secondary assignment question




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                           know the content is safe.

                Dear Commissioner and Counsel,



                The caseload data for CVS workers indicates that
                secondary assignments are prevalent among the
                workforce. It appears some CCI investigators also
                have secondary assignments. Our field interviews
                with CVS staff, so far, indicate some types of
                secondary assignments can be quite robust.



                                         85
Case 2:11-cv-00084 Document 904 Filed on 07/07/20 in TXSD Page 86 of 282

                 Would you please detail to us by February 28,
                 2020 how DFPS defines a secondary
                 assignment and what responsibilities are involved
                 in the secondary assignment. We would like to
                 understand this information and evaluate it as we
                 conduct our next rounds of interviews with CVS
                 caseworkers and CCI investigators.



                 Kevin

    <Secondary Assignments - RCCI 2.28.20.pdf>

    <Secondary Assignments - CVS 2.28.20.pdf>




                                        86
FN 370       Case 2:11-cv-00084 Document
                                     Texas904    Filed
                                          Appleseed Mail on  07/07/20
                                                         - Fwd:           inProduction
                                                                HHSC's Data  TXSD Page 87 of 282




 Fwd: HHSC's Data Production
 1 message




         From: "Townsend,Frances R (HHSC)" <Frances.Townsend@hhsc.state.tx.us>
         Date: November 15, 2019 at 6:02:18 PM EST
         To: Kevin Ryan <kevinmichaelryan1967@gmail.com>, "dfowler@texasappleseed.net"
         <dfowler@texasappleseed.net>
         Cc: "Harris,Russ (HHSC)" <Russ.Harris@hhsc.state.tx.us>, "Hilton, Christopher"
         <Christopher.Hilton@oag.texas.gov>
         Subject: HHSC's Data Production


         Good Evening, Kevin and Deborah,



         Thank you very much for the additional time for HHSC to supplement its November 1st data production and
         to create the attached data production chart. All information has been posted to the SharePoint site.
         Please let me know if I can assist in any way.



         Respectfully,

         Frances



         Frances Townsend │ A orney

         Li ga on Department │ Legal Services Division

         4900 North Lamar, Mail Code: 1100

         Aus n, TX 78751

         Oﬃce: 512-424-6926

         www.hhs.texas.gov │ www.dshs.texas.gov

         This message may contain conﬁden al informa on. If you received this message in error, please no fy
         me immediately and then delete the message.




    3 attachments
             image001.gif
             1K
                                                           87
6/23/2020      Case 2:11-cv-00084 Document
                                       Texas904    Filed
                                            Appleseed Mail on  07/07/20
                                                           - Fwd:           inProduction
                                                                  HHSC's Data  TXSD Page 88 of 282




                                           image002.png
                                           38K


            HHSC_Data_Response_Chart.pdf
            373K




                                                          88
FN 370 Attachment 1 Case 2:11-cv-00084 Document 904 Filed on 07/07/20 in TXSD Page 89 of 282

DATA PRODUCTION CHART

NOVEMBER 15, 2019



                                               November 15, 2019
                            HHSC’S DATA PRODUCTION CHART IN RESPONSE TO
                            SEPTEMBER 30TH DATA AND INFORMATION REQUEST
I.     MONITORS’ DATA AND INFORMATION REQUEST
       Injunction or Remedial Relief Related to HHSC: 15 – 19

15. Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff, complete
Priority Three, Priority Four and Priority Five investigations within 60 days of intake, consistent with DFPS policy.

16. Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff, complete
and submit documentation in Priority One and Priority Two investigations on the same day the investigation is
completed.

17. Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff, complete
and submit documentation in Priority Three, Priority Four and Priority Five investigations within 60 days of intake.

18. Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff, finalize and
mail notification letters to the referent and provider(s) in Priority One and Priority Two investigations within five
days of closing a child abuse and neglect investigation or completing a standards investigation.

19. Effective immediately, the State of Texas shall ensure RCCL investigators, and any successor staff, finalize and
mail notification letters to the referent(s) and provider(s) in Priority Three, Priority Four and Priority Five
investigations within 60 days of intake.

                                    Production         File Name
 Injunctions: 15 – 19                                                 Information HHSC Can Provide
                                    Due Date
 (Request 1)
 Request 1                                                            Request 1 - DRIT: 95929
                                    11/1/19, and       RO.15-19.1
 Provide a list of all referrals    monthly            Ref.Maltr.     For July 31, 2019 through September
 received by DFPS and HHSC          thereafter                        30, 2019, HHSC can provide a list of


                                                                                                               11/15/2019
                                                           89
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DATA PRODUCTION CHART

NOVEMBER 15, 2019



between July 31, 2019 and          *Supplement                   all referrals received by HHSC which
September 30, 2019, via phone      11/15                         the referent expresses concern about
call, website, fax, regular mail                                 child maltreatment regardless of
                                   11/15/2019,
and any other manner in which                                    placement type and licensure status,
                                   *Due 12/6/19
the referent expresses concern                                   including:
about child maltreatment
                                                                 1. the identification number of the
regarding any and all PMC
                                                                 referral;
children in the General Class,
regardless of placement type                                     2. the date of the call/communication;
and licensure status, and                                        3. the disposition of the report by
provide same on a monthly                                        Statewide Intake (where referred,
basis thereafter. For October                                    whether it was classified as an intake
2019, the report will be due                                     or information and referral, and the
November 15, 2019, and so                                        priority assigned); and
forth.
                                                                 4. the disposition of the report by
The list shall include the                                       RCCL, including whether it was
identification number of the                                     referred for an abuse and neglect
referral; the PMC child                                          investigation, a minimum standards
identifier(s) linked to the                                      investigation, the priority assigned to
referral; the date of the                                        the investigation, and any other
call/communication; the                                          information with regard to how the
disposition of the report by                                     state addressed or planned to address
Statewide Intake (where                                          the report.
referred, whether it was
classified as an intake or
                                                                 Information HHSC Cannot
information and referral, and                                    Provide
the priority assigned); the date
and manner of notification to


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the child’s primary caseworker                                   1. The list shall not include the PMC
of the allegations; and the                                      child identifier(s) linked to the referral
disposition of the report by the                                 and
office/division to which it is                                   2. the date and manner of notification
referred (CCI, RCCL, CPI, etc.)                                  to the child’s primary caseworker of
including whether it was                                         the allegations.
referred for an abuse and
neglect investigation, a                                         The reason why HHSC Cannot
minimum standards                                                Provide Information
investigation, the priority                                      1. The agency is operations-centric
assigned to the investigation,                                   not child centric. CLASS does not
and any other information with                                   contain the PMC identifier of children
regard to how the state                                          involved in a referral; the PMC
                                                                 identifier is only associated with
addressed or planned to
                                                                 referrals of abuse or neglect in
address the report.
                                                                 IMPACT.
                                                                 2. RCCL does not have requirements
                                                                 for notifying the child's caseworker
                                                                 during a non-abuse/neglect
                                                                 investigation.




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                                         Production      File Name
Injunctions: 15 – 19 (Request                                           Information HHSC Can Provide
                                         Due
2)                                       Date
Request 2                                                               Request 2 - DRIT: 95930
                                         11/15/19,       RO.15-19.2
For all investigations, including all    and quarterly   RCCL.Inspec.   HHSC will respond to this data request on or
those conducted by CCI, CCL, CPI         thereafter,                    before 12/06/2019
etc. regarding any child in the PMC      *Extended to
                                         12/06/19
General Class initiated between July
31, 2019 and September 30, 2019,         2/15/2020
identify in a report due November
15, 2019: the manner of initiation       5/15/2020
(action taken that triggered the start
of the investigation); the county        8/15/2020
where the maltreatment is alleged;
                                         *Continue
the date/time of face to face contact
                                         Annually
with the alleged victim(s) (as
applicable) noting any and all
untimely face to face contacts and
the reason for any approved
extensions to the face to face
contact timeframe; the
relationship(s) of the alleged
perpetrator(s) to the alleged child-
victim(s); the child's placement type
at the time of the alleged
maltreatment; the



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placement/provider identification
number; the referral identification
number; the investigation
identification number; the name and
identification number of the
assigned investigator.
Provide the date/time the
investigation was launched and, if
applicable, completed; the date
documentation of completion was
entered in IMPACT; the reason for
all approved extensions to the
investigation completion date/time
(when applicable); the date the
completed investigation was
submitted to the supervisor for
approval; the date the supervisor
approved the investigation; the
disposition of each allegation; the
overall disposition of the
investigation; the date of any
notification letters to parents,
providers, and/or referents.
Report quarterly thereafter.




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II.   MONITORS’ DATA AND INFORMATION REQUEST
      Injunction or Remedial Relief Related to HHSC: 20

20. Within 120 days, RCCL, and/or any successor entity charged with inspections of child care placements, will
identify, track and address concerns at facilities that show a pattern of contract or policy violations. Such facilities
must be subject to heightened monitoring by DFPS and any successor entity charged with inspections of child care
placements and subject to more frequent inspections, corrective actions and, as appropriate, other remedial actions
under DFPS’ enforcement framework.

 Injunction 20 (Request 1)               Production      File         Information HHSC Can Provide
                                         Due Date        Name

 Request 1                               11/1/19         RO.20.1      Request 1
 A detailed description of how RCCL                      Pol.Viol.    HHSC provided the information on November 1,
 defines a pattern of contract or                                     2019, on its SharePoint.
 policy violations. Provide the policy
                                         *No future
 or protocol, if any, used to instruct   deadline
 decisions about whether a pattern of
 contract or policy violations exists
 for child care placement facilities.




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Injunction 20 (Requests 2 – 7)       Production    File Name       Information HHSC Can Provide
                                     Due Date

Request 2                                                          Request 2
A list of all licensed placements,   11/1/19       RO.20.2         DRIT 95932
excluding agency foster homes,       (first data   List.Inspec.    DRIT 95940
inspected over the last three        uploaded),
                                                                   DRIT 95965
years, starting from September       *Supplement
                                                                   HHSC can provide the following information
30, 2016 through September 30,       11/15/19
2019. The list should identify                                     about the list of all licensed placements,
                                                                   excluding agency foster homes, inspected
whether the inspection was
                                     *No future                    over the last three years, starting from
announced or unannounced; all
                                     reports                       September 30, 2016 through September 30,
deficiencies cited during the
                                     requested                     2019:
inspection; any follow up
inspections and the results of                                     1. the inspection was announced or
those inspections; any                                               unannounced;
enforcement taken (including
                                                                   2. all deficiencies cited during the inspection;
warning letters) as a result of a
cited deficiency; the                                              3. any follow up inspections and the results of
placement/provider name and                                          those inspections;
identification number and county;                                  4. all deficiencies that led to the enforcement
agency responsible for the                                           action;
placement; number of beds;
                                                                   5. the placement/provider name and
And name of the facility.                                            identification number and county;




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Include the CLASS Risk Review                                      6. licensed capacity;
Enforcement Recommendations,
                                                                   7. name of the facility; and
and, if an alternative to the
recommended enforcement was                                        8. the CLASS Risk Review Enforcement
chosen, the reason for the                                            Recommendations, and, if an alternative to
alternative.                                                          the recommended enforcement was chosen,
                                                                      the reason for the alternative.

                                                                   Information HHSC cannot provide
                                                                   1. The list shall not include the agency
                                                                   responsible for placement.

                                                                   The reason why HHSC Cannot Provide
                                                                   Information
                                                                   Since the purpose of CLASS is to track
                                                                   information about an operation that RCCL
                                                                   regulates, CLASS does not contain placement
                                                                   information about children.




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Request 3                            11/1/19       RO.20.3         Request 3
                                                   Req.Op.Rev.Pl
For the same time period, all                                      Information HHSC Cannot Provide
requests by an operation for         *No future
                                                                   The list shall not include for the same time
Licensing to review a policy, and    reports
                                                                     period, all requests by an operation for
the results of the request.          requested                       Licensing to review a policy, and the results
                                                                     of the request.
                                                                   The reason why HHSC Cannot Provide
                                                                   Information
                                                                   RCCL does not have a process in place to
                                                                     track when an operation requests licensing
                                                                     to review an operation’s policy.




Request 4                                                          Request 4
                                     11/1/19       RO.20.4
For the same time period, all risk                                 This information is contained in the
                                                   Risk.Analysis   Performance Management Unit Reports on
analyses performed pursuant to
the process described in section     *No future                    HHSC’s SharePoint site.
4800 et seq. of the HHSC Child       reports
Care Licensing Policy and            requested
Procedures Handbook, and any
action taken as a result of the
analysis.



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Request 5                                                              Request 5
For the same time period, a list of     11/1/19
                                                                       DRIT 95931
all agency foster homes inspected.      (first data
                                                      RO.20.5          DRIT 95932
The list should indicate the date of    uploaded)
the inspection(s); whether the          *Supplement   List.Ag.Fst.Hm   HHSC can provide the following information
home was inspected due to               11/15/19                       about the list of all agency foster homes
random sampling or because some                                        inspected:
                                        *No future
other event triggered the                                              1. the date of the inspection(s);
                                        reports
inspection; whether the inspection
                                        requested                      2. whether the home was inspected due to
was announced or unannounced;
                                                                          random sampling or because some other
any deficiencies cited as a result of
                                                                          event triggered the inspection;
the inspection; any immediate
hazards reported; and any                                              3. whether the inspection was announced or
enforcement action taken by the                                          unannounced;
CPA or RCCL. The list should                                           4. any deficiencies cited as a result of the
include the placement/provider                                            inspection; and
name; the unique foster home
identification number; the date the                                    5. name and contact information for the CPA
home was opened; the date the                                            and agency home.
home was closed (if applicable);                                       Information HHSC Cannot Provide
contact information for the home;
                                                                       The list shall not include any enforcement
the home’s county; and the
                                                                         action taken by the CPA or RCCL.
agency responsible for the foster
home, with contact information for
the agency.




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                                                                   The reason why HHSC Cannot Provide
                                                                   Information
                                                                   RCCL does not require a CPA to report to CCL
                                                                   any action the CPA takes on a foster home;
                                                                   RCCL takes enforcement actions on CPAs, not
                                                                   foster homes.


Request 6
                                     11/1/19       RO.20.6         Request 6
For the same time period, all
                                     (first data   Lic.Mon.Enf.    DRIT 95965
documentation of monitoring plans
                                     uploaded)
or corrective actions taken by the                                 DRIT 95966
State (either by DFPS or RCCL) as    *Supplement
                                     11/15/19                      HHSC can provide all corrective action plans
a result of heightened contract or
                                                                   and expedited monitoring.
licensing monitoring or
enforcement.
                                     *No future
                                     reports
                                     requested




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Request 7                             11/1/19       RO.20.7          Request 7
                                      (first data   Min.Stand.Def.
For the same time period, a list of                                  DRIT: 95932
                                      uploaded)
all child care placements that                                       HHSC can provide a list of all minimum
includes any and all allegations of   *Supplement
                                      11/15/19                       standards deficiencies cited for an operation
contract violations, policy                                          that lead to the enforcement action.
violations, minimum standards
violations, or abuse and neglect,                                    Information HHSC Cannot Provide
                                      *No future
including the nature of the                                          The list shall not include any contract
                                      reports
allegation and specific standard,                                      violations or policy violations.
                                      requested
policies, or contractual provisions
allegedly violated; whether the                                      The reason why HHSC Cannot Provide
allegation was substantiated; and                                    Information
any enforcement or corrective                                        RCCL can provide a list of minimum standard
action taken.                                                        violations, but does not track contract or
                                                                     policy violations.




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Injunction 20 (Request 8)              Production Due    File       Information HHSC Can Provide
                                       Date              Name

Request 8                                                           Request 8
                                       11/1/19           RO.20.8
Starting July 31, 2019 through         (first data       List.EBI   DRIT: 95935
September 30, 2019, and on a           uploaded)
                                                                    HHSC can provide a report that includes a list
quarterly basis thereafter, a          *Supplement
                                                                    of all restraints and/or Emergency Behavior
                                       11/15/19
report that includes a list of all                                  Interventions (EBI) disaggregated by
restraints and/or Emergency            11/15/19, and                placement. The report will include
Behavior Interventions (EBI)           quarterly basis
disaggregated by placement. The                                     1. the operation name and number;
                                       thereafter,
report shall include                   extended to                  2. operation contact information (PLEASE
placement/provider name,               12/6/19                      NOTE this is confidential information by
identification number, county,                                      law); and
                                       2/15/20
contact information, and, if a
                                                                    3. the type of restraint or EBI.
foster home, the agency                5/15/2020
responsible; type of restraint or                                   Information HHSC Cannot Provide
EBI; date of incident; reason for      8/15/2020                    1. The list shall not include the name of
restraint or EBI; name of                                           child(ren) involved, along with identification
child(ren) involved, along with        *Continue
                                       Annually                     number, date of birth, and
identification number, date of                                      race/ethnicity/gender of the child;
birth, and race/ethnicity/gender
of the child.                                                       2. Identify all situations in which the child
                                                                    sustained an injury and all situations in which
Identify all situations in which the                                the child required medical attention as a result
child sustained an injury and all                                   of the restraint or EBI; and
situations in which the child



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required medical attention as a                                   3. the reason for punishment, and placement.
result of the restraint or EBI
                                                                  The reason why HHSC Cannot Provide
                                                                  Information
                                                                  1. RCCL requires an operation to report
                                                                  aggregate numbers of emergency behavior
                                                                  interventions used at the operation on a
                                                                  quarterly basis. This aggregate information is
                                                                  being provided. However, RCCL does not
                                                                  require operations to report every instance of
                                                                  an EBI to RCCL, therefore RCCL does not have
                                                                  the name of each child who received an EBI, or
                                                                  the accompanying requested demographic
                                                                  information.
                                                                  2. Since RCCL does not require operations to
                                                                  report each instance of an EBI used at the
                                                                  operation, RCCL cannot identify all situations in
                                                                  which a child sustained an injury or required
                                                                  medical attention as a result of an EBI.
                                                                  3. RCCL is providing a list of all minimum
                                                                  standard violations, including violations for
                                                                  prohibited forms of punishment, however,
                                                                  RCCL does not capture the reason for
                                                                  punishment in the CLASS system.




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III. MONITORS’ DATA AND INFORMATION REQUEST
      Injunction or Remedial Relief Related to HHSC: 21

21. Effective immediately, RCCL and/or its successor entity, shall have the right to directly suspend or revoke the
license of a placement in order to protect children in the PMC class.

 Injunction 21 (Request 1)              Production     File Name         Information HHSC Can Provide
                                        Due Date

 Request 1                              11/1/19        RO.21.1           Request 1
                                        (first data
 Provide the number of placement                       Hist.Licen.Rev    - RCCL has not revoked the licenses of any
                                        uploaded)
 licenses that have been revoked by                                      placements in the last 5 years.
 the State over the last five years     *Supplement
 through September 30, 2019 and         11/15/19                         - RCCL is producing denials of licenses for
 reasons for revocation.                *No future                       prospective operations.
                                        deadlines


 Injunction 21 (Request 2)              Production     File Name         Information HHSC Can Provide
                                        Due Date
 Request 2                                             RO.21.2           Request 2
                                        Continuous
 Going forward, provide the names of                   Lic.Rev. [Dated HHSC will provide both types of requested
 placements under consideration for                    and named as    information when such situations arise per
 revocation or suspension, prior to a                  appropriate due the production due date.
 final decision, including the                         to the ongoing
 reason(s) for such consideration.                     nature of this
 Immediately upon suspension or                        particular
 revocation of a license, provide the                  request]



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name of the placement;
identification number; county;
contact information; the agency
responsible; and reasons for
revocation or suspension.




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IV.   MONITORS’ DATA AND INFORMATION REQUEST
      Injunction or Remedial Relief Related to HHSC: 22

22. Effective immediately, RCCL, and any successor entity charged with inspections of child care placements, must
consider during the placement inspection all referrals of, and in addition all confirmed findings of, child
abuse/neglect and all confirmed findings of corporal punishment occurring in the placements. During inspections,
RCCL, and any successor entity charged with inspections of child care placements, must monitor placement
agencies’ adherence to obligations to report suspected child abuse/neglect. When RCCL, and any successor entity
charged with inspections of child care placements, discovers a lapse in reporting, it shall refer the matter to DFPS,
which shall immediately investigate to determine appropriate corrective action, up to and including termination or
modification of a contract.

 Injunction 22 (Request 1)             Production      File Name            Information HHSC Can Provide
                                       Due Date

 Request 1                                                                  Request 1
                                                       RO.22.1
 Starting July 31, 2019 through        11/1/19         Rep.ANE.To.DFPS      HHSC provided this information on
 September 30, 2019, and updated                                            11/1/19.
 quarterly thereafter, provide:        11/15/19
                                       and quarterly                        HHSC will produce the next information on
 For each item below include the
                                       thereafter,                          12/6/19
 name of the placement;
 identification number; county;        *Extended to
 contact information; and the          12/6/19
 agency responsible.
                                       2/15/20
  (1) All reports RCCL has sent or
 sends to DFPS related to failure to
                                       5/15/2020
 report abuse or neglect.




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                                      8/15/2020

                                      *Continue
                                      Annually




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Injunction 22 (Request 3)           Production      File Name    Information HHSC Can Provide
                                    Due Date

Request 3                                          RO.22.3       Request 3
                                    11/1/19 (first
Starting July 31, 2019 through      data uploaded) Rep.Punish    DRIT: 95932
September 30, 2019, and
                                                                 HHSC can provide information on operations
updated quarterly thereafter,       *Supplement
provide:                            11/15/19                     that have violated the applicable minimum
                                                                 standards, including
For each item below include         11/15/19, and                1. the name of operation;
1. the name of the placement;       quarterly
2. identification number;           thereafter,                  2. identification number;
3. county;                          *Extended to
                                                                 3. county; and
4. contact information; and         12/6/19
5. the agency responsible.                                       4. contact information (Please note this
                                    2/15/20                        information is confidential by law).
(3) Reports of punishments used
on a PMC youth that are             5/15/2020                    Information HHSC Cannot Provide
prohibited by TAC 749.1953 or
749.1957, disaggregated by type                                  1. The list will not include the reason for
                                    8/15/2020
of punishment, reason for                                        punishment, and placement.
punishment, and placement.          *Continue                    The reason why HHSC Cannot Provide
                                    Annually                     Information
                                                                 1. RCCL is providing a list of all minimum
                                                                 standard violations, including violations for
                                                                 prohibited forms of punishment, however, RCCL




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                                                                 does not capture the reason for punishment in
                                                                 the CLASS system.




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V.   LIST OF REPORTS TO HEALTH & HUMAN SERVICES OMBUDSMAN

Remedial Order: A6 Within 30 days of the Court’s Order, DFPS shall ensure that caseworkers provide children with
the appropriate point of contact for reporting issues relating to abuse or neglect. In complying with this order, DFPS
shall ensure that children in the General Class are apprised by their primary caseworkers of the appropriate point
of contact for reporting issues, and appropriate methods of contact, to report abuse and neglect. This shall include
a review of the Foster Care Bill of Rights and the number for the Texas Health and Human Services Ombudsman.
Upon receipt of the information, the PMC child’s caseworker will review the referral history of the home and assess
if there are any concerns for the child’s safety or wellbeing and document the same in the child’s electronic case
record.



 Remedial Order: A6                     Production File Name              Information HHSC Can Provide
                                        Due Date

 For the period August 31, 2019 to      11/1/19,      RO.A6.1         On 11/13/19, HHSC uploaded de-identified
 September 30, 2019, and on a           extended to                   reports made by children in the General
                                                      Ombuds.Q4.2019
 quarterly basis thereafter, provide    11/13/19                      Class to the Texas Health and Human
                                                      [or dated as
 a list of all reports made by                                        Services Ombudsman and for the period
                                                      appropriate for
 children in the General Class to the                                 August 31, 2019 to September 30, 2019.
                                        11/15/19,     that quarter]
 Texas Health and Human Services
                                        Quarterly
 Ombudsman and/or any person(s)
                                        thereafter,
 designated by the State as the                                           HHSC will upload the reports made from
                                        extended to
 “appropriate point of contact for                                        October 1, 2019 to October 31, 2019 on
                                        12/6/19
 reporting issues relating to abuse                                       12/6/2019.
 or neglect” and the disposition of
 those referrals. If the report is
                                        2/15/20
 received through a point of contact



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other than the Ombudsman, please        5/15/2020
so indicate. Identify for each
report, the reporting child’s name;     8/15/2020
date of birth; identification
number; county; agency                  *Continue
responsible for the placement;          Annually
placement name and identification
number. If referred for
investigation, identify the status of
the investigation and the
investigation number.




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VI. CASEWORKER WORKLOAD STUDY PROVISIONS
      Injunction or Remedial Relief Related to HHSC: B1

B1. Within 60 days of the Court's Order, DFPS, in consultation with and under the supervision of the Monitors, shall
propose a workload study to: generate reliable data regarding current RCCL, or successor entity, investigation
caseloads and to determine how much time RCCL investigators, or successor staff, need to adequately investigate
allegations of child maltreatment, in order to inform the establishment of appropriate guidelines for caseload
ranges; and to generate reliable data regarding current RCCL inspector, or successor staff, caseloads and to
determine how much time RCCL inspectors, or successor staff, need to adequately and safely perform their
prescribed duties, in order to inform the establishment of appropriate guidelines for caseload ranges. The proposal
shall include, but will not be limited to: the sampling criteria, timeframes, protocols, survey questions, pool sample,
interpretation models, and the questions asked during the study. DFPS shall file this proposal with the Court within
60 days of the Court’s Order, and the Court shall convene a hearing to review the proposal.

 Request/Report: B1                      Production    File Name      Information HHSC Can Provide
                                         Due Date

 Request 1                               Monthly                      RCCL regulates and licenses operations, not PMC
                                                       RO.B1
                                                                      child investigations.
 Provide a report with caseloads for     11/15/19      Caseloads
 staff, including any supervisors, and
 any other staff who conduct                                          HHSC can provide a list of RCCL inspectors whose
                                         12/15/19                     caseloads involve evaluation of an operation’s
 investigations involving any PMC
 child. The report will be a point in                                 compliance with minimum standards to ensure
                                         1/15/20                      the safety of children.
 time caseload for November 1, 2019
 and is due by November 15, 2019;
                                         Continue
 then for December 1, 2019 due by
                                         annually
 December 15, 2019; and so forth
 monthly thereafter. The reports


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must include all staff who
investigate maltreatment involving
any child in the PMC class, and
detail their caseloads; the number
and percent of staff with caseloads
within, below and over the relevant
guideline once established, by office,
by county, and statewide; the
identification number and location of
all individual staff; include caseloads
for staff, as defined above, who
spend part-time in investigative
functions and part-time in other
functions and so note. Identify all
staff subject to a graduated
caseload and so note. Provide
individual fields for every type of
case that the staff carries. Identify
for each staff all non-case carrying
work that impacts capacity. Identify
by total at the bottom of the report
the total number of supervisors
carrying a case. Identify all
secondary assignments for each
staff. The report shall include the
number of investigations assigned to
each worker and identify each
investigation by number. The report
shall identify the number of children
involved in each investigation; the
supervisor name and identification
number; title of investigating staff;



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and the county location of
investigating staff. The report shall
provide the identification number for
each child linked to an identified
investigation.




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VII. CASEWORKER WORKLOAD STUDY PROVISIONS
Injunction or Remedial Relief Related to HHSC: B2 – B4

B2: Within 120 days of the Court’s Order, DFPS shall present the completed workload study to the Court. DFPS shall
include as a feature of their workload study submission to the Court, how many cases, on average, RCCL inspectors
and investigators, or any successor staff, are able to safely carry, and the data and information upon which that
determination is based, for the establishment of appropriate guidelines for caseload ranges.

 Request/Report: B2                       Production     File Name      Status
                                          Due Date

 Request 2                                Per            Per            Request 2
                                          consultation   consultation
 Complete workload study                                                Pending submission from the State.
                                          with           with
                                          monitors       monitors

B3: Within 150 days of the Court’s Order, DFPS, in consultation with the Monitors, shall establish internal guidelines
for caseload ranges that RCCL investigators, or any successor staff, can safely manage based on the findings of the
RCCL investigator workload study, including time spent in actual investigations. In the standard established by DFPS,
caseloads for staff shall be prorated for those who are less than full-time. Additionally, caseloads for staff who spend
part-time in the work described by the RCCL, or successor entity, standard and part-time in other functions shall be
prorated accordingly.

 Request/Report: B3                       Production     File Name      Status
                                          Due Date

 Request 3                                Per            Per            Request 3
                                          consultation   consultation
 Establish internal guidelines for RCCL                                 Pending submission from the State.
 inspectors for caseload ranges based


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 on the workload study.                 with           with
                                        monitors       monitors


B4: Within 180 days of this Order, DFPS shall ensure that the internal guidelines for caseload ranges and investigative
timelines are based on the determination of the caseloads RCCL investigators, or any successor staff, can safely
manage are utilized to serve as guidance for supervisors who are handling caseload distribution and that these
guidelines inform DFPS hiring goals for all RCCL inspectors and investigators, or successor staff.

 Request/Report                         Production      File Name      Status
                                        Due Date

 Request 4                                                             Request 4
                                        Per             Per
 Implement internal guidelines for      consultation    consultation   Pending submission from the State.
 RCCL inspectors for caseload ranges    with            with
 to serve as guidance for supervisors   monitors        monitors
 who are handling caseload
 distribution and to inform hiring
 goals.




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  Fwd: Problems with the CCI Caseload Data
  1 message




          On Mon, Apr 13, 2020 at 5:37 PM Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us> wrote:

            Deborah,



            Please see responses below to the specific issues you raised. Feel free to have Nancy reach out to
            Jane if she has further questions.



            Unit 16 not showing up in December report

            ·    Creating the report pursuant to the monitors’ specifications required new and complex coding
            as the monitor’s request is not aligned with the agency’s normal business process for reporting on
            caseloads. This new code resulted in a glitch for the December report because the supervisor
            position for Unit 16 appears to have been vacant on December 31, 2019. We have double checked
            the rest of the December report along with all the other reports provided (September through
            February) and it appears that only staff in Unit 16 was affected and only for the December report.
            We have fixed the issue and it should not be a problem moving forward. We will re-run the
            December report in its entirety.



            Unit 40 and 41 only having a small number of staff assigned to them

            ·    These are new units created in December for the new FTEs we received in the Fall, so the
            units have slowly been filling up as FTEs are filled, trained and become case carrying



            Supervisor appearing in some months and not others

                 ·  We could not find an example exactly like they described so would need the supervisor’s
                 name and PID.



            One person in Unit 14

            ·    This person is a DCI supervisor                        and has been assigned 1 RCI investigation
            for the last 2 years that technically is open but in looking at it, probably is a mistake and should be
            data fixed to be closed. That’s why no other individuals from Unit 14 appear on the list because,
            generally, DCI staff do not work RCI cases.




            Rand Harris

            512-438-3083
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            From: Deborah Fowler [mailto:dfowler@texasappleseed.net]
            Sent: Saturday, April 11, 2020 10:46 AM
            To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>;
            Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>
            Cc: Kevin Ryan <kevinmichaelryan1967@gmail.com>; narrigona@texasappleseed.net; Viveca Mar nez
            <vmar nez@texasappleseed.net>; Linda Brooke <lbrooke@texasappleseed.net>
            Subject: Problems with the CCI Caseload Data




              WARNING: This email is from outside the DFPS system. Do not click on links or a achments unless you expect them from
                                                    the sender and know the content is safe.


            Rand, Nancy was finishing the analysis on the CCI caseload data that we've received pursuant to the data and
            information requests and has found a major problem with the data.



            This is the problem that she and one of our data analysts found:



                    Today discovered a major issue with the RCI data. I had asked           to run the number of
                    investigators per unit per month for me and in looking at that compared to other data per unit
                    noticed that staff for unit 16 were in the analysis for November and December but were not included
                    in the data for January. They are back in the February data. So that is 5 staff that are not included
                    in the data for a month. Then         and I reviewed the other units and Units 40 and 41 have only
                    one staff person in one month of the 3 months analyzed; staff drop off as supervisors in one month
                    only to come back as a supervisor in the next (so supervisor in 2 month, not in one, and then
                    supervisor again), a person whose title is "CCL supervisor II" in the data in all months in a unit that
                    doesn't seem to exist (14) and in the data carrying one case as an investigator and not supervising
                    anyone. I could go on.

            We are going to need to set up a call with whoever at DFPS can help us address this issue as soon as possible.
            Can you please let us know when we might be able to schedule this call next week.



            Thank you,



            Deborah Fowler

            Executive Director

            Texas Appleseed

            1609 Shoal Creek Blvd., Ste. 201

            Austin, TX 78701

            512.473.2800, ext. 105

            512.757.1458 (cell)

            www.texasappleseed.org



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            RO.B1 RCI caseloads as of 12-31-19 - revised 4-23-20.xlsx
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                                          Texas Appleseed   07/07/20
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  Fwd: Meeting invite
  1 message




    ---------- Forwarded message ---------
    From: Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us>
    Date: Mon, May 18, 2020 at 8:26 PM
    Subject: RE: Meeting invite
    To: narrigona@texasappleseed.net <narrigona@texasappleseed.net>, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>



    Thanks, Nancy! We’ll pull some things together to cross-walk and hopefully get you what you need on
    Thursday.



    I did want to briefly respond to the other part of your email about Residential Child Care Investigation
    (RCI) caseloads. As we’ve discussed previously, the RCI program is managed at the state level. In a
    previous email, we provided a few alternative ways to calculate RCI caseloads as well as a description of
    how units operate. We have provided you the units in which each caseworker and supervisor work and
    the office addresses and counties where each unit is housed from which you can tell the region in which
    each unit is located. While staff generally cover cases in the region in which they are housed, it is not
    uncommon for staff to also cover cases in other regions. I’m not sure what else we can provide. If there
    is a specific piece of information you think you’re missing, let us know.




    Jane Burstain
    Chief Data and Analytics Officer

    Texas Department of Family and Protective Services

    512-547-7960 (cell)




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  Fwd: RCCI Backlog Plan Update
  1 message




    ---------- Forwarded message ---------
    From: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
    Date: Thu, Apr 9, 2020 at 7:32 PM
    Subject: RCCI Backlog Plan Update
    To: Kevin Ryan <kevinmichaelryan1967@gmail.com>, dfowler@texasappleseed.net <dfowler@texasappleseed.net>
    Cc: Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>,
    Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>, Batiste,Ashland
    (DFPS) <Ashland.Batiste@dfps.state.tx.us>, Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us>



    Kevin and Deborah,



    There were 554 cases that were over 45 days on February 29th (this is the number
    Ashland was trying to pull up during the call). As of April 5th, the number was 501.



    The more recent number comes from a weekly report that pulls patterns and trends from
    the INSIGHT data (see example below). The Associate Commissioner and the Director of
    RCCI review this report every week and use it to discuss with RCCI leadership the current
    status and trends. Additionally, caseworkers and supervisors can use INSIGHT reports to
    manage their workloads and cooing deadlines.


    Closures are still not where we would like them. Although the new investigators hired in
    September, 2019, increased RCCI’s case carrying capacity by nearly sixty percent, those
    caseworkers have only recently become case assignable. It is our hope that as they get
    up to speed some of the lag will decrease.



    Thank you


    Rand




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    Below is a visual representation of the actual number of delinquent cases closed (red) and
    the backlog growth (grey).




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                                                                     RCCI Backlog TXSDUpdate Page 123 of 282




 Fwd: RCCI Backlog Plan Update
 1 message




   ---------- Forwarded message ---------
   From: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
   Date: Fri, Apr 10, 2020 at 8:47 AM
   Subject: RE: RCCI Backlog Plan Update
   To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>, Kevin Ryan <kevinmichaelryan1967@gmail.com>
   Cc: Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>, Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>, Olah,Tara
   <Tara.Olah@dfps.state.tx.us>, Burstain,Jane (DFPS) <Jane.Burstain@dfps.state.tx.us>, Batiste,Ashland (DFPS) <Ashland.Batiste@dfps.state.tx.us>



   Deborah,



   Please see below.



                     2018                                                      2019                                                                     2020


                                                                              Change                       Change                                      Change                       Ch
                                                                               From                         From                                        From                         F
      Month         Opened         Closed         Month          Open          2018          Closed         2018          Month          Open           2019          Closed         2


    Jan 2018          155            151        Jan 2019          210           35%            197           30%         Jan 2020          276           31%            396          10


    Feb 2018          151            158        Feb 2019          174           15%            164            4%         Feb 2020          319           83%            339          10


    Mar 2018          167            207        Mar 2019          183           10%            178           -14%


    Apr 2018          149            194        Apr 2019          228           53%            195            1%


       May                                        May
       2018           181            233          2019            193            7%            202           -13%


    Jun 2018          138            145        Jun 2019          161           17%            175           21%


     Jul 2018         141            138        Jul 2019          265           88%            144            4%


    Aug 2018          145            168        Aug 2019          212           46%            183            9%


    Sep 2018          158            147        Sep 2019          230           46%            166           13%


    Oct 2018          149            169        Oct 2019          277           86%            293           73%


    Nov 2018          179            195        Nov 2019          255           42%            158           -19%


    Dec 2018          160            132        Dec 2019          207           29%            224           70%


      Totals         1873           2037          Totals         2595           39%           2279           12%        YTD Total         595           55%            735           10




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                                                                              Veronica Lockett <vlockett@texasappleseed.net>



  Fwd: RCCI Backlog Plan Update
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              ---------- Forwarded message ---------
              From: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
              Date: Fri, Apr 10, 2020 at 9:33 AM
              Subject: RE: RCCI Backlog Plan Update
              To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
              Cc: Kevin Ryan <kevinmichaelryan1967@gmail.com>, Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.
              tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>, Levy,Leslie M (DFPS)
              <Leslie.Levy2@dfps.state.tx.us>, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>, Burstain,Jane (DFPS)
              <Jane.Burstain@dfps.state.tx.us>, Batiste,Ashland (DFPS) <Ashland.Batiste@dfps.state.tx.us>



              The total cases opened in 2017 was 2,399. Calendar year 2019 was tracking to be between 2017
              and 2018, but began to increase in July.



              Rand Harris

              512-438-3083




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  Fwd: Pending requests
  1 message




    ---------- Forwarded message ---------
    From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
    Date: Fri, May 15, 2020 at 3:52 PM
    Subject: RE: Pending requests
    To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
    Cc: Kevin Ryan <kevinmichaelryan1967@gmail.com>, Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>,
    mannitto@public-catalyst.com <mannitto@public-catalyst.com>



    Hi Deborah,



    Thank you for the opportunity to review and respond to the Praesidium report. A ached is a document summarizing
    the agency’s feedback concerning this report.



    Thank you,



    Tara




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The DFPS training curriculum and resources Praesidium reviewed, including the online course, Child Sexual
Aggression Resource Guide, and CPS Professional Development Core Competencies Training – Sexual
Abuse, comprise a comprehensive approach to training and reinforcing the various learning modalities.
Trainings build on one another and serve different purposes—some are more foundational, while others
are more task-oriented.

At this time, many caregivers and caseworkers have already been trained on the material reviewed by
Praesidium. As noted below, DFPS agrees in principle with many recommendations in this report and can
consider operationalizing them; however, DFPS suggests that if the training is modified, it be provided on
a going forward basis to new caseworkers and caregivers who have not already completed the existing
training and to existing caseworkers and caregivers as refresher training, when such training is required.

Scope of Work
The Praesidium report’s Scope of Work mischaracterizes DFPS trainings and materials as being developed
to guide understanding of child-on-child sexual abuse prevention, as these trainings and materials are
primarily focused on identification and reporting of sexual abuse, including child-on-child sexual abuse.
This focus on identification and reporting is consistent with the Court’s orders directing DFPS to ensure
that all caseworkers and caregivers are trained to recognize and report sexual abuse, including child on
child sexual abuse, and for DFPS to create a clear policy on what constitutes child on child sexual abuse.

In addition to the online course titled “Recognizing and Reporting Child Sexual Abuse: A Training for
Caregivers,” caregivers receive pre-service training through their child placing agency (CPA)/employer
(general residential operation (GRO)). Pre-service training content, such as PRIDE Session 7 – Responding
to Signs and Symptoms of Sexual Abuse, includes much of the same content Praesidium recommends.

Online Course Section A. Course Development and Learner Engagement
DFPS agrees with Praesidium’s feedback in Report Findings Section A. Course Development and Learner
Engagement. Prior to developing the online course, DFPS staff discussed the potential benefits and
shortcomings associated with placing the training on the public website versus the external Learning
Management System (LMS). Ultimately, DFPS placed the training on the public website due to the
substantial additional resources that would have been required to support external users accessing the
training via LMS. Although functionality and data analytics are somewhat limited, the training is
nonetheless consistent with the Court’s orders. DFPS appreciates the thoughtful recommendations
Praesidium offered. However, many of them are impossible to implement due to the limitations of the
public website. Recommendations DFPS can consider operationalizing include:
     1. Create a Table of Contents menu that can be accessed at any time within the course to facilitate
         direct access to slide content for review.
     2. Evaluate opportunities to improve readability level (such as, shorter sentences, bulleted lists,
         condensed text) to reflect comprehension and accessibility for wider audience.
     11. Revise Knowledge Check to be a pass/fail test, rather than a forced pass, to better hold learner
         accountable to understanding course content by requiring a pass for course completion.
     12. Revise Knowledge Check to include additional applied learning and scenario-based questions to
         better evaluate learner competency and application of content.
     13. Create a question bank that randomly selects a defined number of questions for each individual’s
         Knowledge Check so the learning experience will be slightly different for each learner each time.




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    15. Consider adding a list of course objectives to the completion certificate to demonstrate overall
        training content that was reviewed.

Online Course Section B. Sexual Abuse Prevention Content
DFPS would like to reiterate that this course is designed to help caregivers recognize and report sexual
abuse, in accordance with the Court’s orders, not to teach caregivers about sexual abuse prevention,
teach children about anatomically correct terms, or to prevent or manage sexual activity between children
(though other trainings may include such content). DFPS appreciates Praesidium calling attention to some
unclear wording concerning the definition of sexual abuse and can reword the content to more clearly
communicate the definition.

Recommendations DFPS can consider operationalizing include:
    4. Revise the Reporting Sexual Abuse section to include clear guidance as to whether and to what
       extent sexual behavior problems and/or sexually aggressive behaviors should be reported by
       caregivers to the abuse hotline and shared with CPS caseworkers.

        DFPS can add language about reporting incidents of child on child sexual abuse to the Texas Abuse
        Hotline. However, sexual behavior problems are not generally reported to the hotline.
        Appropriate avenues to report a sexual behavior problem include reporting to the child’s
        caseworker, therapist/treatment team, and/or agency case manager.

    6. Incorporate content from the Child Sexual Aggression Resource Guide’s “Immediate Intervention
       and Response” section (pages 20-25) into the online course.

Electronic Documents Section A. Child Sexual Aggression Resource Guide
    The recommendation to create revised Child Sexual Aggression (CSA) Resource Guides for different
    target audiences requires further consideration. Resource guides are intended for use by DFPS
    caseworkers. Extensive time and resources may be required to implement this recommendation and
    DFPS may not be the most appropriate entity to undertake it. Entities with whom DFPS contracts
    utilize their own training curriculums and develop their own protocols. DFPS provided the CSA
    Resource Guide to various caregiver organizations to use as a foundation for any training curriculum
    they wanted to develop and many representatives of these caregiver organizations participated in the
    development of the guide.

Electronic Documents Section B. CPS Professional Development Core Competencies Training – Sexual
Abuse

Recommendation #4 is already in CPS policy concerning child visits, and in the Resource Guide, concerning
safety visits. To better understand the utility of implementing Recommendation #6, DFPS requests
additional information, as it is unclear from the report what observations led to this recommendation.

Recommendations DFPS can consider operationalizing include:
   1. Identify specific core competencies caseworkers should demonstrate in understanding child
      sexual abuse and administer an evaluation or assessment against those identified competencies
      for each caseworker prior to them working alone in the field.



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   2. Ensure recognition of child on child sexual abuse is included within overall discussion of child
      sexual abuse.
   3. Ensure core competencies include guidance as to what caseworkers should do when they hear
      sexual slang words within vague or explicit disclosures from children.
   5. Update case examples to include a variety of instances in which child sexual abuse may occur in
      the field including child on child sexual aggression.
   7. Further flesh out the instructor guide to provide more consistent descriptions and information on
      child sexual abuse within the child welfare system.


Electronic Documents Section C. DFPS Modules 1-4 Storyboards

DFPS agrees with Praesidium’s recommendation to utilize several case examples of child on child sexual
interactions in every module to allow the learner to continuously think through multiple scenarios and
dynamics for determining whether the behavior is normal development, problematic, or sexually
aggressive. However, DFPS would like to consider incorporating case examples within additional training
resources to reinforce learning, rather than to add more scenarios to this training.




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  Fwd: Follow up from yesterday's call
  1 message




    ---------- Forwarded message ---------
    From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
    Date: Fri, Oct 25, 2019 at 6:21 PM
    Subject: RE: Follow up from yesterday's call
    To: Kevin Ryan <kevinmichaelryan1967@gmail.com>
    Cc: dfowler@texasappleseed.net <dfowler@texasappleseed.net>, Carmical,Audrey (DFPS)
    <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>, Fescenmeyer,Megan C
    (DFPS) <Megan.Fescenmeyer@dfps.state.tx.us>, Stephens, Andrew <andrew.stephens@oag.texas.gov>,
    Townsend,Frances R (HHSC) <Frances.Townsend@hhsc.state.tx.us>, Linda Brooke <lbrooke@texasappleseed.net>,
    Megan Annitto <mannitto@public-catalyst.com>



    Hi Kevin,



    Attached is a summary of the IMPACT enhancements and identified IMPACT 2.0 defects that our IT division is working
    on. The IMPACT enhancements are now scheduled to deploy by 12.19.19 and the defects are on target for full resolution
    by 12.31.19.



    To your request yesterday evening, as of 5pm today, 177 GROs have certified plans (90% of 196 GROs) and 19 GROs
    do not. Of the 25 cottage homes, all of their certifications are pending while we await further guidance from the Court.



    *Please note 3 of the 25 cottage homes did not have a PMC child placed at the time we provided you the list of cottage
    homes. However, because they could potentially have a PMC child placed in their facility at a future date, we have
    requested 24 hour awake night supervision policies from those cottage home providers.



    Please let us know if you need anything additional,



    Tara




           IMPACT Enhancements and Defects Status 10.25.19.pdf
           939K




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https://mail.google.com/mail/u/0?ik=9a092f35a7&view=pt&search=all&permthid=thread-f%3A1667932439021231953%7Cmsg-a%3Ar-788412000657…   1/1
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FN 458 Attachment




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Megan Annitto

From:                            Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent:                            Monday, April 6, 2020 6:11 PM
To:                              Megan Annitto
Cc:                              Harris,Rand S (DFPS); Catherine Smith
Subject:                         RE: Question about RO 4 Caseworker Files - ATTY CLIENT

Follow Up Flag:                  Follow up
Flag Status:                     Flagged



Hi Megan,

Please see DFPS responses below in red.

Thank you,

Tara



From: "Megan Annitto" <mannitto@public-catalyst.com>
Date: Tuesday, March 24, 2020 at 13:33:51
To: "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>
Cc: "Harris,Rand S (DFPS)" <Rand.Harris@dfps.state.tx.us>, "Catherine Smith" <csmith@public-
catalyst.com>
Subject: Question about RO 4 Caseworker Files

WARNING: This email is from outside the DFPS system. Do not click on links or attachments unless you expect
                           them from the sender and know the content is safe.
Dear Tara,

We have three questions about the information provided about caseworker training information for RO 4 to ensure we
are understanding the files correctly:

   1. In the first data file provided on 11/15/2019 for Remedial Order 4 for Caseworker “CSA training RO4.1 CVS
      Caseworker CSA Training as of 11-7-19 – Nov-15-19 - 96492,” it states that “Date Course Taken represents the
      most recent time, through November 7, 2019, in which the employee completed one of the CSA courses. If the
      employee completed both courses, the later date will be given. A blank in this column indicates that the
      employee has no record of having completed either course.” Please confirm the information about the 2 courses
      that are referenced in the data file above. (name of courses/name(s) of the data file provided to the monitoring
      team relating to the courses). The two courses referred to in the report on caseworker training entitled “CSA
      training RO4.1 CVS Caseworker CSA Training as of 11-7-19 – Nov-15-19 – 96492” are: (1) Child Sexual Aggression
      – Course #0003632; and (2) Child Sexual Aggression FY19 – Course #0003805 (this is the currently active
      course). Course #0003805 did not change any of the substantive content from course #0003632 but, rather,
      added some technical detail about where the information is located in IMPACT with the new child sexual
      aggression page that rolled out in April 2019.




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   2. In the second data file provided on 2/17/2020 for Remedial Order 4 for Caseworker Sex Abuse training “RO.4
      CVS Caseworker completion of Sex Abuse Training Q1 FY20 – 2-17-20 - 96784,” the data dictionary states “The
      most recent date that the employee completed one of the sexual abuse training courses. If the employee
      completed more than one course, the later date is given.”

       So rather than a new list of only workers whose training was completed during the interim time period after
       Sept 30, is this all the CVS workers and the difference would be a) newly added workers; and b) new dates for
       workers who completed an additional portion of the training? Our understanding of the monitors’ data request
       is that they asked for all caseworkers, not just caseworkers who completed the training during the reporting
       period. The difference between the quarterly reports would be the inclusion of a) CVS workers active on the last
       day of the current quarter but not active on the last day of the prior quarter and their latest training dates; and
       b) updated training dates (if any) for workers active on the last day of the prior and current quarter; and the
       exclusion of CVS workers active on the last day of the prior quarter but not active on the last day of the current
       quarter

       (If different from #1, please confirm the information about the courses that are referred to in the data file above
       (name of courses/name(s) of data file provided to the monitoring team relating to the courses; but we assume
       the reference is to the same two courses). The course for the report entitled “RO.4 CVS Caseworker completion
       of Sex Abuse Training Q1 FY20 – 2-17-20 - 96784,” are the same as for the report entitled “CSA training RO4.1
       CVS Caseworker CSA Training as of 11-7-19 – Nov-15-19 – 96492”

   3. Please confirm whether in order for a caseworker to be considered by the Agency as having completed sex
      abuse training, that person is required to complete both courses that are referenced in the files. In order for a
      caseworker to be considered by the Agency as having completed sex abuse training, the caseworker must have
      completed either (1) Child Sexual Aggression – Course #0003632; or (2) Child Sexual Aggression FY19 – Course
      #0003805.


Thank you.
Megan

Megan Annitto
MD v Abbott Monitoring Team
Public Catalyst
Cell: 732-859-6450
public-catalyst.com




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Megan Annitto

From:                              Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent:                              Thursday, April 30, 2020 12:44 PM
To:                                Megan Annitto
Cc:                                Catherine Smith; Harris,Rand S (DFPS)
Subject:                           RE: Question about RO 4 Caseworker Files - ATTY CLIENT



Hi Megan,

Just following up on our discussion last Thursday. All CVS caseworkers are trained to recognize and report sexual abuse,
including child-on-child sexual abuse, through:
 (1) CPD Core Competencies Training (Week 1 Day 2 - Indicators of Sexual Abuse; Indicators of Sexual Abuse: Defining
     what it is; Myth vs. Fact Activity; and Reviewing a Sexual Abuse Care on IMPACT 2.0 and Activity Debrief), and
 (2) CSA course #0003632 or CSA FY19 course #0003805.

Both CPD Core Competencies Training and the CSA FY19 course have been updated to reflect related IMPACT 2.0
changes. CVS caseworkers hired before CPD rolled out received training on recognizing and reporting sexual abuse
through Basic Skills Development (BSD) classroom training. I uploaded the BSD sexual abuse content from 2010 – 2015
to the SharePoint.

Thank you,

Tara

From: Megan Annitto [mailto:mannitto@public-catalyst.com]
Sent: Tuesday, April 14, 2020 12:05 PM
To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Subject: Re: Question about RO 4 Caseworker Files - ATTY CLIENT

  WARNING: This email is from outside the DFPS system. Do not click on links or attachments unless you expect them
                                   from the sender and know the content is safe.
(For #2, referring to plan w/r/t caseworkers).



From: Megan Annitto <mannitto@public-catalyst.com>
Sent: Tuesday, April 14, 2020 12:33 PM
To: Olah,Tara (DFPS)
Cc: Harris,Rand S (DFPS); Catherine Smith
Subject: RE: Question about RO 4 Caseworker Files - ATTY CLIENT

Thank you, Tara.

So that we are clear, I understand this to mean that:
1) DFPS is confirming that completion of the four modules provided to the monitors in November constitute completion
of the“Course(s)” referred to in the Caseworker CSA spreadsheets noted below and in the description provided in
response: “The two courses referred to in the report on caseworker training entitled “CSA training RO4.1 CVS
Caseworker CSA Training as of 11-7-19 – Nov-15-19 – 96492” are: (1) Child Sexual Aggression – Course #0003632; and

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(2) Child Sexual Aggression FY19 – Course #0003805 (this is the currently active course). Course #0003805 did not
change any of the substantive content from course #0003632 but, rather, added some technical detail about where the
information is located in IMPACT with the new child sexual aggression page that rolled out in April 2019.”

2) Completion of those 4 modules via 1) Child Sexual Aggression – Course #0003632; or (2) Child Sexual Aggression FY19
– Course #0003805 is the DFPS compliance plan for RO 4.

Can you please confirm whether the understanding above correctly represents the Agency’s position with respect to RO
4?

Thank you,
Megan




From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent: Tuesday, April 14, 2020 10:56 AM
To: Megan Annitto <mannitto@public-catalyst.com>
Cc: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Catherine Smith <csmith@public-catalyst.com>
Subject: RE: Question about RO 4 Caseworker Files - ATTY CLIENT

Hi Megan,

The files uploaded to the SharePoint on 11.1.19 that are associated with caseworker training mentioned below include:
     Categories of Sexual Behavior – Module 1_Storyboard_tg
     Child Sexual Aggression Discovered in an Investigation of a Kinship Plac…
     Child with Sexually Aggressive Behavior Entering Conservatorship – Modul…
     CPS Actions When There is a Residential Child Care Investigation (RCCI).._

Please let us know if you need any additional information.

Thank you,

Tara




From: "Megan Annitto" <mannitto@public-catalyst.com>
Date: Monday, April 6, 2020 at 19:23:07
To: "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>
Cc: "Harris,Rand S (DFPS)" <Rand.Harris@dfps.state.tx.us>, "Catherine Smith" <csmith@public-catalyst.com>
Subject: RE: Question about RO 4 Caseworker Files - ATTY CLIENT

WARNING: This email is from outside the DFPS system. Do not click on links or attachments unless you expect
                           them from the sender and know the content is safe.
Thank you, Tara.

That is really helpful. In the first production in response to the D&I (uploaded on 11/1), we received about 8 files in
response to the request for sex abuse training materials (relevant to various aspects of ROs 4/32). Can you please
confirm which file/files are associated with the Caseworker training mentioned below?
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(The docs include 4 modules on Child Sexual Aggression and a word doc entitled CPS Professional Development Core
Competencies Training – Sex Abuse, along with a few others).
Thank you,
Megan




From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent: Monday, April 6, 2020 6:11 PM
To: Megan Annitto <mannitto@public-catalyst.com>
Cc: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Catherine Smith <csmith@public-catalyst.com>
Subject: RE: Question about RO 4 Caseworker Files - ATTY CLIENT

Hi Megan,

Please see DFPS responses below in red.

Thank you,

Tara



From: "Megan Annitto" <mannitto@public-catalyst.com>
Date: Tuesday, March 24, 2020 at 13:33:51
To: "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>
Cc: "Harris,Rand S (DFPS)" <Rand.Harris@dfps.state.tx.us>, "Catherine Smith" <csmith@public-
catalyst.com>
Subject: Question about RO 4 Caseworker Files

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Dear Tara,

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are understanding the files correctly:

   1. In the first data file provided on 11/15/2019 for Remedial Order 4 for Caseworker “CSA training RO4.1 CVS
      Caseworker CSA Training as of 11-7-19 – Nov-15-19 - 96492,” it states that “Date Course Taken represents the
      most recent time, through November 7, 2019, in which the employee completed one of the CSA courses. If the
      employee completed both courses, the later date will be given. A blank in this column indicates that the
      employee has no record of having completed either course.” Please confirm the information about the 2 courses
      that are referenced in the data file above. (name of courses/name(s) of the data file provided to the monitoring
      team relating to the courses). The two courses referred to in the report on caseworker training entitled “CSA
      training RO4.1 CVS Caseworker CSA Training as of 11-7-19 – Nov-15-19 – 96492” are: (1) Child Sexual Aggression
      – Course #0003632; and (2) Child Sexual Aggression FY19 – Course #0003805 (this is the currently active
      course). Course #0003805 did not change any of the substantive content from course #0003632 but, rather,



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       added some technical detail about where the information is located in IMPACT with the new child sexual
       aggression page that rolled out in April 2019.

   2. In the second data file provided on 2/17/2020 for Remedial Order 4 for Caseworker Sex Abuse training “RO.4
      CVS Caseworker completion of Sex Abuse Training Q1 FY20 – 2-17-20 - 96784,” the data dictionary states “The
      most recent date that the employee completed one of the sexual abuse training courses. If the employee
      completed more than one course, the later date is given.”

       So rather than a new list of only workers whose training was completed during the interim time period after
       Sept 30, is this all the CVS workers and the difference would be a) newly added workers; and b) new dates for
       workers who completed an additional portion of the training? Our understanding of the monitors’ data request
       is that they asked for all caseworkers, not just caseworkers who completed the training during the reporting
       period. The difference between the quarterly reports would be the inclusion of a) CVS workers active on the last
       day of the current quarter but not active on the last day of the prior quarter and their latest training dates; and
       b) updated training dates (if any) for workers active on the last day of the prior and current quarter; and the
       exclusion of CVS workers active on the last day of the prior quarter but not active on the last day of the current
       quarter

       (If different from #1, please confirm the information about the courses that are referred to in the data file above
       (name of courses/name(s) of data file provided to the monitoring team relating to the courses; but we assume
       the reference is to the same two courses). The course for the report entitled “RO.4 CVS Caseworker completion
       of Sex Abuse Training Q1 FY20 – 2-17-20 - 96784,” are the same as for the report entitled “CSA training RO4.1
       CVS Caseworker CSA Training as of 11-7-19 – Nov-15-19 – 96492”

   3. Please confirm whether in order for a caseworker to be considered by the Agency as having completed sex
      abuse training, that person is required to complete both courses that are referenced in the files. In order for a
      caseworker to be considered by the Agency as having completed sex abuse training, the caseworker must have
      completed either (1) Child Sexual Aggression – Course #0003632; or (2) Child Sexual Aggression FY19 – Course
      #0003805.


Thank you.
Megan

Megan Annitto
MD v Abbott Monitoring Team
Public Catalyst
Cell: 732-859-6450
public-catalyst.com




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    532 Attachment


Subject:    FW:
Date:       Thursday, June 25, 2020 at 3:12:25 PM Central Daylight Time
From:       Linda Brooke
AEachments: 96004 special list output - current assigned primary and plcmt-locked -monitors.xlsx


From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Date: Fri, Nov 8, 2019 at 4:59 PM
Subject:
To: Kevin Ryan <kevinmichaelryan1967@gmail.com>, dfowler@texasappleseed.net
<dfowler@texasappleseed.net>
Cc: Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiﬀany (DFPS)
<Tiﬀany.Roper@dfps.state.tx.us>, Fescenmeyer,Megan C (DFPS) <Megan.Fescenmeyer@dfps.state.tx.us>,
Stephens, Andrew <andrew.stephens@oag.texas.gov>, Hilton, Christopher
<Christopher.Hilton@oag.texas.gov>


Kevin/Deborah,


In accordance with the Court’s Amended Order ﬁled on November 6, 2019, acached is a complete list of
idendﬁed sexually aggressive PMC children and idendﬁed PMC sexually abused children with a corresponding
list of each assigned caregiver. Further, DFPS veriﬁes to the Monitors that each caregiver has been nodﬁed of
this status. As we advised the Monitors earlier this aeernoon, in some situadons, there was either not an
assigned caregiver or it would be potendally detrimental to nodfy the caregiver. However, we can
supplement at the direcdon of the Monitors.


Please let us know if you have any quesdons,

Tara




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---------- Forwarded message ---------
From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Date: Tue, Apr 21, 2020 at 8:43 PM
Subject: Re: Following up on my Q re: caregiver no5ﬁca5on
To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
Cc: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>, Burstain,Jane (DFPS)
<Jane.Burstain@dfps.state.tx.us>, Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>,
narrigona@texasappleseed.net <narrigona@texasappleseed.net>, Linda Brooke
<lbrooke@texasappleseed.net>, Viveca Mar5nez <vmar5nez@texasappleseed.net>


Hi Deborah,

I apologize for the delay. We remain on schedule to begin repor5ng on the date A_achment A was provided
to the child’s caregiver(s) in Quarter 3. One clariﬁca5on – the reportable IMPACT data ﬁeld only captures the
date A_achment A was provided to the child’s new caregiver(s) at placement change, as this data ﬁeld is 5ed
to placement and is only populated during a placement change (it is located on a Placement page
caseworkers only access/document in at placement change). At present, we do not have the ability to report
on the date A_achment A was provided to the caregiver during an open placement. For children already
in/remaining in their placement at the 5me a new incident occurs or is reported, caregiver no5ﬁca5on is
provided based on CPS’ no5ﬁca5on policy, and a new A_achment A is provided to the caregiver and
uploaded into OneCase. However, there is not a speciﬁc contact that iden5ﬁes that A_achment A was
provided. Notwithstanding, if the child is staying in the same placement, the caregiver would be aware of the
incident, would be part of the inves5ga5on, and most likely would be the one who reported it. If the
caregiver was the perpetrator, the child would be moved and the informa5on would be included in the
A_achment A provided to the child’s next caregiver and documented on the Placement page.

Please let us know if you have any further ques5ons.

Thank you,

Tara




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                                                        - Fwd:               in Certiﬁcation
                                                                Hour Supervision TXSD Page 141 of 282




 Fwd: 24 Hour Supervision Certification




    ---------- Forwarded message ---------
    From: Deborah Fowler <dfowler@texasappleseed.net>
    Date: Wed, Feb 26, 2020 at 8:05 PM
    Subject: Fwd: 24 Hour Supervision Certification
    To: Linda Brooke <lbrooke@texasappleseed.net>, Viveca Martinez <vmartinez@texasappleseed.net>, Nancy Arrigona
    <narrigona@texasappleseed.net>, :) <crogers@texasappleseed.net>




    Deborah Fowler
    Executive Director
    Texas Appleseed
    1609 Shoal Creek Blvd., Ste. 201
    Austin, TX 78701
    512.473.2800, ext. 105
    512.757.1458 (cell)
    www.texasappleseed.org




    ---------- Forwarded message ---------
    From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
    Date: Wed, Feb 26, 2020 at 11:35 AM
    Subject: 24 Hour Supervision Certification
    To: Kevin Ryan <kevinmichaelryan1967@gmail.com>, dfowler@texasappleseed.net <dfowler@texasappleseed.net>
    Cc: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>, Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.
    tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>, Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>,
    Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>, Gdula, Kimberly <Kimberly.Gdula@oag.texas.gov>



    Kevin/Deborah,



    In compliance with the Court’s order dated February 21, 2020 in which the Court directed DFPS to “submit to the Court,
    from July 31, 2019 through today, the full names of each and every DFPS employee who visited each relevant facility; the
    dates of these employee visits; the specific place of visits of these employees; the specific hour of the day when the
    employees visited; the length of each employee visit; and the full names of each and every facility staff member identified
    as an awake night supervisor,” we have uploaded to the SharePoint here (for November 2019) and here (for December
    2019 – February 2020) certification forms for each operation visited, according to the month in which the visit occurred. As
    a reminder, in accordance with the Court’s Order that became effective on July 30, 2019, DFPS has undertaken a number
    of activities to ensure 24-hour awake-night supervision in all licensed foster care (LFC) placements for which awake-night
    supervision of children and youth in PMC is required. These activities are enumerated in the trial record (see Dkt. 728,
    Defendant’s Exhibit List, and all associated exhibits; Dkt. 739.1, Amended Declaration of Trevor Woodruff Regarding
    Compliance Activities for 24-Hour Awake Night Supervision).
                                                                           141
https://mail.google.com/mail/u/1?ik=9a092f35a7&view=pt&search=all&permmsgid=msg-f%3A1666085187878638998&simpl=msg-f%3A1666085187878638998   1/2
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    Since November 2019, DFPS has conducted monthly unannounced overnight visits to LFC placements for which awake-
    night supervision of children and youth in PMC is required. During December 2019 and January 2020, DFPS staff visited
    all LFC placements required to have awake-night supervision. For a majority of LFC placements visited in December
    2019 and January 2020, DFPS staff immediately verified that the facilities had awake night supervision. As a result,
    during February 2020, DFPS staff conducted targeted overnight visits of facilities that appeared to require technical
    assistance or other support to comply with the Court’s Order. Recently, DFPS hired additional staff dedicated to
    conducting ongoing monitoring of LFC placements to ensure 24-hour awake-night supervision; these staff will begin
    conducting overnight visits in March 2020.



    For each operation visited, staff conducting the visit completed a certification form, which was developed under the
    Court’s direction (see Dkt. 725.0, Order dated November 7, 2019) and in close collaboration with the Monitors. The
    certification form includes the following 14 data elements:

           Visit date and time
           DFPS staff conducting visit (including title and cell phone number)
           Placement name
           Placement address
           Placement ID
           Total child population on date of visit, including any caregivers’ biological and adoptive children if they reside at the
           operation, and any private placement children
           Number of PMC children in placement on date of visit
           Names of PMC children in placement on date of visit
           Detailed description of how awake-night supervision is being provided, including number of staff providing awake-
           night supervision and how many children each night staff person is responsible for supervising
           Name of placement staff person(s) providing awake-night supervision
           Name, title and contact information of placement staff and caregivers interviewed
           Verification that all PMC children in placement are provided 24-hour awake-night supervision
           Certifying DFPS agency staff signature
           Placement caregiver staff signature (acknowledging he/she was the awake night staff on the date the monitoring
           visit occurred)



    When developing the certification form, DFPS incorporated all data elements directed by the Court and recommended by
    the Monitors. At this time, the form does not capture length of each employee visit. We will modify the form to include this
    data element. The modified form will be used during overnight visits occurring in March 2020 and henceforward.



    Thank you,



    Tara




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 FN 573


Subject:    FW: Awake Night Policies
Date:       Tuesday, June 23, 2020 at 5:11:31 PM Central Daylight Time
From:       Linda Brooke
AFachments: Concho Valley CCS Floor Plan and Policy.pdf, Caring Heart ResidenNal.pdf, Caring Heart
            ResidenNal Floorplan.pdf, Supervision Policies and CerNﬁcaNon Forms Requested v.4.0.pdf

---------- Forwarded message ---------
From: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Date: Tue, May 12, 2020 at 3:13 PM
Subject: RE: Awake Night Policies
To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
Cc: Kevin Ryan <kevinmichaelryan1967@gmail.com>, Linda Brooke <lbrooke@texasappleseed.net>,
Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>, Carmical,Audrey (DFPS)
<Audrey.Carmical@dfps.state.tx.us>


Hi Deborah,

Abached are the Caring Heart and Concho Valley supervision policies and ﬂoorplans, which have also been
uploaded to the SharePoint. Also, concerning the two outstanding cerNﬁcaNon forms you requested – for
Rolling Hills Hospital and Texas Boys Ranch Children’s Shelter, there are no cerNﬁcaNon forms for these
operaNons from November 2019 – February 2020 because no PMC children were placed in those operaNons
during this Nme period. Abached is a revised status update with addiNonal informaNon concerning these
operaNons (and all other cerNﬁcaNon forms and supervision policies you and Linda requested).

As a reminder, while DFPS iniNally veriﬁed awake-night supervision primarily through supervision policy
reviews/veriﬁcaNons, that is no longer our focus. Since November 2019, DFPS has veriﬁed awake-night
supervision by conducNng monthly unannounced overnight visits to contracted LFC placements for which
awake-night supervision of children and youth in PMC is required. Between November 2019 and January
2020, DFPS staﬀ visited all contracted LFC placements required to have awake-night supervision. For a
majority of contracted LFC placements visited in December 2019 and January 2020, DFPS staﬀ immediately
veriﬁed that the faciliNes had awake night supervision. As a result, during February 2020, DFPS staﬀ
conducted targeted overnight visits of faciliNes that appeared to require technical assistance or other support
to comply with the Court’s Order. Since then, DFPS hired addiNonal staﬀ dedicated to conducNng ongoing
monitoring of contracted LFC placements to ensure 24-hour awake-night supervision and in March 2020,
these staﬀ began conducNng overnight visits of contracted LFC placements in which a TMC or PMC child
resides.

Finally, although not requested, we have uploaded to the SharePoint cerNﬁcaNon forms from 2.22.20 –
2.29.20, and for March 2020. We are working to upload the April 2020 cerNﬁcaNon forms by 5.22.20.

Thank you,

Tara




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Concho Valley Home for Girls-Residential Setting for girls ages 12-18.

The Girls Home accepts the following levels of care: Basic, Moderate and Specialized.

Concho Valley Home for Girls capacity is no more than 6 girls, our home is licensed for 12 girls.
We offer 24 hour awake supervision, staff conducts 3 random room checks throughout the
night.

The Girl’s Home is a one story home with 6 bedrooms, our houseparent’s room is located in the
center of the house. Each bedroom houses 1 female. Our home stays at a capacity of 6 due to
ratio.

Contractor, will notify DFPS if it ever falls out of compliance with the 24 hour Continuous
Supervision requirement within 24 hours of occurrence. DFPSRESIDENT@dfps.state.tx.us




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Child/Caregiver Ratio
DAY

    (a) The number of children that a single caregiver may care for during waking hours depends on the
        ages and treatment service needs of the children in the group. A single caregiver may care for no
        more than five children. Children younger than five years old count as two children.
    (b) Children may be separated into groups based on age and/or treatment services in order to vary
        the child/caregiver ratio required for each group, as long as:
                    1. The groups remain easily distinguishable and separated, such as by unit;
                    2. (2) The child/caregiver ratio is re-calculated any time groups intermingle, such
                        as on a field trip or in the dining room.
    (c) A child does not count in the child/caregiver ratio while participating in an approved
        unsupervised childhood activity



NIGHT TIME

The caregiver during night time sleeping hours is expected to remain fully awake throughout the shift at
all times regardless of how many children that is present in the facility. Children younger than five years
old count as two children.

With CHRC being a 2 story facility, the night time awake staff are expected to sit in the hallway just after
the office during intervals between mandatory routine rounds. This location allows visibility of the two
exits, first floor rooms and the stairs. There are motion sensors, window sensors as well as alarms to
alert staff of any unusual movements. Night time staff are expected to do ​MANDATORY ​every 15
minutes check and must visualize every child is in bed. The rounds form should be initialed after each
check to account for each child

(a) The caregiver may care for not more than 15 children at a time
(b) Additional caregiver will be added to the child/caregiver ratio as needed
(c) Children may be separated into groups based on age and/or treatment services in order to vary the
    child/caregiver ratio required for each group, as long as:
            1) The groups remain easily distinguishable and separated, such as by cottage or unit; and
            2) The child/caregiver ratio is re-calculated any time groups intermingle, such as on a field
                trip.

A member of the CHRC management team (Executive Director, Program Director, Treatment
Director, Case Manager) will be responsible for notifying DFPS within one business day if it
fails to comply with the continuous 24-hour awake supervision requirement.




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Supervision Policies Requested:                          Status
   Austin Children’s Shelter, Austin, TX                     Complete. Austin Children’s Shelter is now doing business as SAFE Alliance. Uploaded to
                                                             SharePoint 4.30.20
    Autistic Treatment Center, Inc, Dallas/Garland, Tx       Complete. Uploaded to SharePoint 4.29.20
    BCV ES/Assessment Center, Beaumont Tx                    Complete. BCV ES is Buckner Children and Family Services. Uploaded to SharePoint 9.7.19
    Camp Worth LLC, Fort Worth Tx                            Complete. Uploaded to SharePoint 4.29.20
    Canyon State, Queen Creek AZ                             Complete. No supervision policy exists, as DFPS does not contract with this facility. This is a
                                                             JPD only facility. Some children in DFPS conservatorship may be placed there but the
                                                             contract would be between TJJD and the facility. CPS does not place children at this facility.
    Concho Valley Home for Girls GRO                         Pending. Working with operation to submit updated supervision plan.
    Caring Heart Residential Care                            Complete. Uploaded to SharePoint 5.7.20.
    Farrington-Dewey, Arizona                                Complete. The legal name of this operation is Mingus Mountain Residential. Uploaded to
                                                             SharePoint 4.30.20
    Freedom Place RTC, Porter, TX                            Complete. Uploaded to SharePoint 4.29.20
    Galveston Multicultural Institute, Galveston Tx          Complete. No supervision policy exists, as this operation is closed/inactive. The last child in
                                                             DFPS conservatorship was moved from this operation in October 2018.
    Grace Place RTC, Lucas Tx                                Complete. No supervision policy exists, as this operation is closed/inactive. The last child in
                                                             DFPS conservatorship was moved from this operation in August 2019.
    Gulf Coast Treatment Center, Fort Walton Beach,          Complete. Uploaded to SharePoint 4.29.20
    FL
    Heartbridges, Cypress Tx                                 Complete. Uploaded to SharePoint 4.29.20
    Laurel Ridge Treatment Center, San Antonio, Tx           Complete. No supervision policy exists as DFPS does not contract with or place children at
                                                             this facility.
    Moving Forward, Grand Prairie Tx                         Complete. Uploaded to SharePoint 4.29.20
    Open Arms Open Hearts Foundation                         Complete. Uploaded to SharePoint 4.29.20
    Piney Ridge Treatment Center, Fayetteville, AR           Complete. Uploaded to SharePoint on 9.13.19 and again on 4.29.20
    Promise Rose Residential Care Home Inc, Houston          Complete. Uploaded to SharePoint 4.29.20
    Tx
    Red Rock RTC, Saint George, UT (Care Youth               Complete. No supervision policy exists, as this operation is closed/inactive. Since November
    Group)                                                   2019, no PMC children have been placed at this operation.
    Sequel TSI of Idaho, Mountain, ID                        Complete. Uploaded to SharePoint 4.29.20
    Sophie’s House for Children, Lufkin Tx                   Complete. Uploaded to SharePoint 4.29.20
    Sound Decisions, Humble Tx                               Complete. Uploaded to SharePoint 4.29.20




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Supervision Policies Requested:                         Status
   St Peter-St Joseph Children’s Home and                   Complete. Uploaded to SharePoint 4.29.20
   Emergency Shelter, San Antonio Tx
   The Gladney Center, Fort Worth Tx                        Complete. Uploaded to SharePoint 4.29.20
   Vitruvian Treatment Center, Porter Tx                    Complete. No supervision policy exists, as this operation surrendered its license. No
                                                            children in DFPS conservatorship have been placed at this operation since September 2019.
   Woodward-Delta RTC, Woodward IA                          Complete. No supervision policy exists, as DFPS does not contract with this facility. This is a
                                                            JPD only facility. Some children in DFPS conservatorship may be placed there but the
                                                            contract would be between TJJD and the facility. CPS does not place children at this facility.
   YFT -VA, Bristow VA                                      Complete. No supervision policy exists, as this child specific contract was developed in 2017
                                                            and no child was ever placed at this operation.


   24-Hour Awake Night Supervision Certification        Status
   Forms Requested:
   1 Ce'Renity Place Inc - EM - Red Oak                 Complete. No certification forms from November 2019 – February 2020. Three TMC children
                                                        residing there moved to PMC in December 2019. However, they moved the same month. After
                                                        that, the first PMC child was placed there on January 17, 2020. Contracts staff conducted
                                                        overnight visits to this operation in March and April 2020.
   Arrow Child & Family Ministries EM – Amarillo        Complete. No certification forms from November 2019 – February 2020, as this operation is
                                                        closed/inactive. No child in DFPS PMC has been placed at this operation since July 15, 2019.
   Bayes Achievement Center - RTC – Huntsville          Complete. Uploaded to SharePoint 4.29.20. Operation now closed/inactive. The last PMC child
                                                        left the operation on November 1, 2019.
   BCV ES/ Assessment Center EM – Beaumont              Complete. No certification forms from November 2019 – February 2020. Since November 2019,
                                                        only TMC children have been placed at this operation.
   Camp Worth, LLC, Fort Worth                          Complete. Uploaded to SharePoint 4.29.20.
   Children's Village and Family Service Agency, Inc.   Complete. No certification forms from November 2019 – February 2020. Since November 2019,
   BC – Tyler                                           only TMC children have been placed at this operation
   Farrington - Dewey, Arizona                          Complete. The legal name of this operation is Mingus Mountain Residential. No certification
                                                        forms from November 2019 – February 2020. Since November 2019, no PMC children have
                                                        been placed at this operation. Staff conducted virtual overnight visits to this operation in March
                                                        and April 2020 and plan to conduct an in-person visit this weekend.




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24-Hour Awake Night Supervision              Status
Certification Forms Requested:
Galveston Multicultural Institute            Complete. No certification forms from November 2019 – February 2020, as this operation is
                                             closed/inactive. The last child in DFPS conservatorship was moved from this operation in October
                                             2018.
Grace Place - RTC - Lucas Tx                 Complete. No certification forms from November 2019 – February 2020, as this operation is
                                             closed/inactive. The last child in DFPS conservatorship was moved from this operation in August
                                             2019.
Greater San Marcos Youth Council – EM        Complete. No certification forms from November 2019 – February 2020. Since November 2019, only
                                             TMC children have been placed at this operation.
Gulf Coast Treatment Center, Fort Walton     Complete. No certification forms from November 2019 – February 2020. Since November 2019, no
Beach, FL                                    PMC children have been placed at this operation. Staff conducted a virtual overnight visit to this
                                             operation in April 2020.
Heartbridges, Cypress                        Complete. Uploaded to SharePoint 4.29.20.
Lakeside Academy, Kalamazoo, MI              Complete. No certification forms from November 2019 – February 2020. Since November 2019, no
                                             PMC children have been placed at this operation.
Laurel Ridge Treatment Center                Complete. No certification forms from November 2019 – February 2020. Since November 2019, no
                                             PMC children have been placed at this operation.
Moving Forward, Grand Prairie,               Complete. Uploaded to SharePoint 4.29.20.
My Friend's House (city House)- EM – Plano   Complete. Uploaded to SharePoint 4.29.20
North Texas Youth Connection (Grayson        Complete. No certification forms from November 2019 – February 2020. Since November 2019, no
County) – Sherman                            PMC children have been placed at this operation.
Option House Es - EM – Killeen               Complete. No certification forms from November 2019 – February 2020, as this operation only began
                                             serving PMC children in February 2020. Staff conducted overnight visits to this operation in March
                                             and April 2020.
Perimeter Bahavioral Forrest Cit             Complete. Uploaded to SharePoint 4.29.20.
(Woodridge) – AR
Red Rock RTC, Saint Geoge, UT (Care Youth    Complete. No certification forms from November 2019 – February 2020, as this operation is
Group)                                       closed/inactive. Since November 2019, no PMC children have been placed at this operation.
Resource Treatment Center - Indianapolis,    Complete. Uploaded to SharePoint 4.29.20.
Indiana
Rising Star Scholars Academy, Houston        Complete. Uploaded to SharePoint 4.29.20
Rolling Hills Hospital                       Complete. No certification forms from November 2019 – February 2020, as child’s legal status was
                                             TMC until 3.5.20. Staff conducted overnight visits to this operation in March and April 2020.



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24-Hour Awake Night Supervision            Status
Certification Forms Requested:
Sophies House for Children,                Complete. Uploaded to SharePoint 4.29.20.
Lufkin/Nacodoches
Sound Decisions, Humble                    Complete. Uploaded to SharePoint 4.29.20.
Starr Ablion Prep                          Complete. No certification forms from November 2019 – February 2020, as this operation is
                                           closed/inactive. Since November 2019, no PMC children have been placed at this operation.
Texas Boys Ranch Children's Shelter –      Complete. No certification forms from November 2019 – February 2020 because no PMC children
Lubbock                                    have been placed at this operation.
The Children’s Emergency Shelter & Teen    Complete. No certification forms from November 2019 – February 2020 because no PMC children
Shelter (West Tx Society)- Wichita Falls   were placed at this facility between mid-November 2019 and March 2020. Staff conducted overnight
                                           visits to this operation in March and April 2020.
Treatment Solutions Kaizen -Fairview UT    Complete. No certification forms from November 2019 – February 2020, as one PMC child was placed
                                           at this operation from February 2019 until November 8, 2019. Since that time, no PMC children have
                                           been placed at this operation.
Vitruvian Treatment Center – Porter        Complete. No certification forms from November 2019 – February 2020, as operation surrendered
                                           license and no children in DFPS conservatorship have been placed at this operation since September
                                           2019.
YFT- VA , Bristow, VA                      Complete. No certification forms from November 2019 – February 2020. Since November 2019, no
                                           PMC children have been placed at this operation.




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                                      Texas Appleseed         on Responses
                                                      Mail - Fwd: 07/07/20to in TXSD
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                                                                                     Requests




 Fwd: Responses to State's Requests
 1 message




         ---------- Forwarded message ---------
         From: Kevin Ryan <kevinmichaelryan1967@gmail.com>
         Date: Mon, Oct 7, 2019 at 10:22 AM
         Subject: Responses to State's Requests
         To: Andrew Stephens <Andrew.stephens@oag.texas.gov>, Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.
         tx.us>, Townsend,Frances R (HHSC) <Frances.Townsend@hhsc.state.tx.us>, Roper,Tiffany (DFPS)
         <tiffany.roper@dfps.state.tx.us>
         Cc: Deborah Fowler <dfowler@texasappleseed.net>, Linda Brooke <lbrooke@texasappleseed.net>, Megan Annitto
         <mannitto@public-catalyst.com>



         Dear Andrew, Audrey, Tiffany and Frances,



         We met this morning with the Court and received guidance with respect to your outstanding questions.



         First, with respect to L.D., the Court does not require 24-hour, awake-night supervision in L.D.’s cottage home as long
         as that home serves 6 or fewer children and there is a primary caregiver in the home, 24 hours a day, 7 days a week.



         Second, with respect to DFPS’s Proposal for 24-Hour Awake Supervision at the cottage homes, the Court has
         instructed the Monitors to make unannounced visits to a selection of Cottage Homes to inform the Court. Please
         provide us by Wednesday, October 9, 2019 with the following: a list of all Cottage Homes in the State; the address for
         each Cottage Home; contact information for each Cottage Home; and the names and IDs of all PMC children placed in
         each Cottage Home.



         Please alert all Cottage Home providers that Deborah Fowler, Kevin Ryan and their staff may be conducting
         unannounced visits to their campuses and should be permitted access to the Cottage Homes and access to meet
         privately with children in the PMC class and caregivers. Please forward to us a copy of your notice to providers this
         week. We will carry with us government-issued identification and a copy of your notice when we visit the Cottage
         Homes.



         Third, with respect to HHSC’s Request for Clarification for Remedial Order 20, the Court directs the State to
         propose a specific and detailed definition of “pattern” using a retrospective analysis of nothing fewer than 5 years.
         With respect to heightened monitoring, the Court directs the State to propose a detailed definition of heightened
         monitoring that moves beyond the existing oversight and enforcement framework.



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Fourth, with respect to HHSC’s Request for Clarification for Remedial Order 21, the Court determines that the
State’s proposal too narrowly construes Remedial Order 21 and is not consistent with the language of the injunction.



Fifth, with respect to HHSC’s Request for Clarification for Remedial Order 22, the Court directs with respect to the
look-back period for considering all referrals of, and in addition, all confirmed findings of, child abuse/neglect and all
confirmed findings of corporal punishment, RCCL inspectors should assess the previous 5 years. With respect to the
request for clarification about how to document that the inspectors have considered these referrals and findings, a
check box is insufficient. The Court directs the agency to have inspectors document in CLASS (1) the number of
referrals of child abuse/neglect; (2) the number of confirmed findings of child abuse/neglect; (3) the number of
confirmed findings of corporal punishment; and (4) a narrative description of how this data and information was
considered.



Deborah and Kevin




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                                                 Friday, June 26, 2020 at 10:17:36 AM Central Daylight Time

Subject:    FW: Addi(onal data for heightened monitoring analysis
Date:       Friday, June 26, 2020 at 10:13:50 AM Central Daylight Time
From:       Linda Brooke
AEachments: image001.png

      FN 610

      On Tue, May 5, 2020 at 5:17 PM Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us> wrote:
         Good evening, Deborah.

         In an effort to expedite the report you requested, the majority of the FCL
         reports due 05/15/2020 have been uploaded to SharePoint. The
         highlighted reports below contain the additional two years of date
         requested. Here is a summary of what was uploaded today:

          Report Name               Date Range Changes from last report
                                    01/01/2020-
          RO.22.1 Rep.ANE.To.DFPS                 None
                                    03/31/2020
          RO.22.1 7.31.2020-
          3.31.2020                 07/31/2019-
                                                  None - NEW
          Rep.ANE.To.DFPS.B         03/31/2020
          5.5.2020
          RO.20.2 9.30.2014-                    Added the date the
                                    09/30/2014-
          3.31.2020 Lic.Enf.Recom               recommendation was generated
                                    03/31/2020
          5.5.2020                              Added Facility ID
                                                Added investigation ID(s)
                                                linked to the inspection
                                                Added agency home facility ID
          RO.20.2 9.30.2014-                    for CPA investigation
                                    09/30/2014-
          3.31.2020 Lic.Inspections             inspections tied to AH
                                    03/31/2020
          5.5.2020                              Removed "basis for" columns
                                                Added facility ID
                                                Added date the inspection
                                                notification was sent
          RO.20.2 9.30.2014-
                                    09/30/2014-
          3.31.2020                              None - NEW
                                    03/31/2020
          Lic.Assessments 5.5.2020
          RO.20.8 9.30.2014-
                                    09/30/2014-
          3.31.2020 List.EBI                    Added Facility ID.
                                    03/31/2020
          5.5.2020




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                                             Inspection tab:
                                             Removed investigation
                                             defiencies to eliminate
                                             duplication with the
                                             investigation tab.
                                             Added follow-up information
                                             Added ID_INSPCTN_STNDRD,
                                             facility ID, standard
                                             description, finding status, and
                                             admin review status
                                             Removed "basis for" columns.

                                           Non ANE Investigation tab:
                                           Added standards linked to the
                                           allegations and the allegation
                                           narrative
    RO.22.3 9.30.2014-                     Added follow-up information
                               09/30/2014-
    3.31.2020 Rep.Punish                   Removed "basis for" columns
                               03/31/2020
    5.5.2020                               Added the
                                           ID_INSPCTN_STNDRD, facility
                                           ID, standard description, and
                                           admin review status

                                             Assessments tab:
                                             Added follow-up information
                                             Added the
                                             ID_INSPCTN_STNDRD, facility
                                             ID, and standard description,
                                             and admin review status
                                             Removed "basis for" columns

                                             ANE Investigation tab:
                                             Added a report of standards
                                             tied to ANE investigation
                                             allegations
    RO.22.4
                               As of
    ECH.ANE.Intakes.B As of                  None - NEW
                               05/01/2020
    05/01/2020
    RO.22.4
                               As of
    ECH.Corp.Punishment.A                     None - NEW
                               05/01/2020
    As of 05/01/2020
                                             Added supervisor staff
    RO.B1.1 Caseloads As of    As of
                                             Updated Hire Date to reflect the
    05/01/2020                 05/01/2020
                                             date an inspector was hired




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                                             Added sensitive case indicator
                                             Added facility ID
                                             Added agency home facility ID
    RO.15-19.2 9.30.2014-                    if investigation is linked to an
                                 09/30/2014-
    3.31.2020 RCCL.Inspec                    agency home
                                 03/31/2020
    5.5.2020                                 Added investigation closure
                                             date
                                             Change date used for report to
                                             investigation complete date


   RCCL has updated the HHSC SharePoint Document Log to include the
   newly added reports.

   We will provide an update when the remaining reports have been
   uploaded.

   Thank you.


   Corey D. Kintzer | Associate Director
   Litigation Department │ Legal Services Division
   4900 North Lamar, Mail Code: 1100
   Austin, TX 78751
   Office: 512-438-3274 │ Cell: 512-627-1183
   www.hhs.texas.gov │ www.dshs.texas.gov




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   message in error, please notify me immediately and then delete the message.




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Megan Annitto

From:                              Kevin Ryan <kevinmichaelryan1967@gmail.com>
Sent:                              Friday, February 21, 2020 5:41 PM
To:                                Andrew Stephens; Kintzer,Corey D (HHSC); Carmical,Audrey (DFPS); Olah,Tara (DFPS);
                                   Deborah Fowler; Yetter, Paul; Marcia Lowry; Sara Bartosz; Stephen Dixon; Lonny
                                   Hoffman; Megan Annitto
Subject:                           Remedial Orders 12, 13 and 14

Follow Up Flag:                    Follow up
Flag Status:                       Flagged



Dear Counsel,

Deborah Fowler and I have conferred with Judge Jack and want to ensure a shared understanding between the parties
that, in light of DFPS's and HHSC's reorganization, the references in Remedial Orders 12, 13 and 14 to "successor staff"
apply to CCL, not CCI. If the provisions were to refer to CCI, which they do not, they would simply replicate three earlier
Remedial Orders that already require the same measure of timeliness by CCI.

Kevin Ryan




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Megan Annitto

From:                           Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
Sent:                           Thursday, February 27, 2020 8:08 PM
To:                             Kevin Ryan
Cc:                             Lam,Taryn (HHSC); Stephens, Andrew; Carmical,Audrey (DFPS); Olah,Tara (DFPS);
                                dfowler@texasappleseed.net; Yetter, Paul; Marcia Lowry; Sara Bartosz; Stephen Dixon;
                                Lonny Hoffman; Megan Annitto; Bingham,Joseph (HHSC)
Subject:                        RE: Remedial Orders 12, 13 and 14

Follow Up Flag:                 Follow up
Flag Status:                    Flagged



Good evening, Kevin.

HHSC and DFPS are two distinct agencies with delineated responsibilities. We have
always interpreted ROs 12, 13, and 14 as pertaining to DFPS because RCCL conducts
minimum standards investigations, not abuse/neglect investigations. The term
“successor staff” would only pertain to DFPS unless HHSC later inherited those
responsibilities.

Thank you.

Corey D. Kintzer | Associate Director
Litigation Department │ Legal Services Division
4900 North Lamar, Mail Code: 1100
Austin, TX 78751
Office: 512-438-3274 │ Cell: 512-627-1183
www.hhs.texas.gov │ www.dshs.texas.gov




This message may contain confidential information. If you received this message in error, please
notify me immediately and then delete the message.

From: Kevin Ryan <kevinmichaelryan1967@gmail.com>
Sent: Friday, February 21, 2020 4:41 PM
To: Stephens, Andrew <andrew.stephens@oag.texas.gov>; Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>;
Carmical,Audrey (DFPS) <AUDREY.CARMICAL@dfps.state.tx.us>; Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>;
dfowler@texasappleseed.net; Yetter, Paul <pyetter@yettercoleman.com>; Marcia Lowry
<mlowry@abetterchildhood.org>; Sara Bartosz <sbartosz@childrensrights.org>; Stephen Dixon
<sdixon@childrensrights.org>; Lonny Hoffman <LHoffman@central.uh.edu>; mannitto@public-catalyst.com
Subject: Remedial Orders 12, 13 and 14

WARNING: This email is from outside the HHS system. Do not click on links or attachments unless you expect
                           them from the sender and know the content is safe.
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Dear Counsel,

Deborah Fowler and I have conferred with Judge Jack and want to ensure a shared understanding between the parties
that, in light of DFPS's and HHSC's reorganization, the references in Remedial Orders 12, 13 and 14 to "successor staff"
apply to CCL, not CCI. If the provisions were to refer to CCI, which they do not, they would simply replicate three earlier
Remedial Orders that already require the same measure of timeliness by CCI.

Kevin Ryan




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         Fwd: Heightened Monitoring Feedback
         Deborah Fowler <dfowler@texasappleseed.net>
         Tue 5/19/2020 5:36 PM
         To: Viveca Martinez <vmartinez@texasappleseed.net>


           1 attachments (451 KB)
         Agencies Feedback on Heightened Monitoring 02192020 FINAL.PDF;


         More RO 20

         Deborah Fowler
         Executive Director
         Texas Appleseed
         1609 Shoal Creek Blvd., Ste. 201
         Austin, TX 78701
         512.473.2800, ext. 105
         512.757.1458 (cell)
         www.texasappleseed.org




         ---------- Forwarded message ---------
         From: Lam,Taryn (HHSC) <Taryn.Lam@hhsc.state.tx.us>
         Date: Wed, Feb 19, 2020 at 11:31 AM
         Subject: Heightened Monitoring Feedback
         To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>, kevinmichaelryan1967@gmail.com
         <kevinmichaelryan1967@gmail.com>
         Cc: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>, Carmical,Audrey (DFPS)
         <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>,
         Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>, Gdula, Kimberly
         <Kimberly.Gdula@oag.texas.gov>, Hilton, Christopher <Christopher.Hilton@oag.texas.gov>,
         Stephens, Andrew <andrew.stephens@oag.texas.gov>, Bingham,Joseph (HHSC)
         <Joseph.Bingham@hhsc.state.tx.us>




         Kevin/Deborah,



         Pursuant to the Court’s February 12, 2020 Order (ECF No. 801), DFPS and HHSC submit the attached
         document providing both agencies’ combined comments and feedback to the “Heightened
         Monitoring” document attached to Deborah’s February 4 e-mail. I understand that DFPS is also
         sending an additional document with additional information in a separate email.
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       Thank you.



       Taryn Lam | Attorney

       Litigation Department │ Legal Services Division

       701 West 51st Street | Mail Code W252

       P.O Box 149030

       Austin, TX 78714-9030

       Office: 512-438-2266 | Fax: 512-438-2113

       www.hhs.texas.gov │ www.dshs.texas.gov




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       me immediately and then delete the message.




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         Fwd: Heightened Monitoring
         Viveca <vmartinez@texasappleseed.net>
         Tue 5/19/2020 8:52 PM
         To: Viveca Martinez <vmartinez@texasappleseed.net>


           1 attachments (39 KB)
         2020 02 19 HM communication.pdf;




         ---------- Forwarded message ---------
         From: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
         Date: Wed, Feb 19, 2020 at 11:38 AM
         Subject: Heightened Monitoring
         To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>, kevinmichaelryan1967@gmail.com
         <kevinmichaelryan1967@gmail.com>
         Cc: Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Kintzer,Corey D (HHSC)
         <Corey.Kintzer@hhsc.state.tx.us>, Kimberly.Gdula@oag.texas.gov <Kimberly.Gdula@oag.texas.gov>




         Good morning Deborah and Kevin,



         The attached document provides the agency’s plan to address heightened
         monitoring of contracted providers along with feedback to your guidance on this
         important issue. We appreciate you providing recommendations and incorporated
         them where appropriate. DFPS worked with HHSC to provide a coordinated
         response to specific items raised in your Heightened Monitoring and Pattern
         Definitions document of February 4th. That response will be sent in a separate
         document.



         We look forward to discussing any questions you may have.



         Thank you



         Rand Harris

         Associate Commissioner of Compliance, Coordination and Strategy
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       Department of Family and Protective Services

       512-438-3083




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Dear Deborah and Kevin,

We appreciate your guidance concerning the heightened monitoring
document we submitted to you on November 1, 2019 in accordance with
Remedial Order 20. We have carefully reviewed your response and have
incorporated your thoughts as appropriate into our heightened monitoring
process. To the extent that we had any concerns, we have discussed them
along with the summary of our continuous monitoring process, which is
provided below. We have also outlined some of our specific comments
concerning the proposal in a document with HHSC that will be sharing in a
separate email. We will continue our collaboration with HHSC as they also
evaluate and establish any additional processes for heightened monitoring at
their agency.

While there are facets of this process for which we have previously provided
information, others are recent enhancements effectuating state legislation
and improving upon our prior processes. We are improving our processes by
harnessing trend information, utilizing additional staff, drawing upon real-
time qualitative inputs and overall focusing resources on residential
contractors identified needing additional support.

Please be aware that we will not be able to connect formally with the
Oklahoma leadership for whom you provided contact information until next
week. However, we have had a preliminary conversation with agency staff
and are reviewing materials they provided for potential inclusion in our
processes.

Overview

DFPS has several mechanisms to continuously evaluate residential
operations’ quality and compliance with contract requirements, at any stage
of the contracting process. Contract monitoring can be divided into four
stages: 1. Contract Creation and Provisional Period; 2. Continuous Quality
Improvement Support (i.e., proactively working with operation to improve
the quality of services); 3. Heightened Monitoring; and 4. Immediate
intervention due to imminent safety concerns.

   1. Contract Creation and Provisional Period
During the application and provisional contracting period, DFPS uses a
contract application vendor screening process to determine administrative,
programmatic, and fiscal readiness of an operation. Specific activities include
evaluating any historical performance prior to a provisional contract,




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assessing the applicant’s internal controls, vendor status, and ability to
demonstrate reasonable compliance with service level indicators.

After an application is approved, there is a provisional period (usually 18-24
months). Routine monitoring and oversight activities of provisional contracts
include but are not limited to the following activities:

   1. Annual third-party utilization review conducted to assess the
      Contractor’s compliance with delivery and documentation of service
      level requirements.
   2. Contractor monitoring prioritized based on risk. This specialized
      monitoring is conducted by designated contract monitoring staff prior
      to making a recommendation for award or denial of a post provisional
      contract.
   3. Targeted contract compliance monitoring conducted by the application
      specialist every 6 months during the provisional contracting period.
   4. Annual and quarterly assessments of contract performance measures
      and assessment of liquidated damages and incentives. The quarterly
      reviews assess the contractor’s compliance with performing
      background checks, emergency Behavior Intervention & Trauma
      Informed Care trainings, and obtaining TX Health Steps Assessments
      for children coming into care. The annual assessment looks at Safe In
      Care, keeping siblings together, placement close to home, and building
      foster home capacity for accepting older youth.
   5. Monthly unannounced awake supervision verification checks.


Recognizing that all new contractors can benefit from robust continuous
quality improvement support during a provisional period, the DFPS Office of
Data and Systems Improvement (DSI) will provide two separate reports
about the facility to the DFPS Contracts Division: a monthly report on any
abuse and neglect intakes and confirmed allegations and minimum
standards citations and a quarterly report across six contractor domains
(operational management, therapeutic model and services, supervision and
staff interaction, meeting basic needs, physical environment, and population
served). DFPS Contracts staff will review these reports with the operation
and offer technical support, as needed, focused on compliance with the
operational plan, contract terms and conditions, ability to meet performance
measures and HHSC Licensing requirements and maintain quality services.

If any material concerns related to child safety are identified, DFPS
Contracts staff immediately elevate them for appropriate handling (e.g.,
HHSC Licensing, FITS staffing, state-wide intake). Prior to the end of the



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provisional period, if on-going concerns have been identified, Contracts will
take a recommendation to the CPS Director of Conservatorship for the
extension of the provisional contract or to allow the provisional contract to
expire. If a contractor does not exhibit material weaknesses during the
provisional contracting period, the contract is then transitioned to a
residential contract manager after a full contract is executed.

   2. Continuous Quality Improvement Support
After a contractor successfully completes the provisional period, DFPS
continues to provide support to ensure contractors maintain the quality of
services they provide. DSI will be implementing a quarterly contractor
Continuous Quality Improvement (CQI) tool which the DFPS Contracts
Division will use to strengthen its existing, continuous contract monitoring
process. Through this existing process, the DFPS Contracts Division
provides technical assistance and support to operations before there are
serious concerns about the risk of an operation or child safety.

The CQI tool consists of analytic machine learning algorithms that help
identify operations that may benefit from targeted quality improvement
support. The tool analyzes multiple operation-specific variables across six
domains (operational management, therapeutic model and services,
supervision and staff interaction, meeting basic needs, physical
environment, and population served) and identifies contractors whose
performance appears to be a significant outlier from other operations as
measured by the number of standard deviations from the mean for each
facility type.

When an operation is identified through the CQI tool, DSI will analyze recent
and historical performance across the six contractor domains and generate a
report summarizing key patterns and trends along with the underlying data.
This report will be similar to those used in the provisional period. Contracts
staff will use this information to evaluate the operation and determine, in
consultation with the operation, what additional information, actions or
technical support, if any, may be needed, such as a quality improvement
plan. As noted previously, if material safety concerns are identified at any
stage, Contracts staff will immediately elevate them for appropriate
handling.

In addition to the continuous contract monitoring process occurring
throughout the year and further strengthened by the CQI tool, DFPS
Contracts staff utilize an Annual Risk Assessment Instrument (RAI) to guide
risk categorization and help identify contractors for specialized monitoring.




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Specialized monitoring includes document review and on-site visits to the
facility.

   3. Heightened Monitoring
Any facility already on the FITS I agenda or experiencing a pattern of
declining performance will be subject to heightened monitoring. A pattern of
declining performance is any operation that is under an open quality
improvement plan where there has been the following:
   • At least 1 confirmed allegation for abuse or neglect from an
      investigation that started after implementing the quality improvement
      plan; or
   • A high rate of minimum standards violations within a period of 2
      consecutive quarters after the start of the quality improvement plan.
      DSI will conduct an analysis to determine when an operation’s rate is
      “high” by examining the distribution and standard deviation of rates
      for each facility type.
An operation identified for heightened monitoring will trigger a multi-
divisional response. The facility will be put on the agenda for a FITS I
staffing and Contracts will evaluate contractual remedies as specified in
Policy 4.7: Contractor noncompliance and contract remedies.

FITS I staffing are multi-disciplinary meetings to discuss each program’s in-
depth analysis of operations. This ensures all agencies have all relevant
information. In our January 27th meeting we indicated that we would provide
our FITS protocols to you. We have included those in an attachment for your
reference. In a FITS I meeting, tailored action items are identified for the
operation and for DFPS staff. Those action items could include safety
checks, targeted review of service plans or other documentation regarding
services to children, a contract action plan, a review of home studies (for a
CPA), unannounced visits to the operation, a placement cap or suspension,
or elevation to FITS II.

Heightened monitoring may function differently by operation, according to
the issues that triggered the need for heightened monitoring as well as
operation’s response, strengths, and identified issues. Actions will be
customized based upon the issues identified through contract’s assessment
and may include recurrent unannounced visits, contract non-renewal,
comprehensive and/or random reviews of caseworker contacts in a
placement, review of qualitative information related to the facility,
placement caps, centralized placement staffing through state office,
requiring the operation to hire a consultant, direct technical assistance based
on identified needs, and internal audits. If there are risk or safety concerns,



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then heightened monitoring my also include a placement suspension,
recurrent safety checks and/or movement of children.

   4. Immediate intervention due to imminent safety concerns
CPS, DFPS Contracts, Residential Child Care Investigations, and Residential
Child Care Licensing have many avenues for elevating concerns regarding
child safety. Each division can elevate concerns through their own internal
chain of command. Additionally, each region hosts a regional FITS meeting
where all 4 programs meet to discuss an operation where local staff
identified a concern regarding risk or safety. Through that process, regional
staff may resolve issues or elevate an operation to state-office FITS. State-
office placement safety analysists and DFPS contracts participate in the
regional FITS meetings and are also able to elevate a concern, if identified.
Residential Child Care Investigations notifies DFPS executive leadership and
RCCL, Contracts, and CPS Placement directors of any intakes involving a
near fatality or child fatality of a child in conservatorship in a licensed
operation.

In addition to these two mechanisms for elevating risk or safety concerns,
operations on FITS I agendas may be elevated to FITS II.

FITS II is designed to address issues that could pose immediate safety
concerns to children. The meeting is convened quickly so that a flexible and
immediate response can be achieved. At this meeting all relevant divisions
meet at the executive level to make sure all information is received and
synthesized. Responses to FITS II concerns could include: removal of
children from facilities or operations; contract terminations; licensing
revocations; or high-risk contract non-renewals.

Things considered include child fatalities within DFPS licensing and
contracted residential operations, serious injuries within DFPS licensing and
contracted residential operations, facilities and operations on probation, and
any major trends associated with safety issues and overall quality of care.

Methodological Issues

It has been our experience that when concerns arise in facilities, DFPS needs
to have a flexible approach that allows fast action when warranted. We are
concerned that by only looking at violations, the system that you propose
may be too slow to respond to emerging situations that require a response
faster than the formal contracts violations or licensing processes.




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Similarly, flexibility needs to be built in to appropriately respond to the range
of violations that may occur. Minimum standards violations, abuse findings,
and contract violations typically necessitate differential responses, according
to the unique risks posed to child safety. For example, an RTB for sexual
abuse may require a stronger response than a contract violation related to
timing of service plans. The multistage process we have in place will allow
DFPS to respond to warning signs such declining performance for an
operation under a quality improvement plan, prior to violations occurring.

We are concerned that a 5 year look back will result in a methodology that is
both over inclusive of outdated information and under-inclusive of recent
trends. The staff, management, population served and service delivery
model in an operation often change over the course of time. As a result, an
operation’s most recent performance is the best reflection of the current
issues at hand. Including 5 years of data into the model will likely
undermine the validity of any high rate pattern determination by masking
recent patterns of declining performance. Once an operation is identified as
having a recent pattern of a high rate of violations, an operation’s past
historical performance should be used to help determine the type and
frequency of any heightened monitoring efforts and actions. DSI could find
no support in its review of existing research literature for a 5 year look back.
If, however, the monitors are aware of such research support, we would be
happy to review it.

In addition to the problems with the five year look back period discussed
above, the DSI review of existing research literature revealed no support
establishing that stratifying operations by size was beneficial. Minimum
standards and contract requirements are generally based on the type of
services an operation provides, not the size of the operation. If, however,
the monitors are aware of such research support, we would be happy to
review it. We are, however, using size of the facility to inform the substance
of our technical support.

Finally, we were not sure what you mean by a “combined rate of violations”.
If by “combined rate”, the proposal refers to identifying all operations who
are above the average or median rate, we could find no support in the
research literature establishing that an average or a median is a generally
accepted method for determining a high rate of violations or determining a
high incidence rate in any other context. Defining a pattern as a “high rate”
necessarily implies that an operation’s performance is significantly different
from other operations. There is no basis to believe that rates slightly above
the mean, at the mean or slightly below the mean represent significant
distinctions.




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Operations identified as having a “high rate” of violations (but no established
pattern of harm to children) will be subject to operational disruption,
increased costs and, potentially, adverse contract or licensing actions,
including loss of their license and contract. Any methodology employed
should include a generally accepted analytic technique based on a threshold
that better balances identification of true positives, while minimizing any
false positives. A true positive is an operation that has a high rate of
violations in which children are actually harmed while a false positive is an
operation that has a high rate of violations in which children are not harmed.
The methodology of establishing a “high rate” as operations that fall outside
of an established number of standard deviations that we have proposed
above is one such analytic technique.

Conclusion

We hope that this document provides additional context concerning our
heightened monitoring processes. We believe continuous monitoring with
various potential elevation points will build in the agility and flexibility
necessary to respond to a continuum of concerns. We also believe that early
interventions (e.g., front-end targeted technical support) will ultimately
prevent or contain emerging safety and other concerns in a way that is
effective and child-safety focused.




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Pattern:

A pattern is defined as a high rate of contract and standards violations for at least three of the
last five years.

Agency Comment:

DFPS and HHSC would like to note concerns with utilizing 5 years of data for reasons further
emphasized below and in the methodological comments in the DFPS proposed approach to
Heightened Monitoring (provided separately). The 5-year approach may overweight historical
and potentially outdated information and penalizes operations that may have improved
performance as well as masks more immediate issues. Further, postponing action until each
agency has engaged in backwards-looking calculations of violation rates is less agile than
responding to currently emerging situations. DFPS and HHSC believe that the objectives of
heightened monitoring would be better and more effectively served via the agencies’
continued collaboration towards a more flexible approach tailored to the specific violations
and operations at issue.

Steps in identifying the pattern:

   1. Review data for the rate of contract and standards violations, including confirmed
      findings of abuse and neglect, for the last five years. The rate is calculated using
      the number of violations divided by the placement's average daily population multiplied
      by 10 (Number of contract or standards violations/average population X 10).

Agency Comment:

As the purchaser, DFPS would look at the rate of contract violations. HHSC, in its licensing
capacity, would separately track and look at the rate of standards violations.

Additionally, the formula appears to weight all violations equally such that, for example, a
Youth For Tomorrow finding about timeliness of a service plan update would have the same
weight as more objectively serious violations such as an RTB for sexual abuse or neglectful
supervision. Furthermore, counting all minimum standards violations and all contract
violations could lead to double counting inasmuch as minimum standards violations are also
contract violations as contractors are contractually required to adhere to all standards.

Also, it is unclear to what time period this may apply.

The support is unclear for the methodology of multiplying by 10, which does not appear to
increase statistical significance but may artificially inflate the rate. As an additional point of
clarification, would the rate be calculated using PMC children only or all children in care?




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HHSC and DFPS do not track or capture the average daily population in an operation. Only the
maximum capacity of the operation is available.


   2. Compare the operation’s rate of violations to the combined rate of violations for all
      operations of similar size (small, medium, or large) for each of the last five years.

Agency Comment:

Although this comparison might be feasible if the combined rate of all violations (standard
and contract) can be obtained and if an alternate value for the ADP can be used, we are
concerned about the practical utility of such an approach since the basis or supporting
research for comparing rates of violations based on the size of an operation is unclear.
Contractors are generally measured based on the services they provide, not their size. This
methodology would treat emergency shelters the same as RTCs or basic GROs or IPTP
providers the same as a CPA.


   3. If the operation’s rate of violations is above the combined rate of violations for similarly-
      sized operations for three of the last five years, then there is a pattern of deficiencies;

Agency Comment:

To determine risk to children and how an operation is functioning, HHSC and DFPS currently
review an operation’s most recent history. If an operation has a higher rate of violations
during the first 3 years of the 5-year period, that would indicate the operation has improved,
meaning heightened monitoring may be unnecessary.

Also, the basis for this methodology is unclear. Assuming this proposes to use the mean or
median, it would elevate about 50% of operations for heightened monitoring. Operations
just below the mean, at the mean, and just above the mean are unlikely to significantly differ
in the degree of risk.

And

   4. If the operation’s rate of violations rated medium-high or high is above the combined
      rate of violations rated medium-high or high for similarly-sized operations for three of
      the last five years, then there is a pattern of deficiencies.

Small operations:  Those with an ADP of 20 or fewer children or, for CPAs, 20 or fewer open
                   foster homes;
Medium operations: Those with an ADP of 21-50 children or 21- 50 open foster homes; and
Large operations:  Those with an ADP of more than 50 children or more than 50 open foster
                   homes.



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Agency Comment:

Consistent with our feedback above, DFPS and HHSC recommend looking at operations across
a broad range of variables and targets and providing additional technical assistance to
operations with rates of violations that are a set number of standard deviations from other
operations of comparable type.


Heightened Monitoring

When an operation is identified for heightened monitoring, a Facility Intervention Team Staffing
(FITS) is scheduled within 5 days. The intervention team is made up of staff from RCCL, DFPS
CCI, DFPS Contracts, and CPS.

Agency Comment:

DFPS and HHSC agree that FITs should be utilized as a tool for outlining heightened
monitoring but we are concerned that a hard 5-day timeframe for scheduling FITS will not
allow sufficient time for the multiple agencies and divisions involved to review the
operation’s history, look for trends, or conduct other related research to discuss during FITS
to effectively determine the appropriate next steps for the facility.


During the FITS, which will include the operation leadership, the team will review:

Agency Comment:

The agencies need to communicate with one another during any FITS meeting prior to
reaching out and sharing planned actions and requirements with the operations and their
leadership.


      Trends identified in the 5-year retrospective analysis that resulted in heightened
       monitoring.

Agency Comment:

We request clarification on whether this refers to an analysis of the operation under review
or requires a comparison of the operation under review to other operations.


      Any monitoring plans or corrective or enforcement actions for the operation in the last
       5 years;



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Agency Comment:

HHSC and DFPS both currently review any monitoring or corrective or enforcement actions, as
applicable, but not always over a 5-year timeframe. Typically, compliance history from the
prior 2 years is reviewed. However, additional history may be reviewed on a case-by-case
basis.

      Any risk analyses conducted by RCCL or DFPS for the operation in the last 5 years.

Agency Comment:

DFPS and HHSC are currently doing this review. Typically, compliance history from the prior 2
years is reviewed. However, additional history may be reviewed on a case-by-case basis.

If the review reveals trends that implicate an immediate concern for the health and safety of
children, the intervention team will develop a safety plan and temporarily suspend placements
until all immediate concerns for health and safety have been addressed. This must be
documented in CLASS.

Agency Comment:

The agencies currently act, including developing safety plans and suspending placements
among other actions, as warranted and depending on the circumstances. For example, if
safety concerns are identified, DFPS may consider changing a child’s or youth’s placement
rather than instituting a placement suspension. There may be other alternative actions, such
as abatement or termination of the employment of operation staff, that may address a safety
issue. DFPS and HHSC recommend a tailored approach, which allows for a more nuanced
plan for the affected operation.

Regarding documentation, CCL documentation is entered in CLASS. However, CLASS is not
the system of record for DFPS generally and for CPS in particular. With respect to DFPS,
CLASS is the record system for some DFPS CCI investigation activities.


The FITS team is responsible for developing a heightened monitoring plan that:

      Outlines a coordinated response from RCCL & DFPS, including a list of staff from both
       agencies who will serve on the heightened monitoring team for the operation;

Agency Comment:

HHSC and DFPS plan to do this, as appropriate.




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      Describes a detailed and specific plan addressing:
          o The pattern of policy violations that led to heightened monitoring;

Agency Comment:

HHSC and DFPS plan to do this.

           o Any barriers to compliance identified during a review of previous corrective or
             enforcement actions or risk analyses;

Agency Comment:

HHSC and DFPS plan to do this.

           o Any technical assistance needed by the operation from FPS, RCCL, or a third
             party;

Agency Comment:

HHSC and DFPS plan to do this.

           o The steps the operation must take to satisfy the plan.

Agency Comment:

HHSC and DFPS plan to do this.

While a facility is on heightened monitoring, RCCL and DFPS will share responsibility for twice
monthly unannounced visits.

Agency Comment:

Monthly unannounced visits occur (RCCL engages in such visits for operations subject to
corrective action), but not part of a specific plan or requirement. More frequent visits at the
operation may occur during investigations or as part of regular monitoring activities,
depending on the seriousness of the violation and the operation’s response. A one-size-fits-all
approach may not effectively ensure child safety at a specific facility, as well as potentially
impact the ability to reach appropriate caseload ranges.


The heightened monitoring plan will remain in place for at least one year and until:

Agency Comment:




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While possible, this will exceed the timeframe currently required for operations that have
been placed on corrective action. HHSC and DFPS recommend determining completion of
heightened monitoring based on the operation’s ability to meet the items identified in the
plan rather than a specified timeframe. Finally, the methodological or research-informed
basis for the one-year requirement is unclear.

      the operation satisfies the conditions of the plan;
      at least four successive unannounced visits indicate the operation is in compliance with
       the standards or contract requirements that led to heightened monitoring;

Agency Comment:

The expected or defined degree of compliance is unclear and may not be practical. Significant
improvements, rather than 100% compliance, should be observed to determine when an
operation has met the requirements of the heightened monitoring plan. Also, the basis for
requiring at least four successive unannounced visits before finding significant improvement
is unclear, including whether research suggests that is the appropriate frequency. DFPS and
HHSC recommend a tailored, more nuanced approach for each facility that takes into account
the nature and seriousness of the violations and the responses of the operation.

       and
      the operation is not out of compliance on any medium-high or high weighted licensing
       standards.

After the operation is released from the plan, DFPS and RCCL will coordinate to make two
unannounced visits in the three months following the release from the plan,

Agency Comment:

DFPS and HHSC will coordinate visits whenever possible, and recommend determining the
appropriate number, frequency, and timeframe of unannounced visits based on the issues
presented at the facility.

and the heightened monitoring team will continue to track intake data for the operation for six
months to ensure it does not lose progress made during monitoring.

Agency Comment:

HHSC and DFPS plan to do this; however, we note that intake data do not accurately reflect
improvements at an operation.

If the operation does not come into compliance with the plan during the heightened monitoring
period, DFPS and RCCL will identify one or more of the following penalties:




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      suspension of placements;
      imposition of fines;
      suspension or revocation of the facility or CPA’s license;
      termination of the contract.

Agency Comment:

HHSC currently issues administrative penalties, corrective action, or revocation, as
appropriate based on Texas laws and rules. Please note that failure to come into compliance
with the plan may not justify one or more of the items listed based on current Texas laws and
rules.

DFPS plans to take action as laid out in its heightened monitoring protocols, sent separately.

Further, it is unclear whether the suspension of placements is applicable to only children and
youth in the PMC.


The heightened monitoring plan, unannounced visits associated with the plan, and progress
toward meeting the plan must all be documented in CLASS. Caseworkers for PMC children in
operations under heightened monitoring must be made aware of the monitoring.

Agency Comment:

HHSC currently documents in CLASS unannounced visits and any corrective actions taken by
that agency. DFPS, however, does not document unannounced visits and any corrective
actions taken by that agency in CLASS.

If the combined rate of violations is utilized as a methodology resulting in a relatively high
number of operations for a lengthy period of time, DFPS recommends primarily providing the
appropriate information to CPU staff and/or to regional leadership, as necessary, to alert
them of the heightened monitoring and what led to it, rather than adding this task to the
workload of individual caseworkers.




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Subject:    FW: DFPS and HHSC heightened monitoring cost es7mate submission
Date:       Tuesday, June 23, 2020 at 5:25:48 PM Central Daylight Time
From:       Linda Brooke
AGachments: FCL Heightened Monitoring Cost Es7mate.pdf, Heightened Monitoring Methodology
            Notes.pdf, Copy of ACE - Heightened Monitoring.xlsx


From: Gdula, Kimberly <Kimberly.Gdula@oag.texas.gov>
Date: Fri, Apr 10, 2020 at 4:36 PM
Subject: DFPS and HHSC heightened monitoring cost es7mate submission
To: Aaron Finch <aﬁnch@childrensrights.org>, Marcia Lowry <mlowry@abe\erchildhood.org>, Paul Ye\er
<pye\er@ye\ercoleman.com>, Deborah Fowler <dfowler@texasappleseed.net>, Kevin Ryan
<kevinmichaelryan1967@gmail.com>


All,

Pursuant to the Court’s April 3 order, attached please find DFPS and HHSC’s heightened monitoring cost estimates
and related notes. If you have any issues opening the documents, please let me know.

Thank you,

_____________________
Kimberly Gdula
Assistant Attorney General
General Litigation Division
300 W. 15th Street
Austin, Texas 78701
(512) 475-4071 (Direct)
(512) 320-0667 (Fax)




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                                                                  FCL Heightened Monitoring Cost Estimate
Remedial Order 20 (January 19, 2018): Within 120 days, RCCL, and/or any successor entity charged with inspections of child care placements, will identify, track and address
concerns at facilities that show a pattern of contract or policy violations. Such facilities must be subject to heightened monitoring by DFPS and any successor entity charged with
inspections of child care placements and subject to more frequent inspections, corrective actions and, as appropriate, other remedial actions under DFPS’ enforcement
framework.

Order issued March 18, 2020: When an operation is identified for heightened monitoring, a Facility Intervention Team Staffing (FITS) is scheduled within 5 days. The
intervention team is made up of staff from, at least, RCCL, DFPS CCI, DFPS Contracts, and CPS.

During the FITS, the team will review:
• Any trends for the operation identified as a result of the 5-year retrospective analysis
• Any monitoring plans or corrective or enforcement actions for the operation in the last 5 years.
• Any risk analyses conducted by RCCL or DFPS for the operation in the last 5 years.

If the review reveals events that implicate an ongoing concern for the health and safety of children, the intervention team will develop a safety plan and temporarily suspend
placements until all concerns for children’s health and safety have been addressed. This must be documented in CLASS.
The FITS team is responsible for developing a heightened monitoring plan that:
• Outlines a coordinated response from RCCL & DFPS, including a list of staff from both agencies who will serve on the heightened monitoring team for the operation;
• Describes a detailed and specific plan addressing:
        o The pattern of policy violations that led to heightened monitoring;
        o Any barriers to compliance identified during a review of previous corrective or enforcement actions or risk analyses.
        o Any technical assistance needed by the operation from FPS, RCCL or a third party;
        o The steps the operation must take to satisfy the plan

While an operation is on heightened monitoring, RCCL and DFPS will share responsibility for at least weekly unannounced visits to the operation, and any placements of PMC
children must be directly approved by the Associate Commissioner of CPS.
The heightened monitoring plan will remain in place for at least one year and until:
• The operation satisfies the conditions of the plan;
• At least six months’ successive unannounced visits indicate the operation is in compliance with the standards and contract requirements that led to heightened monitoring;
     and
• The operation is not out of compliance on any medium-high or high or high weighted licensing standards.
After the operation is released from the plan, DFPS and RCCL will coordinate to make at least three unannounced visits in the three months following the release from the plan,
and the heightened monitoring team will continue to track intake data for the operation for six months to ensure it does not lose progress made during monitoring.
If the operation does not come into compliance with the plan during the heightened monitoring period, DFPS and RCCL will identify one or more of the following penalties:




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                                  Methodology Notes

130 Facilities

Based on the February 26, 2020 discussion with the Monitors, it appeared the Monitors
had developed a preliminary estimate of 110 facilities, but did not have contract
violations to include in the estimate. DFPS estimates an additional 20 facilities would
need to be included in Heightened Monitoring (HM). DFPS must continue to provide a
response to operations with actual or emerging issues that are not identified through the
HM process; therefore, operations with actual or emerging concerns will be elevated to
FITS and then subjected to the HM processes, as it is most efficient to review
operations using the same approach. Additionally, the agencies assume the
methodology should be applied to all licensed, contracted operations and are including
additional facilities in case some operation types were not included in the Court’s
methodology, based on the wording of the Order and the above-referenced discussion
with the Monitors. Finally, the agency estimate assumes the inclusion of contract
violations in the analysis may pull additional facilities into HM using the Court’s
methodology.

FITS Meetings
                  Weekly           Monthly          Quarterly        Total Operations
                  Staffing         Staffing                          Staffed per Week
 Week 1           33               8                5                46
 Week 2           33               8                5                46
 Week 3           33               8                5                46
 Week 4           33               8                5                46

25% (33) meet definitions of ongoing concern for safety and will have a weekly staffing
25% (33) will have a monthly staffing. (33/4.33 = 8 per week)
50% (65) will have a quarterly staffing (65/3 months = 22/4.33 = 5 per week)

FITS Meetings/Preparation, Attendance, Follow Up
Because the March 18, 2020 Order specifically requires “FITS” for portions of HM,
DFPS applied its current FITS framework, procedures, and processes combined with
the order’s specifications around requirements and duration of monitoring, to determine
the resources required to comply with the Order. The increased number of facilities on
HM combined with the other court ordered components requires additional CPS, CCI,
and RCM to meet the court ordered requirements.

Child Care Investigations
11.0 Program Specialist VI, 2.0 Manager IV, 1.0 CCI Director II

Program Specialist VI Assumptions:




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9 hours of prep work per operation to review 5-year history, consult with
investigators/supervisors/Program Administrators, analyze trends, monitor ongoing
activity while on Heightened Monitoring and as part of the FITS process, and document
all findings and actions.

•      9 hours of prep x 46 operations a week= 414 hours of total prep work a week
•      414 hours of work per week/38 hours for these tasks = 11 FTEs

Additional duties of new FTEs: tracking operations once they are released from the
heightened monitoring plan to ensure the progress made during the plan is sustained

Manager IV Assumptions:
1:5 ratio Program Specialist VI to Manager due to complexity of Program Specialist
work

Director II Assumptions:
1 additional Director FTE to participate in FITS meetings (30 minutes per meeting, 46
facilities per week, 23 hours per week), oversee work performed by the new FTEs and
assure appropriate follow up.

Child Protective Services
14.0 Program Specialist VI, 3.0 Manager IV, 1.0 CPS Director II

Program Specialist VI Assumptions:
12 hours of prep work per operation to FITS tasks including researching facility
performance, reviewing records of individual children, consulting with caseworkers on
individual children, writing individual facility reports, identifying trends, and monitoring
ongoing activity in the operation as part of the FITS process.
    • 12 hours of prep X 46 operations a week = 516
    • 516 hours of work per week/38 hours for these tasks = 14 FTEs

Manager IV Assumptions:
1:5 ratio Program Specialist VI to Manager due to complexity of Program Specialist
work

Director II Assumptions:
1 additional Director FTE to participate in FITS meetings (30 minutes per meeting, 46
facilities per week, 23 hours per week), oversee work performed by the new FTEs and
assure appropriate follow up.

Residential Contract Management
Program Specialist VI, Contract Technician (Admin III), Director II

3 Program Specialist VI – Responsible for developing the heightened monitoring plans,
documenting the status, and managing the logistical aspects of recording, archiving,
and reporting.



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Contract Technician
1 contract technician (Admin III) - scheduling, packet development, and uploading.

Director II
1 additional Director FTE to participate in FITS meetings (30 minutes per meeting, 46
facilities per week, 23 hours per week), oversee work performed by the new FTEs

HHSC Residential Child Care Regulation
14.0 Program Specialist V, 2.0 Manager II, 1.0 Director II, 1 Training Specialist V
Program Specialist V Assumptions:
10 hours of prep work per operation to FITS tasks researching the operation information
(ages served, service provided, governing body, etc.), reviewing and summarizing
compliance history, identifying and noting patterns and trends, reviewing any corrective
action conditions and status and obtaining field input.
   •   10 hours of prep X 46 operations a week = 460
   •   460 hours of work per week/35 hours for these tasks = 14 FTEs
Manager II Assumptions:
1:5 ratio Program Specialist V to Manager II to support program specialists.
Director II Assumptions:
1 additional Director FTE to participate in FITS meetings (30 minutes per meeting, 46
facilities per week, 23 hours per week), oversee work performed by the new FTEs and
assure appropriate follow up.
Training Specialist V Assumptions:
1 additional Training Specialist to develop training curriculum for heightened monitoring
and conduct training for additional positions.

Residential Contract Management Facility Visits
Responsible for monitoring facilities under heightened monitoring and conducting visits
on a weekly basis. It is assumed the equivalent of one day per week will be required for
writing reports and completing other administrative duties, including addressing any
potential issues of non-compliance or involvement in FITS meetings or gathering of
data. The number of facilities in rural areas able to be visited will be impacted by
lengthier travel times.

Assumption: 10 residential contract managers deployed to urban areas (4 travel days X
2 visits a day = 80 visits per week) and 13 (4 travel days per week X 1 facility visit a day
= 52 visits a week) to rural areas for a total of 132 visits a week.




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Total FTE: 23 Residential Contract Managers and 3 Managers
**accounts for potential need for follow up for certain facilities


Statewide Intake Response
Calls to SWI intake are expected to increase as a result of increased visits by staff to
facilities. DFPS has observed over time that increased visits result in additional reports.
This does not in and of itself reflect an increase in abuse, neglect, and exploitation or
existence of active safety concerns, as many reports may have been investigated but
must be reported by mandatory reporters who are unaware whether a report has been
investigated.

For the purpose of this estimate, DFPS assumed the child safety checks @25
operations every week X 52 weeks X 3 contacts per week = 3,900 additional SWI
contacts

Assumption: 3,900/1.75 CPH /1,690 Hours = 1.3 Intake specialist, rounds to 2 as there
is also likely to be additional calls resulting from RCCL and Contract visits.

Child Care Investigations Response
Annual calls to SWI = 3900, Converted to Monthly = 325, 25% becomes CCI intake = 81

Assumption: 81 are screened as policy requires all intakes to be screened. Screeners:
81 *1.5 hours=122 hours per month= 3 FTEs plus supervisor

Assumption: 40% administratively closed or PN (32), 60% progress to investigations
(49), using caseload ratio/functional unit to derive total FTEs. 4 investigators (rounded
up from 3.3) plus supervisor and admin staff

Office of Data and Systems Improvement Response

DFPS Data Decision Support (DDS)
2 Systems Analyst V are required to create, QA and maintain monthly reports to the
monitors tracking all the DFPS related activities for operations subject to heightened
monitoring. It is anticipated that all the reports will require new development and
include new data elements from IMPACT and CLASS.

DFPS Contract Performance
3 research specialist V and 1 Data Analyst (team lead) are required to run the Court’s
model (includes cleaning the data, compiling the data, running the model and QA the
results), and then run model to triage identified operations , create reports summarizing
data from the Court’s model that resulted in operation being identified for heightened
monitoring and provide support to CPS and Contracts around using reports from DDS to
track progress on all DFPS activities related to heightened monitoring.

Child Protective Services Child Safety Checks



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Although not specifically required by the March 18, 2020 order, DFPS views these staff
as necessary to implement the Order. CPS will supplement face to face visits to
facilities with placement holds and safety checks to ensure the health and safety of
children placed in those operations. Staff will interview children and develop plans to
address any immediate needs. Interviews from these visits will be reviewed by the CPS
FITS program specialists for inclusion in ongoing facility monitoring.

Assumptions:
75% GROs (25 total of 33 with ongoing concerns) require child safety check
5 hours visits per week per operation (3 visits)
5 hours of documentation and travel per operation
20 hours/week/operation

20 hours per facility x 25 facilities per week = 500 hours a week
   • 500 per week x 52 weeks=26000 hours per year
   • 26000 hours per year/12 months per year=2166 hours per month
   • 2166/126 work hours per month* = 17 workers
   *based upon CVS work measure study

** applies to GROs only, children placed in CPAs will be visited by their assigned CVS
worker

HHSC Residential Child Care Regulation Facility Visits
HHSC is responsible for monitoring facilities under heightened monitoring and
conducting visits on a weekly basis.
The following assumptions were used to determine how many inspectors were needed:
    •   An average of 1.5-2 hours per inspection at each operation
    •   An average of 3 hours of travel time per inspection
    •   An average of 1 hour of prep time per inspection
    •   An average of 3 inspections per month at each operation


Total HHSC staff required for heightened monitoring, including leadership support, is as
follows:
   •    36 Inspectors (390 inspections per month, 12 inspections per staff/month with
        10% turnover rate included)
   •    7 Supervisors (a 1:5 ratio for supervision)
   •    3 Administrative support staff


IMPACT
Modifications to IMPACT to support casework and documentation.




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IMPACT changes include updates to an existing interface between IMPACT and
CLASS to send and receive data on facilities on HM status; providing alerts and tasks
for caseworkers when children are placed in a facility on HM or a facility receives a HM
status; modifications to capture information on required Safety Checks and required
approvals of placements; creation of a dashboard to indicate a facilities monitoring
status; and development of other reports on facilities and addition of new audit tables.

CLASS

Modifications to CLASS to support heightened monitoring tracking and documentation.

Anticipated changes include, but are not limited to:
   • Way to identify an operation on heightened monitoring – new indicator in the
       Indicators section on the operation’s main page
   • New heightened monitoring section in CLASS that will be used by DFPS/HHSC
       staff with:
       o Way to document the heightened monitoring plan (date started, plan
           requirements, heightened monitoring triggers, etc.)
       o Way to identify who the heightened monitoring reps are
       o New To Dos generated for the heightened monitoring reps associated with
           heightened monitoring inspections and actions items due
       o New notifications specific to heightened monitoring
       o Way to track compliance with the heightened monitoring plan
       o Way for DFPS contract staff and/or SSCC staff to document contract
           violations
       o Way for DFPS SSCC staff to document heightened monitoring inspections in
           CLASS
   • New inspection type (Heightened Monitoring)
   • Changes to trigger the weighted enforcement system (WES) following a
       heightened monitoring inspection
   • Add details regarding heightened monitoring inspections to the Search Texas
       Child Care site
   • Ability to view heightened monitoring plan and inspections in CLASSMate
   • Ability to document inspections related to heightened monitoring in CLASSMate
   • New CLASS security role for DFPS contract staff and SSCC staff
   • Mechanism to identify an operation that is on FITS, frequency of staffing
       required, triggers for when meetings must be scheduled, documentation of the
       meeting date/time/notes/action taken, ability to view a history of FITS meetings
       that occurred for an operation
   • Interface between SCOR and CLASS to pull in DFPS contract violations – this
       may need a discussion with the SCOR team to figure out what they would need
       for this
   • Way to send/receive Placement Hold distinction from IMPACT to CLASS
   • Way to pull heightened monitoring information from CLASS to IMPACT




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 FN 720




From: Deborah Fowler <dfowler@texasappleseed.net>
Sent: Wednesday, April 8, 2020 11:17 AM
To: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
Cc: Kevin Ryan <kevinmichaelryan1967@gmail.com>; Stephens, Andrew
<andrew.stephens@oag.texas.gov>
Subject: Fwd: Responses to State's Requests

 WARNING: This email is from outside the HHS system. Do not click on links or a]achments unless
                you expect them from the sender and know the content is safe.
Hi, Corey - I wanted to check in with you on whether HHSC is working toward an alterna`ve proposed rule
for RO 21, based on the communica`on below. I realize this was before you were involved - but I don't
believe we ever received any alterna`ve proposed rules or policy. Is the agency working on an alterna`ve
proposal?

Thank you,

Deborah Fowler
Execu`ve Director
Texas Appleseed
1609 Shoal Creek Blvd., Ste. 201
Aus`n, TX 78701
512.473.2800, ext. 105
512.757.1458 (cell)
www.texasappleseed.org




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 Fwd: Fw: Responses to State's Requests
 1 message




    On Thu, Apr 9, 2020 at 1:57 PM Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us> wrote:

         Good afternoon, Deborah.



         As I indicated on the conference call today, HHSC has decided to move away from
         using a new rule to effectuate the provisions of RO 21, which we understand to be
         self-executing. Instead, HHSC is taking a more streamlined approach by complying
         directly. During all home visits, inspectors assess for various risk factors. If any child
         safety concerns are identified that cannot be mitigated, staff will fill out a separate
         form, outlining concerns. For example, if an inspector was completing a sampling
         visit or investigation inspection at a home and observed concerns, they would
         submit a form. In addition, with the new heightened monitoring definition, HHSC’s
         presence in Child Placement Agencies (CPAs) and homes the CPAs verify will also
         increase significantly. Staff will fill out a form anytime there is a safety concern
         observed in a home that could warrant closure, regardless of whether the visit is
         related to heightened monitoring or as part of regular monitoring or investigative
         activities. These operations will then be staffed and considered for closure. If
         warranted, HHSC will close the home through the CPA and work with DFPS to
         prevent future placements of children in the home.



         Thank you.


         Corey D. Kintzer | Associate Director
         Litigation Department │ Legal Services Division

         4900 North Lamar, Mail Code: 1100

         Austin, TX 78751

         Office: 512-438-3274 │ Cell: 512-627-1183

         www.hhs.texas.gov │ www.dshs.texas.gov




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 Fwd: Fw: Responses to State's Requests
 1 message




   ---------- Forwarded message ---------

   From: Deborah Fowler <dfowler@texasappleseed.net>

   Sent: Thursday, April 9, 2020 2:00 PM
   To: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
   Cc: Kevin Ryan <kevinmichaelryan1967@gmail.com>; Stephens, Andrew <andrew.stephens@oag.texas.gov>;
   Christopher.Hilton@oag.texas.gov; Kimberly.Gdula@oag.texas.gov; Bingham,Joseph (HHSC)
   <Joseph.Bingham@hhsc.state.tx.us>; Harris,Russ (HHSC) <Russ.Harris@hhsc.state.tx.us>; Lam,Taryn (HHSC)
   <Taryn.Lam@hhsc.state.tx.us>; Carmical,Audrey (DFPS) <AUDREY.CARMICAL@dfps.state.tx.us>
   Subject: Re: Responses to State's Requests



   Thanks so much, Corey, I appreciate your quick response. Do you have any specific examples yet that we can share with
   the Court that illustrate how this works?



   Deborah Fowler

   Executive Director

   Texas Appleseed

   1609 Shoal Creek Blvd., Ste. 201

   Austin, TX 78701

   512.473.2800, ext. 105

   512.757.1458 (cell)

   www.texasappleseed.org




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 Fwd: Fw: Responses to State's Requests
 1 message




    ---------- Forwarded message ---------
    From: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
    Date: Mon, Apr 13, 2020 at 5:59 PM
    Subject: RE: Responses to State's Requests
    To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
    Cc: Kevin Ryan <kevinmichaelryan1967@gmail.com>, Stephens, Andrew <andrew.stephens@oag.texas.gov>,
    Christopher.Hilton@oag.texas.gov <Christopher.Hilton@oag.texas.gov>, Kimberly.Gdula@oag.texas.gov
    <Kimberly.Gdula@oag.texas.gov>, Bingham,Joseph (HHSC) <Joseph.Bingham@hhsc.state.tx.us>, Harris,Russ (HHSC)
    <Russ.Harris@hhsc.state.tx.us>, Lam,Taryn (HHSC) <Taryn.Lam@hhsc.state.tx.us>, Carmical,Audrey (DFPS)
    <Audrey.Carmical@dfps.state.tx.us>



    Good afternoon, Deborah.



    We don’t currently have any examples to offer as this new process has not yet been
    fully implemented.



    CCR originally had a plan to implement procedures this month. That plan included
    additional home visits based solely on a heightened monitoring-type model. For that
    plan, the sole purpose of those additional visits would be to conduct reviews for
    potential closure. However, the new heightened monitoring definition would increase
    visits such that it did not make sense to have a plan that included another wave of
    increased visits. Therefore, we had to go back and retool, including reworking training
    on this process. Attached please find a draft version of the form CCR will have
    inspectors use for recommending closure.



    The expected full rollout of the new process is May 1, 2020.

    Thank you.


    Corey D. Kintzer | Associate Director
    Litigation Department │ Legal Services Division

    4900 North Lamar, Mail Code: 1100

    Austin, TX 78751

    Office: 512-438-3274 │ Cell: 512-627-1183

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            Agency Home Closure Recommendation Form.pdf
            81K




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                                                                                                         Form XXXX
                                                                                                          April 2020




                      CCR AGENCY HOME CLOSURE RECOMMENDATION
Purpose: Use this form to recommend closure of an agency home when health or safety concerns have been
identified that cannot be mitigated.
Directions: Complete this form and email it to the RCCLFCL@hhsc.state.tx.us mailbox.

                                         AGENCY HOME INFORMATION

        Agency Home Name:                     Agency Home Number:                      Agency Home Region:




             Child Placing Agency Name:                               Child Placing Agency Number:




                                           REQUESTOR INFORMATION

       Requestor’s Name:                 Requestor’s Phone Number:              Requestor’s Office Region:




 Requestor’s Title:
   RCCR Inspector             RCCR District Director                  Other: ____________
   RCCR Supervisor            RCCR Program Administrator


                            REASON FOR AGENCY HOME CLOSURE RECOMMENDATION

 Describe the reason(s) for the recommendation of agency home closure:




                                *TO BE COMPLETED BY THE FCL PROJECT MANAGER*
                                            DECISION INFORMATION
 Decision:
  Approved         Denied                                     Decision Date:



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FN 727


Subject:    FW: Enforcement Ac/on data
Date:       Monday, June 22, 2020 at 8:43:50 PM Central Daylight Time
From:       Linda Brooke
AEachments: image001.png

From: "Kintzer,Corey D (HHSC)" <Corey.Kintzer@hhsc.state.tx.us>
Date: Monday, June 1, 2020 at 3:12 PM
To: "dfowler@texasappleseed.net" <dfowler@texasappleseed.net>
Cc: Linda Brooke <lbrooke@texasappleseed.net>, Viveca Mar/nez <vmar/nez@texasappleseed.net>,
"narrigona@texasappleseed.net" <narrigona@texasappleseed.net>, Kevin Ryan
<kevinmichaelryan1967@gmail.com>, "Lam,Taryn (HHSC)" <Taryn.Lam@hhsc.state.tx.us>,
"Harris,Russ (HHSC)" <Russ.Harris@hhsc.state.tx.us>, "Bingham,Joseph (HHSC)"
<Joseph.Bingham@hhsc.state.tx.us>
Subject: RE: Enforcement Ac/on data

Good afternoon, Deborah.

In response to your question about Kingdom Kids, the reason you all were not
notified of the letter of intent is because they did not have any PMC children
placed through the CPA at the time HHSC issued the letter of intent. In addition,
DFPS had already terminated their contract with Kingdom Kids. Therefore, that
information didn’t fall within our response criteria at the time.

Thank you.

Corey D. Kintzer | Associate Director
Litigation Department │ Legal Services Division
4900 North Lamar, Mail Code: 1100
Austin, TX 78751
Office: 512-438-3274 │ Cell: 512-627-1183
www.hhs.texas.gov │ www.dshs.texas.gov




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error, please notify me immediately and then delete the message.

From: Deborah Fowler <dfowler@texasappleseed.net>
Sent: Monday, June 1, 2020 11:51 AM
To: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
Cc: Linda Brooke <lbrooke@texasappleseed.net>; Viveca Mar/nez <vmar/nez@texasappleseed.net>;
narrigona@texasappleseed.net; Kevin Ryan <kevinmichaelryan1967@gmail.com>; Lam,Taryn (HHSC)
<Taryn.Lam@hhsc.state.tx.us>; Harris,Russ (HHSC) <Russ.Harris@hhsc.state.tx.us>; Bingham,Joseph (HHSC)
<Joseph.Bingham@hhsc.state.tx.us>
Subject: Re: Enforcement Ac/on data


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I appreciate your clariﬁca/on, Corey.

I do think Kingdom Kids would have fallen within the language in the request seeking placements under
considera/on for revoca/on or suspension, however, since the date of the data & informa/on request was
September 30 and the leder of intent for Kingdom Kids was sent in October. Was there some reason that you
no/ﬁed us of North Fork and Children's Hope, but not Kingdom Kids -


Deborah Fowler
Execu/ve Director
Texas Appleseed
1609 Shoal Creek Blvd., Ste. 201
Aus/n, TX 78701
512.473.2800, ext. 105
512.757.1458 (cell)
www.texasappleseed.org




On Mon, Jun 1, 2020 at 8:46 AM Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us> wrote:

  Good morning, Deborah.

  We interpret your email message below as asking two questions:


      1. Why did certain operations appear in our recent production of enforcement
         data that you assert should have been in our September production?
      2. Why is there what appears to be gaps between the intent to revoke and
         the actual decision to revoke?

  To answer your first question, the original data request did not include
  information specific to intent to revoke. Data was requested on licenses that
  were revoked during the timeframe (21.1) and monitoring plans or corrective
  actions during the timeframe (20.6). HHSC provided reference to deficiencies
  being the basis for adverse action at Galveston Multicultural Institute in the
  report of deficiencies (20.7 Min.Stand.Def.). HHSC provided details of the intent
  to revoke in the latest data request based on the language requesting data on
  all enforcement actions.

  To answer your second question, I’ll separate them into the two operations you
  reference.


      1. Daystar Residential: The operation has not been operating since January
         2011. The revocation was awaiting completion of administrative reviews on
         several investigations at the operation, and additional administrative tasks

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      before completing the revocation. The revocation was finalized in 2019 as
      part of a clean-up effort to close out operations that were not operating.
   2. Kingdom Kids CPA: The operation has not been operating since October
      2019. The operation requested an administrative review on the revocation,
      which is currently in progress and is expected to be completed by
      6/2/2020.

Thank you.

Corey D. Kintzer | Associate Director
Litigation Department │ Legal Services Division
4900 North Lamar, Mail Code: 1100
Austin, TX 78751
Office: 512-438-3274 │ Cell: 512-627-1183
www.hhs.texas.gov │ www.dshs.texas.gov




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error, please notify me immediately and then delete the message.

From: Deborah Fowler <dfowler@texasappleseed.net>
Sent: Thursday, May 28, 2020 3:14 PM
To: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
Cc: Linda Brooke <lbrooke@texasappleseed.net>; Viveca Mar/nez <vmar/nez@texasappleseed.net>;
narrigona@texasappleseed.net; Kevin Ryan <kevinmichaelryan1967@gmail.com>
Subject: Enforcement Ac/on data

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                you expect them from the sender and know the content is safe.
Hi, Corey - we have been reviewing the ﬁve-year dataset provided related to deﬁciencies and enforcement
ac/ons and I have a few ques/ons.

We no/ced that there were several opera/ons that the data shows had an enforcement ac/on of
"revoca/on" at some point - and one of them appears to have fallen within the 3-year window we asked
for in our original data and informa/on request in September - for example:




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Galveston Mul/cultural Ins/tute - looks like the intent to revoke was sent in October 2018. But it wasn't
included in RCCL's response to the September request.

Also Daystar Residen/al was in the most recent data you provided re: enforcements, and it looks like the
decision to revoke leder was sent in October 2019, but the intent to revoke was sent in 2011. I'm actually
extremely confused by what might have happened there because even though the intent leder was sent in
2011, and the admin review was completed in 2012, the decision leder was just sent in October 2019?

Similarly, Kingdom Kids CPA (1544555-9931) - looks like the intent to revoke leder was sent in that case
December 6, 2019?


Thanks,



Deborah Fowler
Execu/ve Director
Texas Appleseed
1609 Shoal Creek Blvd., Ste. 201
Aus/n, TX 78701
512.473.2800, ext. 105
512.757.1458 (cell)
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                                   Texas Appleseed Filed  onPotential
                                                      - Fwd: 07/07/20 licensein  TXSD- RO21
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 Fwd: Potential license revocation - RO21
 1 message




    ---------- Forwarded message ---------

              On Thu, Dec 19, 2019 at 1:47 PM Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us> wrote:

                 Good afternoon.



                 As part of our ongoing reporting requirements, and pursuant to Remedial Order 21, HHSC’s RCCL is
                 considering a license revocation of Children's Hope Residential Services Inc – Lubbock, Operation
                 #1423046.



                 The reasons for this potential revocation are, following a RCCL finding of abuse of a child in Children's
                 Hope’s care in October 2019, RCCL determined that, between 12/19/2018 and 12/13/2019, this facility
                 received investigations and inspections resulting in 28 citations. Those citations include patterns of
                 deficiencies in the areas of discipline and punishment (5 citations), physical site (5 citations), ratio (3
                 citations), and emergency behavior interventions (3 citations).



                 Thank you.




                 Corey D. Kintzer | Associate Director
                 Litigation Department │ Legal Services Division

                 4900 North Lamar, Mail Code: 1100

                 Austin, TX 78751

                 Office: 512-438-3274 │ Cell: 512-627-1183

                 www.hhs.texas.gov │ www.dshs.texas.gov

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 Fwd: Potential license revocation - RO21
 1 message




    --------- Forwarded message ---------


              From: Deborah Fowler <dfowler@texasappleseed.net>
              Sent: Thursday, December 19, 2019 2:51 PM
              To: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
              Cc: kevinmichaelryan1967@gmail.com; Hilton, Christopher <Christopher.Hilton@oag.texas.gov>;
              Stephens, Andrew <andrew.stephens@oag.texas.gov>; Gdula, Kimberly
              <Kimberly.Gdula@oag.texas.gov>
              Subject: Re: Potential license revocation - RO21




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               attachments unless you expect them from the sender and know the content is safe.


              And Corey, apologies for a second e-mail - but can you also give us a sense of the timeline - you say
              HHSC is considering revoking their license. How soon would that happen, if it were to happen and what
              process is the agency going through to make a determination? And then - how soon would children be
              moved, etc?




              Deborah Fowler

              Executive Director

              Texas Appleseed

              1609 Shoal Creek Blvd., Ste. 201

              Austin, TX 78701

              512.473.2800, ext. 105

              512.757.1458 (cell)

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 Fwd: Potential license revocation - RO21
 1 message




    ---------- Forwarded message ---------
    From: "Kintzer,Corey D (HHSC)" <Corey.Kintzer@hhsc.state.tx.us>
    Date: December 23, 2019 at 3:21:28 PM CST
    To: "dfowler@texasappleseed.net" <dfowler@texasappleseed.net>
    Cc: "kevinmichaelryan1967@gmail.com" <kevinmichaelryan1967@gmail.com>, "Hilton, Christopher"
    <Christopher.Hilton@oag.texas.gov>, "Stephens, Andrew" <Andrew.Stephens@oag.texas.gov>, "Gdula, Kimberly"
    <Kimberly.Gdula@oag.texas.gov>
    Subject: RE: Potential license revocation - RO21

          Good afternoon, Deborah.



          Attached please find a formal response to your questions regarding the
          potential closure of Children’s Hope.



          Thank you.


          Corey D. Kintzer | Associate Director
          Litigation Department │ Legal Services Division

          4900 North Lamar, Mail Code: 1100

          Austin, TX 78751

          Office: 512-438-3274 │ Cell: 512-627-1183

          www.hhs.texas.gov │ www.dshs.texas.gov

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                                     December 21, 2019




Deborah Fowler
Executive Director
Texas Appleseed
1609 Shoal Creek Blvd., Ste. 201
Austin, TX 78701
www.texasappleseed.org

Subject: Children’s Hope Closure

Greetings, Deborah.

In response to the information we provided about the intent to close Children’s
Hope, you posed the following questions:

   1. Can you also give us a sense of the timeline for revoking their license?
   2. How soon would that happen?
   3. If it were to happen, what process is the agency going through to make a
      determination?
   4. How soon would children be moved?

The timeline question is complex. Much depends on decisions made throughout the
due process procedures. I’ll walk you through that process here.

On December 19, 2019, HHSC issued a notice of intent to revoke licensure to
Children’s Hope. The effect of this action puts Children’s Hope on notice that HHSC
plans to revoke its license, but the operation has a right to due process. Pursuant to
40 TAC § 745.8806, Children’s Hope has 15 calendar days after receiving the notice
of intent to revoke to request an administrative review. If HHSC does not receive a
request, the right for an administrative review is waived.




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For RCCL, due process consists of an informal administrative review. As further
described in 40 TAC § 745.8815, there are various timeframes during which certain
activities can be conducted, which makes pinpointing an exact timeframe for
revocation impossible. However, if Children’s Hope does not request due process,
we will issue the revocation letter in 15 calendar days after it received the
revocation. If the operation does request due process, then HHSC will not issue the
revocation letter until due process is complete, if the decision is upheld.

After the operation receives the results of its administrative review, the operation
can have the matter heard in front of State Office Administrative Hearing (SOAH).
Further complicating the timeframe question, if the operation requests records,
then the process slows down pending the record redaction process. Some cases can
take from six months to a year to make it in front of SOAH.

In response to your final question, our understanding is that all DFPS children have
been moved from the operation as of December 16, 2019.

Kind regards,




/s/
____________________________
Jean Shaw




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 Fwd: Fw: North Fork
 1 message




    ---------- Forwarded message ---------
    From: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
    Date: Thu, Feb 27, 2020 at 6:54 PM
    Subject: RE: North Fork
    To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
    Cc: Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Kevin Ryan <kevinmichaelryan1967@gmail.com>,
    Lam,Taryn (HHSC) <Taryn.Lam@hhsc.state.tx.us>, Stephens, Andrew <andrew.stephens@oag.texas.gov>, Gdula,
    Kimberly <Kimberly.Gdula@oag.texas.gov>, Hilton, Christopher <Christopher.Hilton@oag.texas.gov>, Bingham,Joseph
    (HHSC) <Joseph.Bingham@hhsc.state.tx.us>, Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>



    Good evening, Deborah.



    Yes, RCCL is taking action against North Fork. I am attaching a draft intent to revoke
    letter (NorthForkAALetter02272020.pdf) that RCCL plans to submit to the operation
    tomorrow. The letter details the reasoning behind the revocation. Also attached is an
    investigation history (201001.pdf).



    In addition, I want to follow up on the outcome of our intent to revoke Children’s Hope
    – Lubbock’s license. Attached please find an agreement RCCL entered into with
    Children’s Hope -Lubbock (Exec Agree.pdf). Signed by all parties today, the
    agreement states Children’s Hope Lubbock will voluntarily relinquish its license at that
    location and will not open another child care operation for five years. In return, RCCL
    will withdraw the intent to revoke the license of this operation.


    Thank you.


    Corey D. Kintzer | Associate Director
    Litigation Department │ Legal Services Division

    4900 North Lamar, Mail Code: 1100

    Austin, TX 78751

    Office: 512-438-3274 │ Cell: 512-627-1183

    www.hhs.texas.gov │ www.dshs.texas.gov


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    immediately and then delete the message.




    From: Deborah Fowler <dfowler@texasappleseed.net>
    Sent: Thursday, February 27, 2020 5:02 PM
    To: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
    Cc: Carmical,Audrey (DFPS) <AUDREY.CARMICAL@dfps.state.tx.us>; Kevin Ryan <kevinmichaelryan1967@gmail.
    com>
    Subject: North Fork




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    Hi, Corey -



    When I spoke to Audrey earlier today about our visit to Prairie Harbor, she mentioned that DFPS had decided to end its
    contract with North Fork RTC. She mentioned that she believed that licensing is looking at enforcement action for that
    facility, as well.



    Kevin and I are interested to learn more about what CCL is planning in terms of enforcement, and the reasons for the
    decisions for North Fork.



    Thank you,



    Deborah Fowler

    Executive Director

    Texas Appleseed

    1609 Shoal Creek Blvd., Ste. 201

    Austin, TX 78701

    512.473.2800, ext. 105

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            NorthForkAALetter02272020.pdf
            232K
            201001.pdf
            459K
            Exec Agree.pdf
            154K




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Executive Commissioner
Dr. Courtney N. Phillips

February 27, 2020




Operation #1019226
North Fork Educational Center
Re: Intent to Impose Adverse Action

REGULAR AND CERTIFIED MAIL, RETURN RECEIPT REQUESTED
#Hand Delivery

Dear                       ,

On 09/23/2010, the Child Care Licensing (CCL) division of the Texas Health and Human
Services Commission (HHSC) issued you permit # 1019226 to operate a(n) Licensed
General Residential Operation-Residential Treatment Center located at 3001 ELM GROVE
RD, WYLIE, TX 75098-6251. This letter shall serve as notice that HHSC intends to revoke
that permit.

Tex. Hum. Res. Code §42.072(a) authorizes HHSC to take adverse action against an
operation that does not comply with the minimum standards, rules, Chapter 42 of the Texas
Human Resources Code, or the specific terms of the permit.


40* Tex. Admin. Code §745.8605 sets forth the circumstances when HHSC may take a form of
enforcement action against an operation. HHSC applied this rule to the decision to take
enforcement action against your operation as follows:

Subsections (5), (6), and (7) of this rule respectively provide that HHSC may take an
enforcement action against an operation because of a single serious deficiency of minimum
standards, rules, or laws, including a finding of abuse or neglect; several deficiencies that
create an endangering situation; or a repetition or pattern of deficiencies.




                                           Child-Care Licensing
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CCL met with your operation on 01/10/2020 to review HHSC's intent to impose Corrective
Action Probation based on four separate findings of physical abuse by the Department of
Family and Protective Services (DFPS) and related patterns of deficiencies. On the date of the
meeting, HHSC had sent you the notification of the most recent of those findings in a letter
dated 12/20/2019.

Since that meeting, there have been three additional findings of physical abuse, all related to
emergency behavior restraints and/or inappropriate discipline measures:

Following an investigation of allegations reported to DFPS on or about 08/12/2019, HHSC
sent you a letter dated 01/28/2020 concerning DFPS's finding that a caregiver abused a child
by using a broom to hit the child and pushing the child.

Following an investigation of allegations reported to DFPS on or about 08/18/2019, HHSC
sent you a letter dated 01/28/2020 concerning DFPS's finding that a caregiver abused a child
when the caregiver used inappropriate physical discipline. The caregiver pushed the child,
resulting in the child suffering a laceration.

Following an investigation of allegations reported to DFPS on or about 07/04/2019, HHSC
sent you a letter dated 02/02/2020 concerning DFPS's finding that staff abused a child, who
received a fractured femur as a result of an inappropriately implemented restraint that was
also unwarranted.

Each of these three and the previous four findings of abuse were in themselves a single
serious deficiency. Related to these findings were deficiencies related to the child victim's
right to be free from abuse, neglect, or exploitation; implementation of emergency behavior
intervention; and prohibited punishments. Given that your operation cares for children with
significant emotional and behavioral issues, it is vital that caregivers at your operation be able
to provide appropriate behavioral intervention. Hence, these repeated serious deficiencies not
only form a pattern, but they create an endangering situation for the children in your
operation's care.

40* Tex. Admin. Code §745.8654 describes when HHSC may revoke a permit for an issue
described in 40* Tex. Admin. Code §745.8605. Based on its application of this rule, HHSC has
determined that revocation is the appropriate form of enforcement action to take against your
operation:

26 Tex. Admin. Code 745.8654(2) states that HHSC may revoke an operation's permit if
HHSC cannot address the risk at your operation by taking corrective action or another type of
adverse action. As you know, CCL met with your operation concerning its intent to place your
operation on probation due to the first four abuse findings and related deficiencies. But due to



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the additional three findings of abuse, related patterns of deficiencies, and the resulting
endangering situation, HHSC has determined that probation or any type of enforcement action
other than revocation would not mitigate the risk posed by your operation.

Between 2/10/19 and 2/10/20 your operation received investigations and inspections resulting
in 32 deficiencies. Those citations include patterns of deficiencies in the areas of discipline
and punishment, emergency behavior intervention, medications and children's rights. Since
February of 2019, there have been a total of seven findings of child abuse against caregivers
at your operation who were tasked with caring for children requiring treatment services for
emotional disorders. In short, HHSC cannot address risk at your operation by implementing a
correction plan.

Copies of forms or letters from the inspections or investigations used as a basis for this action
are incorporated by reference and are enclosed with this notice. The deficiencies cited during
these inspections or investigations are listed below:

An investigation was completed by                               Licensing Staff, on 01/12/2020 and
the following standard(s) deficiencies were found:

    748.1101(b)(1)( Children's rights-Adhere to the child's
    B)              rights to be free of abuse, neglect, and
                    exploitation as defined in Texas Family
                    Code 261.401

    748.2463(3)      Emergency Behavior
                     Intervention-Never used as a means
                     to get a child to comply

    748.2551(c)(2)   EBI Implementation-Caregiver must
                     use the minimal amount of reasonable
                     and necessary physical force

    748.685(a)(5)    Caregiver responsibility - being able to
                     intervene when necessary to ensure
                     child's safety


An investigation was completed by                               Licensing Staff, on 01/09/2020 and
the following standard(s) deficiencies were found:




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    748.2551(c)(2)   EBI Implementation-Caregiver must
                     use the minimal amount of reasonable
                     and necessary physical force


An investigation was completed by                             Licensing Staff, on 12/22/2019 and
the following standard(s) deficiencies were found:

    748.1101(b)(1)( Children's rights-Adhere to the child's
    B)              rights to be free of abuse, neglect, and
                    exploitation as defined in Texas Family
                    Code 261.401

    748.2307(1)      Other Prohibited Punishments-any
                     harsh, cruel, unusual, unnecessary,
                     demeaning, or humiliating
                     discipline/punishment

    748.2307(9)      Other Prohibited
                     Punishments-subjecting a child to
                     abusive or profane language


An investigation was completed by                           Licensing Staff, on 12/13/2019 and
the following standard(s) deficiencies were found:

    748.1101(b)(1)( Children's rights-Adhere to the child's
    B)              rights to be free of abuse, neglect, and
                    exploitation as defined in Texas Family
                    Code 261.401

    748.2303(a)      Corporal Punishment-May not
                     use/threaten corporal punishment,
                     such as hitting/spanking, forced
                     exercise, holding physical position,
                     unproductive work.

    748.2307(9)      Other Prohibited
                     Punishments-subjecting a child to
                     abusive or profane language




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    748.535(1)       Child-care administrator
                     responsibilities-Daily supervision and
                     on-site administrative responsibility for
                     the overall operation


An investigation was completed by                                Licensing Staff, on 12/05/2019 and
the following standard(s) deficiencies were found:

    748.1101(b)(1)( Children's rights-Adhere to the child's
    B)              rights to be free of abuse, neglect, and
                    exploitation as defined in Texas Family
                    Code 261.401

    748.2307(1)      Other Prohibited Punishments-any
                     harsh, cruel, unusual, unnecessary,
                     demeaning, or humiliating
                     discipline/punishment


An investigation was completed by                      Licensing Staff, on 11/02/2019 and the
following standard(s) deficiencies were found:

    748.2003(b)(5) Administration of prescription
                   medication-Ensure the child has taken
                   the medication as prescribed


An investigation was completed by                              Licensing Staff, on 09/26/2019 and
the following standard(s) deficiencies were found:

    748.2101(2)      Medication Storage-Keep medication
                     inaccessible other than to employees
                     responsible for stored medication


An inspection was conducted by                           Licensing Staff, on 09/25/2019 and the
following standard(s) deficiencies were found:

    748.1205(a)(10) Admission Documentation-Includes
                    known contraindications to the use of
                    restraint




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    748.1437(3)      Discharge/Transfer
                     Documentation-Must include name,
                     address, telephone number, and
                     relationship of person to whom child is
                     discharged

    748.2003(b)(2) Administration of Medication-Store
                   medication in the original container
                   unless there is an additional container
                   with the same label & instructions

    748.2101(3)      Medication Storage-Store medication
                     covered by Schedule II of the Texas
                     Controlled Substances Act under
                     double lock in a separate container

    748.2151(c)(6)   Medication record - must include
                     name & signature of person who
                     administered each medication

    748.2151(d)      Medication Record-must include
                     accurate daily count of each
                     prescribed medication, unless operate
                     on a cottage home model

    748.3239(d)      Evacuation-Must document fire and
                     severe weather drills, including date,
                     time, type of drill, and length of time
                     for evacuation/relocation

    748.3271(3)      First Aid Kits-Each one must be in
                     good condition and not have expired
                     medications or supplies

    748.3359(1)      Bedroom Space-Rooms commonly
                     used for other purposes cannot be
                     used as bedrooms


An investigation was completed by                          Licensing Staff, on 07/12/2019 and
the following standard(s) deficiencies were found:




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    748.2303(a)      Corporal Punishment-May not
                     use/threaten corporal punishment,
                     such as hitting/spanking, forced
                     exercise, holding physical position,
                     unproductive work.

    748.2307(9)      Other Prohibited
                     Punishments-subjecting a child to
                     abusive or profane language

    748.3353(c)      Monitoring Devices-Video cameras
                     may not be used to tape the child, and
                     images may not be accessible except
                     to operation employees and caregivers

    748.685(c)(6)    Implement and follow the children's
                     service plans.


An inspection was conducted by                         Licensing Staff, on 06/10/2019 and the
following standard(s) deficiencies were found:

    748.3443(a)(4) Food Preparation-Food items must be
                   stored in a container that is protected
                   from insects & rodents


An inspection was conducted by                         Licensing Staff, on 03/08/2019 and the
following standard(s) deficiencies were found:

    748.1103(a)      Informing child of rights-Review rights
                     with child/parents within 7 days of
                     child's admission; provide
                     child/parents with written copy of rights

    748.509          TB screening-Caregivers, employees,
                     volunteers, contract service providers
                     screened for TB before having contact
                     with children in care


An investigation was completed by                        Licensing Staff, on 02/13/2019 and the
following standard(s) deficiencies were found:




                                       Child-Care Licensing
                           5155 FLYNN PKWY, CORPUS CHRISTI, TX 78411
                                                 218
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    748.1101(b)(1)( Children's rights-Adhere to the child's
    B)              rights to be free of abuse, neglect, and
                    exploitation as defined in Texas Family
                    Code 261.401

    748.2461(a)(2) Short Personal Restraint-Caregiver
                   must use minimal amount of
                   reasonable and necessary physical
                   force


An investigation was completed by                                 Licensing Staff, on
01/16/2019 and the following standard(s) deficiencies were found:

    748.1101(b)(1)( Children's rights-Adhere to the child's
    B)              rights to be free of abuse, neglect, and
                    exploitation as defined in Texas Family
                    Code 261.401

    748.1101(b)(4)( Children's rights-The right to discipline
    B)              that is appropriate to the child's age,
                    maturity, and developmental level

    748.2455(a)(2) Emergency Behavior
                   Intervention-Basis for EBI is an
                   emergency situation or to administer
                   medication

    748.2551(a)      EBI Implementation-Must be an
                     appropriate response to the behavior
                     demonstrated, and de-escalation must
                     have failed


An investigation was completed by                      Licensing Staff, on 12/10/2018 and the
following standard(s) deficiencies were found:

    748.1101(b)(1)( Children's rights-Adhere to the child's
    B)              rights to be free of abuse, neglect, and
                    exploitation as defined in Texas Family
                    Code 261.401




                                       Child-Care Licensing
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    748.2461(a)(2) Short Personal Restraint-Caregiver
                   must use minimal amount of
                   reasonable and necessary physical
                   force


Within five (5) days of receipt of this letter, you must send a copy of this letter by certified mail
to the parents or managing conservator of each child currently enrolled in your operation, if
any. You must file the copies of the certified receipts with HHSC within five days after you
receive them. You must also notify anyone seeking to enroll a child in your operation of this
action.

You have the right to request an administrative review if you disagree with the decision to
impose adverse action. To request a review, you must send a written statement that includes
your reason for dispute to                     701 W 51ST ST, AUSTIN, TX 78751 (512) 438-3243
within fifteen(15) days of receipt of this letter. You may also expedite the adverse action by
sending a written statement that indicates your decision to waive your right to an
administrative review before the 15-day timeframe to submit the request expires. For
additional information concerning administrative reviews, please refer to 40* Tex. Admin. Code
§745.8809 - 8817.

If you do not request an administrative review, HHSC will issue you a decision notice
explaining your remaining due process rights.

You may not apply to HHSC for a child-care permit or be a controlling person at an operation
for five (5) years after the date that this adverse action takes effect.

Each controlling person with your operation will be designated as controlling and will receive a
letter offering an administrative review on that designation. A person's designation as a
controlling person will be sustained when the revocation and the due process for a designated
controlling person are final. A sustained controlling person cannot have a permit to operate a
child-care operation or be a controlling person for five years.

You must post this notice in a prominent place near all public entrances immediately
following receipt.

*Currently, Child Care Licensing rules are located in Title 40 of the Texas Administrative Code. The
rules will be transferred to Title 26 at a later date.




                                         Child-Care Licensing
                             5155 FLYNN PKWY, CORPUS CHRISTI, TX 78411
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Sincerely,




District Director




Enclosure(s):

cc:
                    CEO




                                      Child-Care Licensing
                          5155 FLYNN PKWY, CORPUS CHRISTI, TX 78411
                                             221
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Page2



      Standard/Rule                                                         TA Notification
                                 Specifics          Deficient? Comply By
       Description                                                         Given  Date
                            A staff member
        748.2307(9)         became
      Other Prohibited      escalated with a
Punishments-subjecting a    child in care by           y      01/03/2020    y    12/20/2019
child to abusive or profane yelling and using
          language          inappropriate
                            language.
                            A staff member
                            pushed and
         748.2303(a)
                            punched a child
 Corporal Punishment-May
                            in care. The
 not use/threaten corporal
                            result of this
   punishment, such as                                                       y
                            contact caused a           y      01/03/2020         12/20/2019
  hitting/spanking, forced
                            contusion of left
 exercise, holding physical
                            elbow and
   position, unproductive
                            shoulder, and
            work.
                            multiple
                            scratches.
                            A staff member
                            who was
                            physically and
                             verbally
                             aggressive with a
                             child in care had
          748.535(1)         previously been
  Child-care administrator counseled for the
    responsibilities-Daily   same
  supervision and on-site inappropriate                 y     01/03/2020     y   12/20/2019
        administrative       behavior months
    responsibility for the   prior to the
       overall operation     incident. There is
                             no indication the
                             administrator
                             took action to
                             develop and
                             supervise this
                             staffs behavior.




                                         Child-Care Licensing
                              8700 N STEMMONS FWY, DALLAS, TX 75247

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   FN 744




On Wed, May 20, 2020 at 3:44 PM Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us> wrote:
  Deborah and Kevin,

  I want to inform you that two residen[al providers will no longer be serving children in DFPS
  conservatorship.

  Children’s Hope (Washington Campus) has decided to end their contracts with DFPS and the SSCC. I
  believe as of today, all but one child has been moved to a new placement.

  Also, Hector Garza Residen[al Treatment Center will be phasing out their service to children in DFPS
  conservatorship. CPS and SSCC placement staﬀ are working closely with the clinical team at Hector Garza
  to ensure a seamless and therapeu[c transi[on for all children and youth while new placements are being
  secured. The process for moving children will take some [me, and must be done in a fashion that meets
  the needs of the children. Hector Garza has begun the process of no[fying facility staﬀ.

  It is important that both providers con[nue to provide needed services un[l new placements are secured.

  I will provide updates as more informa[on becomes available.

  Thank you.


  Rand Harris
  Associate Commissioner of Compliance, Coordina[on and Strategy
  Department of Family and Protec[ve Services
  512-438-3083




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   FN 745




---------- Forwarded message ---------
From: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
Date: Fri, May 22, 2020 at 11:48 AM
Subject: Children's Hope and Hector Garza
To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>, Kevin Ryan
<kevinmichaelryan1967@gmail.com>
Cc: Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>, Roper,Tiﬀany (DFPS)
<Tiﬀany.Roper@dfps.state.tx.us>, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>, Levy,Leslie M (DFPS)
<Leslie.Levy2@dfps.state.tx.us>, Shaw,Jean (HHSC/DFPS) <Darla.Shaw@hhsc.state.tx.us>, Kintzer,Corey D
(HHSC) <Corey.Kintzer@hhsc.state.tx.us>, Tacceaa,Kaysie E. (DFPS) <Kaysie.Tacceaa@dfps.state.tx.us>,
Flores,Rebecca M (so) (DFPS) <Rebecca.Flores@dfps.state.tx.us>


Deborah,

Contracts and CPS were actively monitoring the Quality Improvement Plan of Hector
Garza. After a deliberate and months-long monitoring process, the agency determined
that while improvements were being made, their particular model was not the direction
DFPS was going long-term. After mutual discussions, both parties agreed to develop a
plan to transition children and to end our contractual relationship with one another.

With Children’s Hope, the contractor reached out after DFPS further increased scrutiny
of the operation and indicated they would like to voluntarily terminate their contract.
The contract is worded in terms of DFPS taking the termination action for convenience,
which we are doing.

Thank you,
Rand


Rand Harris
512-438-3083

From: Deborah Fowler [mailto:dfowler@texasappleseed.net]
Sent: Wednesday, May 20, 2020 4:38 PM
To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
Cc: Kevin Fowler <kevinmichaelryan1967@gmail.com>; Carmical,Audrey (DFPS)
<Audrey.Carmical@dfps.state.tx.us>; Roper,Tiﬀany (DFPS) <Tiﬀany.Roper@dfps.state.tx.us>; Olah,Tara (DFPS)
<Tara.Olah@dfps.state.tx.us>; Levy,Leslie M (DFPS) <Leslie.Levy2@dfps.state.tx.us>; Shaw,Jean (HHSC/DFPS)
<Darla.Shaw@hhsc.state.tx.us>; Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>; Tacceaa,Kaysie E.
(DFPS) <Kaysie.Tacceaa@dfps.state.tx.us>; Flores,Rebecca M (so) (DFPS) <Rebecca.Flores@dfps.state.tx.us>
Subject: Re: Children's Hope and Hector Garza




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   WARNING: This email is from outside the DFPS system. Do not click on links or aaachments unless you
                      expect them from the sender and know the content is safe.
Thanks so much for legng us know, Rand.

I'm curious to know if DFPS Contracts or RCCL took some acion that precipitated these decisions - I have
been following the problems at Children's Hope and had talked with you all about concerns that we were
aware of, but I'm paricularly curious about Hector Garza.

Deborah Fowler
Execuive Director
Texas Appleseed
1609 Shoal Creek Blvd., Ste. 201
Ausin, TX 78701
512.473.2800, ext. 105
512.757.1458 (cell)
www.texasappleseed.org




On Wed, May 20, 2020 at 3:44 PM Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us> wrote:
  Deborah and Kevin,

  I want to inform you that two residenial providers will no longer be serving children in DFPS
  conservatorship.

  Children’s Hope (Washington Campus) has decided to end their contracts with DFPS and the SSCC. I
  believe as of today, all but one child has been moved to a new placement.

  Also, Hector Garza Residenial Treatment Center will be phasing out their service to children in DFPS
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  to ensure a seamless and therapeuic transiion for all children and youth while new placements are being
  secured. The process for moving children will take some ime, and must be done in a fashion that meets
  the needs of the children. Hector Garza has begun the process of noifying facility staﬀ.




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the needs of the children. Hector Garza has begun the process of noifying facility staﬀ.

It is important that both providers coninue to provide needed services unil new placements are secured.

I will provide updates as more informaion becomes available.

Thank you.


Rand Harris
Associate Commissioner of Compliance, Coordinaion and Strategy
Department of Family and Protecive Services
512-438-3083




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FN 746       Case 2:11-cv-00084 Document   904 Mail
                                   Texas Appleseed Filed   onChildren's
                                                       - Fwd: 07/07/20  Hopein TXSD
                                                                             and          Page 255 of 282
                                                                                 Hector Garza




 Fwd: Children's Hope and Hector Garza
 1 message




    ---------- Forwarded message ---------
    From: Kintzer,Corey D (HHSC) <Corey.Kintzer@hhsc.state.tx.us>
    Date: Fri, May 22, 2020 at 1:48 PM
    Subject: RE: Children's Hope and Hector Garza
    To: dfowler@texasappleseed.net <dfowler@texasappleseed.net>
    Cc: Kevin Ryan <kevinmichaelryan1967@gmail.com>, Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>,
    Roper,Tiffany (DFPS) <Tiffany.Roper@dfps.state.tx.us>, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>, Levy,Leslie M
    (DFPS) <Leslie.Levy2@dfps.state.tx.us>, Shaw,Jean (HHSC/DFPS) <Darla.Shaw@hhsc.state.tx.us>, Taccetta,Kaysie E.
    (DFPS) <Kaysie.Taccetta@dfps.state.tx.us>, Flores,Rebecca M (so) (DFPS) <Rebecca.Flores@dfps.state.tx.us>,
    Harris,Russ (HHSC) <Russ.Harris@hhsc.state.tx.us>, Lam,Taryn (HHSC) <Taryn.Lam@hhsc.state.tx.us>,
    Bingham,Joseph (HHSC) <Joseph.Bingham@hhsc.state.tx.us>, Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>



    Good afternoon, Deborah.


    RCCL is not planning any action against Children’s Hope as they have informed RCCL
    that they will relinquish their license once all the children are moved.



    With Hector Garza, RCCL is constantly evaluating the situation there. Although there
    is no corrective action currently planned, RCCL will reevaluate their history for such if
    we receive a new RTB from DFPS.

    Thank you.


    Corey D. Kintzer | Associate Director
    Litigation Department │ Legal Services Division

    4900 North Lamar, Mail Code: 1100

    Austin, TX 78751

    Office: 512-438-3274 │ Cell: 512-627-1183

    www.hhs.texas.gov │ www.dshs.texas.gov




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Megan Annitto

From:                                Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent:                                Wednesday, May 6, 2020 8:30 PM
To:                                  Kevin Ryan; Harris,Rand S (DFPS); Carmical,Audrey (DFPS); Kimberly Gdula
Cc:                                  dfowler@texasappleseed.net; Megan Annitto; Charmaine Thomas
Subject:                             RE: C.G.

Follow Up Flag:                      Follow up
Flag Status:                         Flagged



Kevin,

Staff are looking into this. I will be in touch with a response as soon as possible.

Thank you,

Tara

-----Original Message-----
From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
Sent: Wednesday, May 6, 2020 6:22 PM
To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>; Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>;
Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>; Kimberly Gdula <Kimberly.Gdula@oag.texas.gov>
Cc: dfowler@texasappleseed.net; mannitto@public-catalyst.com; Charmaine Thomas <cthomas@public-catalyst.com>
Subject: C.G.

WARNING: This email is from outside the DFPS system. Do not click on links or attachments unless you expect them from
the sender and know the content is safe.

Tara and Rand,

The C.G. video referenced in your email appears incomplete. The video clips stop at 20:25:28 and pick up again at
20:41:07. The investigation indicates video from 20:26:00 to 20:41:09 is relevant. Can you advise when you will make
that available to us?

Thank you,

Kevin Ryan




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Megan Annitto

From:                             Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent:                             Thursday, May 7, 2020 3:10 PM
To:                               Kevin Ryan
Cc:                               Harris,Rand S (DFPS); Carmical,Audrey (DFPS); Kimberly Gdula;
                                  dfowler@texasappleseed.net; Megan Annitto; Charmaine Thomas
Subject:                          RE: C.G.

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



Kevin,

It appears there were two videos labeled 2025. The one uploaded to SharePoint was only 24 seconds long. We have
uploaded the second video, titled "2025        becomes upset – crying," which is 15:36 and covers the time period
noted in your email below.

Thank you,

Tara

-----Original Message-----
From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
Sent: Wednesday, May 6, 2020 6:22 PM
To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>; Harris,Rand S (DFPS)
<Rand.Harris@dfps.state.tx.us>; Carmical,Audrey (DFPS)
<Audrey.Carmical@dfps.state.tx.us>; Kimberly Gdula
<Kimberly.Gdula@oag.texas.gov>
Cc: dfowler@texasappleseed.net; mannitto@public-catalyst.com; Charmaine Thomas
<cthomas@public-catalyst.com>
Subject: C.G.

WARNING: This email is from outside the DFPS system. Do not click on links or
attachments unless you expect them from the sender and know the content is safe.

Tara and Rand,

The C.G. video referenced in your email appears incomplete. The video clips stop at
20:25:28 and pick up again at 20:41:07. The investigation indicates video from
20:26:00 to 20:41:09 is relevant. Can you advise when you will make that available to
us?

Thank you,

Kevin Ryan


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Megan Annitto

From:                             Kevin Ryan <kevinmichaelryan1967@gmail.com>
Sent:                             Sunday, May 24, 2020 5:11 PM
To:                               Olah,Tara (DFPS)
Cc:                               Harris,Rand S (DFPS); Carmical,Audrey (DFPS); dfowler@texasappleseed.net; Megan
                                  Annitto
Subject:                          Re: C.G. Request

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



Tara,


Please advise when you are going to upload the complete records from C.G.’s placement.

Thank you,

Kevin Ryan




        On May 7, 2020, at 10:55 AM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us> wrote:


        Kevin,

        We have received your email and will be in touch with the information you requested.

        Thank you,

        Tara

        From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
        Sent: Thursday, May 7, 2020 9:00 AM
        To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
        Cc: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>; Carmical,Audrey (DFPS)
        <Audrey.Carmical@dfps.state.tx.us>; dfowler@texasappleseed.net; mannitto@public-catalyst.com
        Subject: C.G. Request

           WARNING: This email is from outside the DFPS system. Do not click on links or attachments
                  unless you expect them from the sender and know the content is safe.
        Attached is a request for additional information. I will send the password in a separate email.

        Kevin



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Megan Annitto

From:                          Kevin Ryan <kevinmichaelryan1967@gmail.com>
Sent:                          Wednesday, May 27, 2020 12:12 PM
To:                            Olah,Tara (DFPS)
Cc:                            Harris,Rand S (DFPS); Carmical,Audrey (DFPS); dfowler@texasappleseed.net; Megan
                               Annitto
Subject:                       Re: C.G. Request

Follow Up Flag:                Follow up
Flag Status:                   Flagged



Tara,

Do you have an update on this request?

Kevin Ryan




        On May 26, 2020, at 7:33 AM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us> wrote:


        Kevin,

        We are working with field staff to determine whether there are any
        additional documents beyond what we provided to you on 5.12.20 and
        5.19.20. We should be able to confirm this by COB today.

        Thank you,

        Tara


        From: "Kevin Ryan" <kevinmichaelryan1967@gmail.com>
        Date: Sunday, May 24, 2020 at 16:11:21
        To: "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>
        Cc: "Harris,Rand S (DFPS)" <Rand.Harris@dfps.state.tx.us>, "Carmical,Audrey (DFPS)"
        <Audrey.Carmical@dfps.state.tx.us>, "dfowler@texasappleseed.net"
        <dfowler@texasappleseed.net>, "mannitto@public-catalyst.com" <mannitto@public-
        catalyst.com>
        Subject: Re: C.G. Request

         WARNING: This email is from outside the DFPS system. Do not click on links or attachments
                 unless you expect them from the sender and know the content is safe.
        Tara,



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Please advise when you are going to upload the complete records from C.G.’s placement.

Thank you,

Kevin Ryan




       On May 7, 2020, at 10:55 AM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
       wrote:


       Kevin,

       We have received your email and will be in touch with the information you requested.

       Thank you,

       Tara

       From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
       Sent: Thursday, May 7, 2020 9:00 AM
       To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
       Cc: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>; Carmical,Audrey (DFPS)
       <Audrey.Carmical@dfps.state.tx.us>; dfowler@texasappleseed.net; mannitto@public-
       catalyst.com
       Subject: C.G. Request

        WARNING: This email is from outside the DFPS system. Do not click on links or
        attachments unless you expect them from the sender and know the content is
                                          safe.
       Attached is a request for additional information. I will send the password in a
       separate email.

       Kevin




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Megan Annitto

From:                            Kevin Ryan <kevinmichaelryan1967@gmail.com>
Sent:                            Wednesday, May 27, 2020 5:12 PM
To:                              Olah,Tara (DFPS)
Cc:                              Harris,Rand S (DFPS); Carmical,Audrey (DFPS); dfowler@texasappleseed.net; Megan
                                 Annitto
Subject:                         Re: C.G. Request

Follow Up Flag:                  Follow up
Flag Status:                     Flagged



Tara,

The records the State has provided refer to a treatment plan at the               for this child and describe
some of the contents of that plan. We have not found that treatment plan among the documents the State
provided, nor another document that contains the information described in the reference materials. Please advise
if that document exists and, if so, please provide it.

Kevin Ryan




        On May 26, 2020, at 7:33 AM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us> wrote:


        Kevin,

        We are working with field staff to determine whether there are any
        additional documents beyond what we provided to you on 5.12.20 and
        5.19.20. We should be able to confirm this by COB today.

        Thank you,

        Tara


        From: "Kevin Ryan" <kevinmichaelryan1967@gmail.com>
        Date: Sunday, May 24, 2020 at 16:11:21
        To: "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>
        Cc: "Harris,Rand S (DFPS)" <Rand.Harris@dfps.state.tx.us>, "Carmical,Audrey (DFPS)"
        <Audrey.Carmical@dfps.state.tx.us>, "dfowler@texasappleseed.net"
        <dfowler@texasappleseed.net>, "mannitto@public-catalyst.com" <mannitto@public-
        catalyst.com>
        Subject: Re: C.G. Request

           WARNING: This email is from outside the DFPS system. Do not click on links or attachments
                   unless you expect them from the sender and know the content is safe.

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Tara,

Please advise when you are going to upload the complete records from C.G.’s placement.

Thank you,

Kevin Ryan




        On May 7, 2020, at 10:55 AM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
        wrote:


        Kevin,

        We have received your email and will be in touch with the information you requested.

        Thank you,

        Tara

        From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
        Sent: Thursday, May 7, 2020 9:00 AM
        To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
        Cc: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>; Carmical,Audrey (DFPS)
        <Audrey.Carmical@dfps.state.tx.us>; dfowler@texasappleseed.net; mannitto@public-
        catalyst.com
        Subject: C.G. Request

         WARNING: This email is from outside the DFPS system. Do not click on links or
         attachments unless you expect them from the sender and know the content is
                                           safe.
        Attached is a request for additional information. I will send the password in a
        separate email.

        Kevin




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Megan Annitto

From:                              Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Sent:                              Wednesday, May 27, 2020 4:47 PM
To:                                Kevin Ryan
Cc:                                Harris,Rand S (DFPS); Carmical,Audrey (DFPS); dfowler@texasappleseed.net; Megan
                                   Annitto
Subject:                           RE: C.G. Request

Follow Up Flag:                    Follow up
Flag Status:                       Flagged



Kevin,

We have provided you with all records from                    . We are still working to obtain the records, but are
encountering difficulties due to the hospital being closed since December 2019. We will update you if the status of the
   records changes.

Thank you,

Tara

From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
Sent: Wednesday, May 27, 2020 11:12 AM
To: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
Cc: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>; Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us>;
dfowler@texasappleseed.net; mannitto@public-catalyst.com
Subject: Re: C.G. Request

WARNING: This email is from outside the DFPS system. Do not click on links or attachments unless you expect
                           them from the sender and know the content is safe.
Tara,

Do you have an update on this request?

Kevin Ryan



         On May 26, 2020, at 7:33 AM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us> wrote:


         Kevin,

         We are working with field staff to determine whether there are any
         additional documents beyond what we provided to you on 5.12.20 and
         5.19.20. We should be able to confirm this by COB today.


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Thank you,

Tara


From: "Kevin Ryan" <kevinmichaelryan1967@gmail.com>
Date: Sunday, May 24, 2020 at 16:11:21
To: "Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>
Cc: "Harris,Rand S (DFPS)" <Rand.Harris@dfps.state.tx.us>, "Carmical,Audrey (DFPS)"
<Audrey.Carmical@dfps.state.tx.us>, "dfowler@texasappleseed.net"
<dfowler@texasappleseed.net>, "mannitto@public-catalyst.com" <mannitto@public-
catalyst.com>
Subject: Re: C.G. Request

  WARNING: This email is from outside the DFPS system. Do not click on links or attachments
         unless you expect them from the sender and know the content is safe.
Tara,

Please advise when you are going to upload the complete records from C.G.’s placement.

Thank you,

Kevin Ryan



        On May 7, 2020, at 10:55 AM, Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>
        wrote:


        Kevin,

        We have received your email and will be in touch with the information you requested.

        Thank you,

        Tara

        From: Kevin Ryan [mailto:kevinmichaelryan1967@gmail.com]
        Sent: Thursday, May 7, 2020 9:00 AM
        To: Harris,Rand S (DFPS) <Rand.Harris@dfps.state.tx.us>
        Cc: Olah,Tara (DFPS) <Tara.Olah@dfps.state.tx.us>; Carmical,Audrey (DFPS)
        <Audrey.Carmical@dfps.state.tx.us>; dfowler@texasappleseed.net; mannitto@public-
        catalyst.com
        Subject: C.G. Request

         WARNING: This email is from outside the DFPS system. Do not click on links or
         attachments unless you expect them from the sender and know the content is
                                           safe.

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   Attached is a request for additional information. I will send the password in a
   separate email.

   Kevin




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Megan Annitto

From:                             Kevin Ryan <kevinmichaelryan1967@gmail.com>
Sent:                             Tuesday, May 5, 2020 1:24 PM
To:                               Rand S Harris; Audrey Carmical; Tara Olah; Kimberly Gdula
Cc:                               Deborah Fowler; Megan Annitto; Charmaine Thomas
Subject:                          Information request: C.G.

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



Rand and Tara,

With respect to C.G., who died 4/26/20, would you please provide us with all of the child’s medical, pharmacological and
mental/behavioral health records from February 13, 2020 to April 26, 2020, and the child’s complete records/files from
her last placement?

Thank you.


Kevin Ryan




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Email Footnote Citations Compendium

Below are all of the emails in order that are cited in the report and the corresponding footnote reference
is noted next to the cite; the email is bolded to indicate the first time that particular email was cited.



    •   Section I: Demographics of Children in PMC Care
    •   Section II: Overview of State Data and Data Systems Challenges
            o 32 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.,
                to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the
                Monitors) (attaching DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
            o   37 See TEX. HEALTH & HUMAN SERVS. COMM’N, Data Response Chart (Dec. 5, 2019) (on file with the

                Monitors) (stating that HHSC “is operations-centric not child-centric” and as a result cannot
                provide PMC identifiers of children involved in HHSC referrals); Email from Corey Kintzer, Assoc.
                Dir. of Litig. Dep’t, Health & Human Servs. Comm’n to Kevin Ryan and Deborah Fowler,
                Monitors (Mar. 24, 2020, 17:48 EST) (on file with the Monitors) (including HHSC Response to
                Monitors’ Feb. 21, 2020 Data and Information Request and stating that HHSC cannot provide
                investigation information specific to PMC children).
            o   41Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to

                Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the Monitors)
                (attaching DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
            o   43 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to

                Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the Monitors)
                (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request)
            o   45 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Kevin Ryan and

                Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors); Email from
                Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to Kevin Ryan
                and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the Monitors) (including
                DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
            o   47 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to

                Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the Monitors)
                (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request). For further
                discussion of DFPS’s challenges reporting on training of caseworkers, see infra Section V
                (discussing the incomplete reporting by DFPS of caseworker sex abuse training).
            o   48 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to

                Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the Monitors)
                (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
            o   50 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to

                Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the Monitors)
                (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
            o   53 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to

                Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the Monitors)
                (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
            o   54 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to

                Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the Monitors)
                (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
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         o   55 Email from Corey Kintzer, Assoc. Dir. of Legal Servs. Div., Health & Human Servs. Comm’n to
             Deborah Fowler, Monitor (May 5, 2020, 17:17 EST) (on file with the Monitors) (including HHSC
             response to Monitors’ Feb. 21, 2020 Data & Information Request).
         o   56 Email from Nancy Arrigona, Director of Research, Monitoring Team to Jane Burstain, Chief

             Data & Analytics Officer, Dep’t of Family & Protective Servs. (Apr. 14, 2020, 16:02 EST) (on file
             with the Monitors) (including questions to DFPS concerning RCCI Investigator caseload data).
         o   57 Email from Jane Burstain, Chief Data & Analytics Officer, Texas Dep’t of Family & Protective

             Servs. to Deborah Fowler (Apr. 24, 2020, 15:22 EST) (on file with the Monitors) (including DFPS
             response to questions sent by the Monitoring Team on Apr. 14, 2020).

 •   Section III: Screening, Intake and Investigation of Maltreatment in Care Allegations

     RO 3
         o   80 Email  from Rand Harris, Assoc. Comm’r of Compliance, Coordination & Strategy, Dep’t of
             Family & Protective Servs. to Kevin Ryan, Monitor (Mar. 11, 2020, 18:09 EST) (on file with the
             Monitors) (“Child Care Investigations (CCI) policy is not in conflict with the Texas
             Administrative Code (TAC) rule you mention as that rule applies solely to Child Protective
             Investigations (CPI). For the purpose of CCI intakes, if the information is too vague or general,
             contact may occur with the reporter or other individuals in order to obtain clarifying
             information, as outlined in the Prioritization Guidelines.”)
         o   105Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,

             Office of Att’y Gen. of Tex. (Sept. 30, 2019, 17:14 EST) (including Monitors’ Sept. 30, 2019 Data
             & Information Request) (on file with the Monitors).
         o   107 The Monitors’ request included: intake stage ID number; investigation stage ID number;

             person ID (for all alleged PMC victims); county where maltreatment is alleged; most recent
             investigator name and ID; date and time investigation stage started; program conducting
             investigation; child’s placement type at intake; placement resource at time of intake; the manner
             of initiation (action taken by the investigator that triggered the start of the investigation); the
             date/time of face to face contacts with alleged victim(s) as applicable noting any and all untimely
             face to face contacts and the reason(s) for any approved extensions to the face to face contact
             timeframe; the relationships of the alleged perpetrator(s) to the child-victims. For closed
             investigations, the Monitors’ request included: date the investigation is completed; date
             documentation is completed and submitted to the supervisor; the status of all allegations
             involving all PMC children; overall investigation disposition; the reason(s) for all approved
             extensions to the investigation completion date/time (when applicable); the date any notification
             letters are sent to parents, providers and/or referents. See also Email from Kevin Ryan and
             Deborah Fowler, Monitors, to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex.
             (Oct. 28, 2019, 09:54 EST) (on file with the Monitors).
         o   111 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

             to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the
             Monitors) (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
     RO 5-11,16,18
        o 185 Id. On October 28, 2019, the Monitors responded to DFPS, further stating: “With respect to
             Remedial Orders 3, 5-10, 12-19 and B-5 (Monitoring and Oversight), discussed on pages 5 and 6
             of the DFPS Proposal, the monitors confirm that DFPS is to provide the following information and
             data from ALL investigations opened during the period involving any child in PMC General Class:
             Intake stage ID number; Investigation stage ID number; Person ID (for all alleged PMC victims);
             County where maltreatment is alleged; Most recent investigator name and ID; Date and time
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          investigation stage started; Program conducting investigation; Child’s placement type at intake;
          Placement resource at time of intake; the manner of initiation (action taken by the investigator
          that triggered the start of the investigation); the date/time of face to face contacts with alleged
          victim(s) as applicable noting any and all untimely face to face contacts and the reason(s) for any
          approved extensions to the face to face contact timeframe; the relationships of the alleged
          perpetrator(s) to the child-victims. With respect to the Remedial Orders 3, 5-10, 12-19 and B-5
          (Monitoring and Oversight), discussed on pages 5 and 6 of the DFPS Proposal, the monitors
          confirm that DFPS is to provide the following information and data from ALL investigations closed
          during the period involving any child in the PMC General Class: Intake stage ID number;
          Investigation stage ID number; Person ID(for all alleged PMC victims); County where
          maltreatment is alleged; Most recent investigator name and ID; Date and time investigation
          stage started; Program conducting investigation; Date the investigation completed; Date
          documentation is completed and submitted to the supervisor; the status of all allegations
          involving all PMC children; overall investigation disposition; the reason(s) for all approved
          extensions to the investigation completion date/time (when applicable); the date any
          notification letters are sent to parents, providers, and and/or referents. With respect to
          Remedial Orders 3, 5-10, 12-19 and B-5(Monitoring and Oversight), discussed on pages 5 and 6 of
          the DFPS Proposal, the monitors requested data and information to determine for the court
          which active investigations are overdue for completion. DFPS wrote in the DFPS Proposal that
          “Due to an IMPACT 2.0 issue, which the DFPS IT division is addressing, DFPS is currently unable to
          report on timeframes for extensions or timely completion [of investigations],” which the
          monitors will report to the Court.” Email from Kevin Ryan and Deborah Fowler, Monitors, to
          Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. (Oct. 28, 2019, 09:54 EST) (on file
          with the Monitors).
      o   187 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Kevin Ryan and

          Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (including DFPS
          response to Monitors’ Sept. 30, 2019 Data & Information Request, and stating that “a separate
          listing report will be provided from a case read regarding initiation, face-to-face contact including
          exceptions”); TEX. DEP’T OF FAMILY & PROTECTIVE SERVS., Data Dictionary for Reports due 11.15.19
          (on file with the Monitors) (stating that DFPS cannot provide “Time of any contact; Date and time
          of face-to-face contact with all alleged victims; Exceptions to timely FTF contact”)
      o   189 TEX. DEP’T OF FAMILY & PROTECTIVE SERVS., Data Dictionary for Reports due 11.15.19 (on file with
          the Monitors); Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family &
          Protective Servs. to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file
          with the Monitors) (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information
          Request). The State anticipated reporting the time stamp for face-to-face contact with each
          alleged child-victim by April 15, 2020 and on approved extensions (or exceptions) to face-to-face
          contact by July 15, 2020. The Monitors reviewed the April 15, 2020 data and found that the data
          field has been added to the April data production and, thus far, in most cases the State was
          unable to report the date and timestamp for face-to-face contact with each alleged victim, as this
          field was blank or had a timestamp of 12:00:00 am; the Monitors also noted that investigations
          involving multiple alleged victims had the same date and timestamp listed for each alleged
          victim. The State noted in the Data Dictionary attached to the file: This functionality rolled out in
          IMPACT on 12-19-19 so any contacts made prior to 12-19-19 will likely be blank. Blank cells can
          indicate that face-to-face contact has been made but not documented in this specific field, has
          not yet been made or can reflect a case has been or will be administratively closed in which case
          face-to-face contact is not required. If the timestamp is 12:00:00, it generally means that there
          was no timestamp entered. To the extent a contact was not made within the 24/72 hour
          timeframe, there may have been an exception but data reporting on exceptions will not be
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          available until Q3 FY 20. TEX. DEP’T OF FAMILY & PROTECTIVE SERVS., Data file RO3.2 RCI
          Investigations Q2 FY 20 - Apr-15-20- 98263 (Apr. 15, 2020) (on file with the Monitors).
      o   190 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Kevin Ryan and

          Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (including DFPS
          response to Monitors’ Sept. 30, 2019 Data & Information Request); TEX. DEP’T OF FAMILY &
          PROTECTIVE SERVS., Data Dictionary for Reports due 11.15.19 (on file with the Monitors).
      o   194 After reviewing the case read reports that DFPS submitted to the Monitors to report on

          investigation performance, the Monitors requested clarification about why the reports used a
          methodology to measure initiation that was not consistent with the DFPS policy that specifically
          requires initiation through face-to-face contact with all alleged child victims in cases involving
          multiple children. DFPS responded to the Monitors’ question by producing new case read reports
          that measured initiation using the correct policy and updated methodology. DFPS stated:
          “Historically, CCI interpreted policy to mean that investigation initiation is met by making face-to-
          face contact with the alleged victim, unless an exception is granted. While all alleged victims
          should be observed or interviewed within the required time frames, in these case reads, CCI
          determined that the investigation initiation was met when contact was made with at least one
          alleged victim, or by other means if an exception to the face-to-face contact with the alleged
          victim was granted. The case reading measured timely contact with all alleged victims as a
          separate measure. The CCI Quality Assurance Team (QAT) has reevaluated data in the November
          2019 and January 2020 case read reports for compliance with investigation initiation time frames
          based on strict interpretation of CCI Policy and Field Communication #008. The results of the CCI
          QAT’s reevaluation is in the attached addendums, in which investigations are only credited for
          timely initiation if all alleged victims were interviewed. Future case read reports will do the
          same.” Email from Tara Olah, Dir. of Implementation & Strategy, Tex. Dep’t of Family &
          Protective Servs. to Kevin Ryan, Monitor (Apr. 3, 2020, 13:46 EST) (on file with the Monitors)
          (including DFPS Response to Monitors’ question regarding DFPS case reads performance
          measurement for initiation with alleged victims). Thus, DFPS provided to the Monitors an
          addendum report, reflecting the same time-periods as the initial reports: TEX. DEP’T OF FAMILY &
          PROTECTIVE SERVS., Addendum to the Residential Child Care Investigations Cohort and Non-Cohort
          Reports. In the Addendum report, DFPS explains that “[w]hile the new policies have not been
          officially updated in the CCI Handbook, a Field Communication was disseminated to field staff
          delineating changes to face-to-face contact with victims and documenting exceptions.” Id. It
          further states that some of the cases it evaluated during this time period were opened in 2018
          and early 2019. Id.
      o   218 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

          to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the
          Monitors) (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
      o   220 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

          to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the
          Monitors) (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).

      RO A6
      o   235 Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,
          Office of Att’y Gen. of Tex. (Sept. 30, 2019, 17:14 EST) (on file with the Monitors) (including
          Monitors’ Sept. 30, 2019 Data & Information Request).
      o   237 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Deborah Fowler

          and Kevin Ryan, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (responding to
          Monitors’ Sept. 30, 2019 Data & Information Request).
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      o    238 Email from Frances Townsend, Att’y, Litigation Dep’t, Tex. Health & Human Servs. Comm’n,

           to Deborah Fowler, Court Monitor (Oct 30, 2019, 17:31 EST) (on file with the Monitors)
           (responding to Monitors’ Sept. 30, 2019 Data & Information Request).




   RO B5
      o    253 Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,

           Office of Att’y Gen. of Tex. (Sept. 30, 2019, 17:14 EST) (emphasis added) (on file with the
           Monitors) (including Monitors’ Sept. 30, 2019 Data & Information Request).
      o    254 Email from Kevin Ryan, Monitor to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of

           Tex. (Feb. 21, 2020, 17:54 CST).
      o    256 Email from Tara Olah, Director of Implementation & Strategy, Dep’t of Family & Protective

           Servs., to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 16:49 CST) (on file with the
           Monitors).

   RO 37
      o    282 Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,

           Office of Att’y Gen. of Tex. (Sept. 30, 2019, 17:14 EST) (on file with the Monitors) (including
           Monitors’ Sept. 30, 2019 Data & Information Request); see also Letter from Deborah Fowler,
           Monitor, to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. (Sept. 30, 2019) (on
           file with the Monitors).
      o    283 Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,

           Office of Att’y Gen. of Tex. (Sept. 30, 2019, 17:14 EST) (on file with the Monitors) (including
           Monitors’ Sept. 30, 2019 Data & Information Request).
      o    284 Email from Andrew Stephens, Ass’t Att’y General, Office of Att’y General of Tex. to Kevin Ryan

           and Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (including
           response to Monitors’ Sept. 30, 2019 Data & Information Request).
      o    285 Email from Kevin Ryan and Deborah Fowler, Monitors, to Andrew Stephens, Ass’t Att’y

           General, Office of Att’y General of Tex. (Oct. 28, 2019 08:53 CST) (on file with the Monitors)
           (including Monitor’s response to the State’s Data Request Proposal).
      o    286 Email from Tara Olah, Director of Implementation & Strategy, Tex. Dep’t of Family &

           Protective Servs. to Deborah Fowler and Kevin Ryan, Monitors (Jan. 29, 2020, 19:15 CST)
           (regarding RO37 - Home History Reviews process, documentation, timeframes) See TEX. DEP’T OF
           FAMILY & PROTECTIVE SERVS., Home History Review Process and Screen Shots (Jan. 29, 2020) (on file
           with the Monitors).
      o    287 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

           to Kevin Ryan and Deborah Fowler, Monitors (Jan. 29, 2020, 19:15 CST) (regarding RO37 - Home
           History Reviews (process, documentation, timeframes)); See TEX. DEP’T OF FAMILY & PROTECTIVE
           SERVS., Home History Review Process and Screen Shots (Jan. 29, 2020) (on file with the Monitors).
      o    288 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

           to Kevin Ryan and Deborah Fowler, Monitors (Jan. 29, 2020, 19:15 CST) (regarding RO37 - Home
           History Reviews (process, documentation, timeframes); TEX. DEP’T OF FAMILY & PROTECTIVE SERVS.,
           Home History Review Process and Screen Shots (Jan. 29, 2020) (on file with the Monitors).
      o    289 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

           to Kevin Ryan and Deborah Fowler, Monitors (Jan. 29, 2020, 19:15 CST) (regarding RO37 - Home
           History Reviews process, documentation, timeframes); TEX. DEP’T OF FAMILY & PROTECTIVE SERVS.,
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            IMPACT Enhancement Reference Doc 1.28.20 (“[R]eporting on this data element cannot
            commence until after the IT data team builds the needed data warehouse tables and DDS builds
            the corresponding report. Date of PN notification to CVS caseworkers and supervisors should be
            included in the RO3.1 RCI and CPI Intakes report due July 15, 2020. DDS and IT are meeting on
            January 29, 2020 to confirm.”).
        o   290 Email from Kevin Ryan, Monitor, to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of
            Tex. (Feb. 21, 2020, 17:54 CST) (on file with the Monitors) (including Monitors’ Feb. 21, 2020
            Data & Information Request).
        o   291 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

            to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 16:49 CST) (on file with the
            Monitors) (responding to Monitors’ Feb. 21, 2020 Data & Information Request).
        o   292 Email from Deborah Fowler, Monitor, to Tara Olah, Dir. of Implementation & Strategy, Tex.

            Dep’t of Family & Protective Servs. (Mar. 9, 2020, 9:55 EST) (regarding request for additional
            copies of completed home history reviews).
        o   300 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

            to Kevin Ryan and Deborah Fowler, Monitors (Jan. 29, 2020, 19:15 CST) (regarding RO37 - Home
            History Reviews (process, documentation, timeframes); TEX. DEP’T OF FAMILY & PROTECTIVE SERVS.,
            Home History Review Process and Screen Shots (Jan. 29, 2020) (on file with the Monitors).
 •   Section IV: Organizational Capacity

     RO 1
        o   312 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

            to Kevin Ryan and Deborah Fowler, Monitors (Jan. 15, 2020, 23:47 CST) (on file with the
            Monitors).
        o   323 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

            to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 16:49 CST) (on file with the
            Monitors).
     RO 2
        o   332 Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,

            Office of Att’y Gen. of Tex. (Sept. 30, 2019, 17:14 EST) (on file with the Monitors) (including
            Monitors’ Sept. 30, 2019 Data & Information Request); see also Email from Kevin Ryan and
            Deborah Fowler, Monitors, to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex.
            (Oct. 28, 2019, 09:54 EST) (on file with the Monitors).
        o   333 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Kevin Ryan and

            Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (attaching DFPS
            response to Monitors’ Sept. 30, 2019 Data & Information Request).
        o   334 Id. Because a forty-five day lag impedes the Monitors’ ability to complete timely verification of

            compliance with Remedial Order Two on behalf of the Court, the Monitors did not agree to this
            proposed timeframe. DFPS confirmed more recently that it remains unable to process the data in
            a timeframe that is less than forty-five days. See Email from Tara Olah, Dir. of Implementation &
            Strategy, Dep’t of Family & Protective Servs. to Kevin Ryan and Deborah Fowler, Monitors (Mar.
            24, 2020, 17:49 EST) (on file with the Monitors) (attaching DFPS response to Monitors’ Feb. 21,
            2020 Data & Information Request).
        o   335 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Kevin Ryan and

            Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (attaching DFPS
            Information and Data Request Proposal in response to the Monitors’ Sept. 30, 2019 Data and
            Information request).
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      o   336 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.
          to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020 17:49 EST) (attaching DFPS response
          to Feb. 21, 2020 Data and Information Request). The Monitors did not receive the October 2019
          data as initially requested; the State reported a problem to the Monitors about its data
          extraction for graduated caseloads. The Monitors eventually received all graduated caseload
          data for September through November 2019 when the State resubmitted the data on January 15,
          2020 after a correction in its process. In this reporting period, DFPS produced four data files in
          response to the Monitors’ request for a list of CVS caseworkers subject to graduated caseloads
          on the following dates: (1) file produced on November 15, 2019 reporting September 2019 data;
          (2) file produced on January 15, 2020 reporting September-November 2019 data; (3) file
          produced on February 18, 2020 reporting October-December 2019 data, and (4) file produced on
          March 16, 2020 reporting January 2020 data.
      o   337 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

          to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49 EST) (on file with the
          Monitors) (attaching DFPS response to Monitors’ February 21, 2020 Data & Information Request
          update). (“Providing the caseload on each day and comparing to a threshold for each day
          requires complex coding. We will research how and when we can provide the requested
          information.”). Because of the agency’s policy with a variable standard by county based on
          average caseloads within that county throughout the month, the data the Monitors requested is
          necessary for validation of the State’s performance under Remedial Order Two during the period
          at issue.

   ROs 35, A1, A2, A3, A4
      o   349 Email from Kevin Ryan, Monitor to Dep’t of Family & Protective Servs. (Feb. 4, 2020, 13:36

          EST) (on file with the Monitors).
      o   350 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

          to Kevin Ryan and Deborah Fowler, Monitors (Feb. 18, 2020, 21:41 EST) (on file with the
          Monitors).
      o   351 Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,

          Office of Att’y Gen. of Tex. (Sept. 30, 2019, 5:14 EST) (on file with the Monitors) (including
          Monitors’ Sept. 30, 2019 Data & Information Request in attachment)
      o   352 Email from Kevin Ryan and Deborah Fowler, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,

          Office of Att’y Gen. of Tex. (Oct. 28, 2019, 09:54 EST) (on file with the Monitors).
      o   357 CVS Specialists I, II, III, IV, V staff accounted for 1,418 staff or 96.9 percent of all the staff listed

          by DFPS carrying at least one PMC child’s case. For caseload calculations, the Monitors included
          Possessory Conservatorship cases that Texas excluded from their caseload count (this impacted
          seven workers). For this report, the Monitors eliminated from the analysis staff with other titles
          because they account for a relatively small number of staff (45) carrying a small number of PMC
          children. Staff with eight other titles accounted for the remaining 45 staff (3.1%) percent of all
          the staff listed. Of the 45 staff, 29 held titles of CVS Supervisor I or II. Going forward, the
          Monitors will include all supervisors carrying at least one PMC case in reporting to the Court for
          Remedial Orders Thirty-Five and A-Four. The State advised the Monitors that “the supervisor to
          staff ratio for CVS is 1:7.” Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of
          Family & Protective Servs., to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 17:49
          EST) (on file with the Monitors). Therefore, when assessing the workloads of supervisors who
          carry at least one PMC child’s case, the Monitors will assign a weight of 14.29% for each
          supervised caseworker (100% - a full workload - divided by seven) and 5.88% (100% - a full
          workload - divided by the agreed-upon standard of seventeen cases) for each PMC/TMC child
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            managed directly by the supervisor. So, for example, a supervisor who supervises six caseworkers
            is dedicated 85.74% of the time to supervision (six workers x 14.29%). If that supervisor also
            serves as the primary case manager for one child, an additional 5.88% weight is added to their
            workload, yielding 91.62% of a workload, which is below the supervisor’s 100% availability and
            within the standard. If the supervisor supervises six caseworkers and serves as the primary case
            manager for four children, an additional 23.52% weight (5.88% x four) is added to their workload
            of six supervision assignments (85.74% + 23.52%) yielding 109.26% of a caseload, which is
            greater than 100 percent of their availability.
       o    359 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective

            Servs., to Kevin Ryan and Deborah Fowler, Monitors (Feb. 28, 2020, 22:54 EST) (attaching
            information) (on file with the Monitors).
       o    360 Email from Kevin Ryan, Monitor, to Tara Olah, Dir. of Implementation & Strategy, Dep’t of
            Family & Protective Servs. (Mar. 2, 2020, 11:04 EST) (on file with the Monitors).

       o    361 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.
            (Mar. 16, 2020, 22:53 EST) (on file with the Monitors). Although IMPACT includes a drop-down
            option for caseworkers to indicate “Estimated Time with Client(s),” the Monitors’ review of
            numerous IMPACT records shows that workers infrequently utilize this option. Moreover, even if
            caseworkers used the option more often, DFPS cannot compile the information into a data
            report. DFPS did offer that:
                      Although we cannot presently track aggregate data on time spent on secondary
            assignments, we have the average number of days secondary assignments remain on a CVS
            caseworker or supervisor’s workload. Statewide, average timeframes for all secondary
            assignments for all SUB stages are as follows: CVS caseworker (86 days) and CVS supervisor (187
            days). Since most conservatorship stages are open 12-18 months at a minimum, average
            timeframes for all secondary assignments for all SUB stages are considerably shorter than the
            average substitute care case time.

       o     362 DFPS may give conservatorship (CVS) caseworkers secondary assignments, in addition to their
             primary assignments, that require them to provide courtesy supervision. Under DFPS policy,
             courtesy supervision is required when:
             • A parent resides outside of the child’s legal region.
             • A child or youth in conservatorship is placed outside of the region that has legal jurisdiction and
   is residing with a parent.
             • A child or youth is placed in an adoptive home outside of the region that has legal jurisdiction.
   An adoption preparation worker is assigned as secondary.
             • A child or youth is placed in Texas from another state.
             • A child or youth is residing in a General Residential Operation for children with intellectual
   disabilities.
             • A child or youth is placed in an intermediate care facility for individuals with intellectual
   disabilities.
             • A child or youth is placed in a nursing home…
             • CVS caseworkers may also be assigned secondary when children or youth have been removed
   from their custodian by Child Protective Investigation, and the case has not yet been transferred to
   conservatorship. In general, cases are transferred to CVS after the Adversary Hearing.
   Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs., to Kevin
   Ryan and Deborah Fowler, Monitors (Feb. 28, 2020, 22:54pm EST) (on file with the Monitors).

   ROs B1, B2, B3, B4
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      o   368 Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,
          Office of Att’y Gen. of Tex. (Sept. 30, 2019, 17:14 EST) (on file with the Monitors) (including
          Monitors’ Sept. 30, 2019 Data & Information Request).
      o   369 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Kevin Ryan and

          Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (including DFPS
          response to Monitors’ Sept. 30, 2019 Data & Information Request).
      o   370 Email from Frances Townsend, Att’y, Litigation Dep’t, Health & Human Servs. Comm’n to

          Deborah Fowler, Monitor (Nov. 15, 2019, 18:02 EST) (on file with the Monitors) (responding to
          Monitors’ Sept. 30, 2019 Data & Information Request).
      o   371 Email from Kevin Ryan, Monitor, to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of
          Tex. (Feb. 21, 2020, 17:54 EST) (on file with the Monitors) (including Feb. 21, 2020 Data &
          Information Request).
      o   374 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.
          to Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2020, 16:49 EST) (on file with the
          Monitors) (including DFPS response to Monitors’ Feb. 21, 2020 Data & Information Request).
      o   375 Email from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to

          Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2019, 17:48 EST) (on file with the Monitors)
          (including HHSC response to Monitors’ Feb. 21, 2020 Data & Information Request).
      o   376 Email from Rand Harris, Assoc. Comm’r of Compliance, Coordination & Strategy, Dep’t of

          Family & Protective Servs., to Kevin Ryan and Deborah Fowler, Monitors (Apr. 13, 2020 17:37
          CST).
      o   377 Email from Jane Burstain, Chief Data & Analytics Officer, Dep’t of Family & Protective Servs. to

          Deborah Fowler, Monitor (Apr. 24, 2020 15:22 CST) (on file with the Monitors).
      o   378 Email from Tara Olah, Dir. of Information & Strategy, Tex. Dep’t of Family & Protective Servs.

          to Kevin Ryan and Deborah Fowler, Monitors (Feb. 18, 2020, 20:41 EST) (including DFPS response
          regarding comments on the CVS, CCI and CCL Draft Workload Standards/Guidance) (on file with
          the Monitors).

      o   404 Email from Jane Burstain, Chief Data & Analytical Officer, Dep’t of Family & Protective Servs.
          (May 18, 2020, 20:26 EST) (on file with the Monitors) (regarding meeting invite to discuss
          Residential Child Care Investigation (RCCI) caseloads). According to DFPS:
               For CCI’s purposes a unit is a group of individuals, with similar job functions who report to
          one supervisor who is responsible for managing and overseeing the work produced each unit
          member. CCI does try to house unit staff and its supervisor in the same region or office,
          whenever possible. However, due to the program’s size, and the limited number of positions, it
          isn’t always feasible or efficient to house all unit members in the same region or office. We
          provided the offices in which each unit is housed but it will not necessarily be reflective of the
          area in which they cover cases. Staff generally work cases in the region where they are housed
          and we have at least one staff person housed in each of the 11 regions. There are circumstances,
          however, where staff may work investigations in a different region as part of the backlog project
          or at times when a child care operation may be in a different region, but is geographically closer
          to an investigator across regional lines.

      o   405 When the Monitors asked DFPS to suggest how to determine the number of staff needed to

          meet the caseload guidelines, the agency responded with the following options: “Option 1: Take
          the total number of investigations and divide by the total number of caseworkers; Option 2:
          Average the caseloads of all caseworkers; Option 3: Take the total number of investigations and
          divide by 17 (the upper limit of the caseload guidelines) and subtract the total number of
          caseworkers already working cases.” Email from Jane Burstain, Chief Data & Analytics Officer,
          Dep’t of Family & Protective Servs., to Deborah Fowler, Monitor (Apr. 24, 2020, 15:22 PM CST).
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             However, the interviews with investigators and the need to shift cases between workers as part
             of the “backlog project,” discussed herein, clearly indicate that some investigators have higher
             caseloads than others. Each of the options described would obscure that reality.
         o   406Email from Rand Harris, Assoc. Comm’r for Compliance, Coordination & Strategy, Dep’t of

             Family & Protective Servs. to Kevin Ryan and Deborah Fowler, Monitors (Apr. 09, 2020, 19:32
             EST) (on file with the Monitors) (regarding RCCI backlog plan update).
         o   407 Email from Rand Harris, Assoc. Comm’r of Compliance, Coordination & Strategy, Dep’t of

             Family & Protective Servs. to Deborah Fowler and Kevin Ryan, Monitors (Apr. 10, 2020, 8:47
             EST) (on file with the Monitors) (regarding RCCI Backlog Plan Update).
         o   409 Email from Rand Harris, Assoc. Comm’r of Compliance, Coordination & Strategy, Dep’t of

             Family & Protective Servs. to Deborah Fowler and Kevin Ryan, Monitors (Apr. 10, 2020, 9:33
             EST) (on file with the Monitors) (regarding RCCI Backlog Plan Update).
 •   Section V: Preventing Child-on-Child Sexual Aggression

     RO32
        o    424 Email from Deborah Fowler, Monitor, to Andrew Stephens, Ass’t Att’y Gen., Office of the Att’y
             Gen. of Tex. (Sept. 30, 2019, 16:14 CST).
         o   426 Email from Deborah Fowler, Monitor, to Andrew Stephens, Ass’t Att’y Gen., Office of the Att’y

             Gen. of Tex. (Sept. 30, 2019, 16:14 CST) (on file with the Monitors).
         o   429 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Kevin Ryan and

             Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (submitting DFPS
             Information and Data Request Proposal in response to Monitors’ Sept. 30, 2019 Data &
             Information Request).
         o   436 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective

             Servs., to Deborah Fowler, Monitor (May 15, 2020, 15:52 CST) (including DFPS response to
             Praesidium report) (attached as Appendix 5.3).
     ROs 23, 28, 24, 30
        o 458 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective
             Servs., to Kevin Ryan and Deborah Fowler, Monitors (Oct. 25, 2019, 6:21 EST) (on file with the
             Monitors) (responding to questions raised related to IMPACT enhancements and defect
             resolutions).
     RO 4
        o    487 The Monitors requested inclusion of the name and identification number of the caseworkers;

             and the names, identification numbers, and addresses of the caregivers for the first report and
             regular quarterly reporting. Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew
             Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. (Sept. 30, 2019, 17:14 EST) (on file with the
             Monitors) (including Monitors’ Sept. 30, 2019 Data & Information Request); see also Email from
             Kevin Ryan and Deborah Fowler, Monitors, to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y
             Gen. of Tex. (Oct. 28, 2019, 09:54 EST) (on file with the Monitors). In response to the October 18,
             2019 proposal provided by DFPS in response to the Monitors’ Data and Information Request, the
             Monitors stated:
                                With respect to Remedial Orders 4 and 32 (Sexual Abuse Training), discussed
                      on page 7 of the DFPS Proposal, the monitors have carefully reviewed the email from
                      Tara Olah dated October 25, 2019, on behalf of DFPS proposing to provide the monitors
                      with “attestations from operations serving PMC children, certifying that their caregivers
                      serving PMC children have received the mandated training. In addition, operations will
                      provide quarterly reports to DFPS that include the following data for caregivers serving
                      PMC children: date caregiver completed Sexual Abuse training; caregiver name;
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                     caregiver ID number; and caregiver address. DFPS will aggregate these quarterly reports
                     and submit them to the monitors. The first quarterly report will be submitted to the
                     monitors by December 1, 2019.” The monitors request that the operation attestations
                     list all of the names of caregivers serving PMC children who completed the mandated
                     training, and all of the names of the caregivers serving PMC children who did not
                     complete the mandated training as of the date of attestation.
       o   488 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Kevin Ryan and

           Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (including DFPS
           Information and Data Request Proposal, in response to Monitors’ Sept. 30, 2019 Data &
           Information Request).
       o   491 DFPS indicated that the training dates included are for either a course entitled Child Sexual

           Aggression – Course #0003632; or a subsequent updated version entitled Child Sexual Aggression
           FY19 – Course #0003805. Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of
           Family & Protective Servs. to Megan Annitto, Monitoring Team (Apr. 6, 2020, 18:11 EST) (on
           file with the Monitors) (including response to Questions about RO 4 Caseworker Files); Email
           from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to
           Megan Annitto (Apr. 30, 2020, 12:44 EST) (on file with the Monitors) (including DFPS Response
           to Questions about RO 4 Caseworker Files). Both caseworker data files include all DFPS
           caseworkers, which includes those serving children in PMC but does not distinguish them
           separately. See RO4.1 CVS Caseworker CSA Training as of 11-7-19 – Nov-15-19 -96402 (Nov. 15,
           2019) (on file with the Monitors); RO.4 CVS Caseworker completion of Sex Abuse Training Q1
           FY20 – 2-17-20 – 96784 (Feb. 17, 2020) (on file with the Monitors).
       o   492 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

           to Megan Annitto, Monitoring Team (Apr. 30, 2020, 12:44 EST) (on file with the Monitors)
           (including DFPS Response to Questions about RO 4 Caseworker Files).
       o   493 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Kevin Ryan and

           Deborah Fowler, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (including DFPS
           response to Monitors’ Sept. 30, 2019 Data & Information Request).

   ROs 25, 26, 27, 29, 31
       o   529 Email from Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Deborah Fowler

           and Kevin Ryan, Monitors (Oct. 18, 2019, 18:00 EST) (on file with the Monitors) (including DFPS
           response to Monitors’ Sept. 30, 2019 Data & Information Request).
       o   532 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective

           Servs., to Deborah Fowler and Kevin Ryan, Monitors (Nov. 8, 2019, 16:59 PM CST) (on file with
           the Monitors).
       o   534 Email from Kevin Ryan, Monitor, to Andrew Stephens, Ass’t Att’y General, Office of Att’y Gen.

           of Tex. (Feb. 21, 2020, 17:54 CST) (on file with the Monitors) (including Monitors’ Feb. 21, 2020
           Data & Information Request).
       o   535 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective
           Servs. to Megan Annitto, Monitoring Team (Apr. 21, 2020 22:43 EST) (on file with the Monitors)
           (including DFPS response to questions regarding its ability to retrieve information related to
           caregiver’s notification into data reports).
   ROs A7, A8
      o 572 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.
           to Deborah Fowler and Kevin Ryan, Monitors (Feb. 26, 2020, 11:35 CST) (pertaining to Awake
           Night Certifications)
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         o   573 Email from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs.

             to Deborah Fowler, Monitor (May 12, 2020, 15:35 CST) (pertaining to Awake Night
             Certifications).




 •   Section VI: Regulatory Monitoring and Oversight of Licensed Placements

     RO 22
        o    603 Email from Frances Townsend, Att’y, Legal Servs. Div., Health & Human Servs. Comm’n to

             Kevin Ryan and Deborah Fowler, Monitors (Nov. 15, 2019, 18:02 EST) (on file with the Monitors)
             (including HHSC response to Monitors’ Sept. 30, 2019 Data & Information Request).
         o 604 Email from Kevin Ryan, Court Monitor to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y
             Gen. of Texas (Feb. 21, 2020, 17:54 CST) (on file with the Monitors) (including Feb. 21, 2020 Data
             & Information Request).
         o 607 Email from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to
             Kevin Ryan and Deborah Fowler, Monitors (Mar. 24, 2019, 17:48 EST) (on file with the Monitors)
             (including HHSC response to Monitors’ Feb. 21, 2020, Data & Information Request).
         o 608 Email from Kevin Ryan, Monitor, to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen.
             of Tex. (Oct. 7, 2019, 10:22 EST) (on file with the Monitors) (regarding DFPS response to
             Monitors’ Sept. 30, 2019 Data & Information Request).
         o 610 Data related to this analysis was produced on May 5, 2020 as relayed and entitled by email
             from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to Kevin Ryan
             and Deborah Fowler, Monitors (May 5, 2020, 17:17 EST) (on file with the Monitors); See TEX.
             DEP’T OF FAMILY & PROTECTIVE SERVS., RO.22.1 7.31.2020-3.31. 2020 Rep. ANE. To. DFPS. B 5.5.2020
             (on file with the Monitors).
     ROs 12-19
         o 635 Email from Kevin Ryan, Monitor, to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen.
             of Tex. et al. (Feb. 21, 2020, 17:41 EST) (on file with the Monitors) (regarding Remedial Orders
             12, 13 and 14). That email provided:
                                Dear Counsel, Deborah Fowler and I have conferred with Judge Jack and want
                       to ensure a shared understanding between the parties that, in light of DFPS’s and
                       HHSC’s reorganization, the references in Remedial Orders 12, 13 and 14 to “successor
                       staff” apply to CCL, not CCI. If the provisions were to refer to CCI, which they do not,
                       they would simply replicate three earlier Remedial Orders that already require the same
                       measure of timeliness from CCI.
         o 636 Email from Corey D. Kintzer, Assoc. Dir., Litig. Dep’t, Legal Servs. Div., Health & Human
             Servs. Comm’n, to Kevin Ryan and Deborah Fowler, Monitors (Feb. 27, 2020, 10:08 EST) (on file
             with the Monitors).
     RO 20
        o    673 Email from Kevin Ryan, Monitor, to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of
             Texas (Oct. 7, 2019, 10:22 EST) (on file with the Monitors) (regarding DFPS response to Monitors’
             Sept. 30, 2019 Data & Information Request).
         o   676 Email from Rand Harris, Assoc. Comm’r for Compliance, Coordination & Strategy, Dep’t of

             Family & Protective Servs., to Kevin Ryan and Deborah Fowler, Monitors (Feb. 19, 2020, 11:38
             EST) (on file with the Monitors) (regarding heightened monitoring); Email from Tarryn Lam,
             Att’y, Legal Servs. Div., Health & Human Servs. Comm’n to Kevin Ryan and Deborah Fowler,
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           Monitors (Feb. 19, 2020, 11:31 EST) (on file with the Monitors) (regarding heightened
           monitoring).
      o    692 Email from Kimberly Gdula, Ass’t Att’y Gen., Office of Att’y Gen. of Tex. to Aaron Finch,

           Senior Staff Att’y, Children’s Rights (Apr. 10, 2020, 16:36 EST) (on file with the Monitors)
           (including DFPS and HHSC heightened monitoring cost estimate submission); See TEX. DEP’T OF
           FAMILY & PROTECTIVE SERVS., ET AL., FCL Heightened Monitoring Cost Estimate (Apr. 10, 2020).

   RO 21
      o    718 Email from Kevin Ryan, Monitor to Andrew Stephens, Ass’t Att’y Gen., Office of Att’y Gen. of
           Tex. (Oct. 7, 2019, 10:22 EST) (on file with the Monitors)
      o    719 Email from Deborah Fowler and Kevin Ryan, Monitors, to Andrew Stephens, Ass’t Att’y Gen.,

           Office of Att’y Gen. of Tex. (Sept. 30, 2019, 17:14 EST) (on file with the Monitors) (including
           Monitors’ Sept. 30, 2019 Data & Information Request).
      o    720 Email from Deborah Fowler, Court Monitor to Corey Kintzer, Assoc. Dir., Legal Servs. Div.,

           Health & Human Servs. Comm’n (Apr. 8, 2020, 11:17 EST) (on file with the Monitors) (regarding
           Responses to State’s Request and an Alternative Proposed Rule for RO 2).
      o    722 Email from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to

           Kevin Ryan and Deborah Fowler, Monitors (Apr. 9, 2020, 13:57 EST) (on file with the Monitors)
           (regarding Responses to State’s Request and an Alternative Proposed Rule for RO 21).
      o    723 Email from Deborah Fowler, Monitor, to Corey Kintzer, Assoc. Director, Legal Servs. Div.

           Health & Human Servs. Comm’n (Apr. 9, 2020 14:00 EST) (on file with the Monitors) (regarding
           Responses to State’s Request and an Alternative Proposed Rule for RO 21).
      o    724 Email from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to

           Kevin Ryan and Deborah Fowler, Monitors (Apr. 13, 2020 17:59 EST) (on file with the Monitors)
           (regarding Responses to State’s Request and an Alternative Proposed Rule for RO 21).
      o    727 On May 22, 2020, the Monitors received data from the State as a result of the Court’s orders

           related to Remedial Order Twenty, discussed in the last section. In this data, seven operations
           (Daystar Residential, Galveston Multicultural Institute, Kingdom Kids CPA, Wings of Refuge CPA,
           North Fork Educational Center, and Children’s Hope-Lubbock) were identified as having been
           subject to a revocation enforcement action by RCCL at some point after September 30, 2014. The
           Monitors e-mailed HHSC to ask why they were not notified of these revocations in response to
           the data and information requests for Remedial Order Twenty-One, as they had been notified for
           Children’s Hope Residential Services – Lubbock, and North Fork Educational Center. Email from
           Deborah Fowler, Monitor, to Corey Kintzer, Assoc. Dir., Litig. Dep’t, Health & Human Servs.
           Comm’n (May 28, 2020, 15:14 CST). HHSC responded that “the original data request did not
           include information specific to intent to revoke. Data was requested on licenses that were
           revoked during the timeframe.” Email from Corey Kintzer, Assoc. Dir., Litig. Dep’t, Health &
           Human Servs. Comm’n to Deborah Fowler, Monitor (June 1, 2020, 08:46 CST). In response to
           specific questions about the revocation of Daystar Residential (which closed in 2011) and
           Kingdom Kids CPA, HHSC indicated that the revocation for Daystar Residential was “finalized in
           2019 as part of a clean-up effort to close out operations that were not operating” and that
           Kingdom Kids CPA “has not been operating since October 2019. The operation requested an
           administrative review on the revocation, which is currently in progress and is expected to be
           completed by 6/2/2020.” Email from Corey Kintzer, Assoc. Dir., Litig. Dep’t, Health & Human
           Servs. Comm’n to Deborah Fowler, Monitor (June 1, 2020, 08:46 CST). The Monitors asked why
           they were not at least notified of the letter of intent to revoke the license for Kingdom Kids CPA,
           which was sent December 6, 2019, just prior to the letter of intent to revoke sent to North Fork
           Educational Center. Email from Deborah Fowler, Monitor, to Corey Kintzer, Assoc. Dir., Litig.
           Dep’t, Health & Human Servs. Comm’n (June 1, 2020, 11:51 CST). HHSC responded, “the reason
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          you all were not notified of the letter of intent is because they did not have any PMC children
          placed through the CPA at the time HHSC issued the letter of intent. In addition, DFPS had
          already terminated their contract with Kingdom Kids. Therefore, that information didn’t fall
          within our response criteria at the time.” Email from Corey Kintzer, Assoc. Dir., Litig. Dep’t,
          Health & Human Servs. Comm’n to Deborah Fowler, Monitor (June 1, 2020, 15:12 CST). The
          Monitors reviewed the letter of intent to revoke for Kingdom Kids CPA in CLASS, which was sent
          to the operation on December 6, 2019 and indicated that RCCL’s decision to revoke the
          operation’s license was based on a child fatality that occurred in December 2018, the
          investigation of which led to the discovery that children in care had been subjected to sexual
          abuse by the son of the foster parent. Letter from Toni Cantu, District Dir., Residential Child Care
          Licensing, Health & Human Servs. Comm’n to Michelle Williams, Controlling Person, Kingdom
          Kids Child Placing Agency (Dec. 6, 2019) (on file with the Monitors). Though an administrative
          review was requested, the decision to revoke was upheld on June 2, 2020. The Monitors also
          reviewed the letter of intent to revoke for Galveston Multicultural Institute, which was sent on
          October 31, 2018, and indicated the decision to revoke the operation’s license was based on the
          “likely fatality” of two foster children assumed to have drowned, and serious medical concerns
          for other children who did not drown but who did not receive medical attention after a near-
          drowning incident. Letter from Amber Krause, Dir. of Residential Licensing, Health & Human
          Servs. Comm’n, to Vivian Putney, Controlling Person, Galveston Multicultural Institute (Oct. 31,
          2018). The operation requested an administrative review of the decision, which still appears to
          be pending.
      o   728 Email from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to

          Kevin Ryan and Deborah Fowler, Monitors (Dec. 19, 2019, 13:47 EST) (on file with the
          Monitors) (regarding Potential License Revocation - RO 21).
      o   730 Email from Corey Kintzer, Assoc. Dir., Litig. Dep’t, Health & Human Servs. Comm’n to Kevin

          Ryan and Deborah Fowler, Monitors (Dec. 19, 2019, 13:47 EST) (regarding Potential License
          Revocation - RO 21).
      o   731 Email from Deborah Fowler, Monitor, to Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health

          & Human Servs. Comm’n (Dec. 19, 2019, 14:51 EST) (on file with the Monitors) (regarding
          Potential License Revocation - RO 21).
      o   732 Email from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to

          Kevin Ryan and Deborah Fowler, Monitors (Dec. 23, 2019, 15:21 EST) (on file with the
          Monitors) (regarding Potential License Revocation - RO 21 and including formal response
          attachment regarding the potential closure of Children’s Hope); See also Letter from Darla Shaw,
          Asst. Comm’r, Health & Human Servs. Comm’n, Residential Child Care Licensing, to Deborah
          Fowler, Court Monitor (Dec. 21, 2019) (on file with the Monitors) (regarding Children’s Hope
          closure).
      o   742 Email from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to

          Kevin Ryan and Deborah Fowler, Monitors (Feb. 27, 2020, 18:54 EST) (on file with the
          Monitors) (regarding North Fork and attaching the agreement RCCL entered into with
          Children’s Hope - Lubbock).
      o   744 Email from Rand Harris, Assoc. Comm’r of Compliance, Coordination & Strategy, Dep’t of

          Family & Protective Servs. to Deborah Fowler and Kevin Ryan, Monitors (May 20, 2020 18:44
          EST) (on file with the Monitors) (regarding Children’s Hope - Levelland campuses terminating
          its contract with DFPS).
      o   745 Email from Rand Harris, Assoc. Comm’r of Compliance, Coordination & Strategy, Dep’t of

          Family & Protective Servs., to Deborah Fowler and Kevin Ryan, Monitors (May 22, 2020 11:48
          EST) (on file with the Monitors) (regarding Children’s Hope - Levelland campuses terminating
          its contract with DFPS).
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         o    746 Email from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to

              Kevin Ryan and Deborah Fowler, Monitors (May 22, 2020 13:48 EST) (on file with the Monitors)
              (regarding Children’s Hope - Levelland campuses terminating its contract with DFPS).
         o 748 Email from Deborah Fowler, Monitor to Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health &
              Human Servs. Comm’n (Feb. 27, 2020, 17:02 EST) (regarding North Fork enforcement action).
         o 749 Email from Corey Kintzer, Assoc. Dir., Legal Servs. Div., Health & Human Servs. Comm’n to
              Kevin Ryan and Deborah Fowler, Monitors (Feb. 27, 2020, 18:54 EST) (on file with the Monitors)
              (regarding North Fork and including the draft letter of intent to revoke which detailed the
              reasoning behind the license revocation).
 •   Section VII: Child Fatalities
         o 774 The initial video clips provided by DFPS to the Monitors omitted approximately fifteen minutes
              of footage. The Monitors emailed the agency, “[t]he C.G. video . . . appears incomplete. The
              video clips stop at 20:25:28 and picks up again at 20:41:07. The investigation indicates video
              from 20:26:00 to 20:41:09 is relevant. Can you advise when you will make that available to us?”
              Email from Kevin Ryan, Monitor to Tara Olah, Dir. of Strategy & Implementation, Dep’t of
              Family & Protective Servs. (May 6, 2020, 19:22 EST) (on file with the Monitors). DFPS provided
              all the requested footage and noted “[i]t appears there were two videos labeled 2025. The one
              uploaded to SharePoint was only 24 seconds long. We have uploaded the second video.” Email
              from Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. to Kevin
              Ryan, Monitor (May 7, 2020 15:10 EST) (on file with the Monitors).
         o 775 On May 5, 2020, the Monitors requested that DFPS “please provide us with all of the child’s
              medical, pharmacological and mental/behavioral health records from February 13, 2020 to April
              26, 2020, and the child’s complete records/files from her last placement.” Email from Kevin
              Ryan, Monitor to Tara Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective
              Servs. (May 5, 2020, 13:23 EST) (on file with the Monitors). DFPS provided some of the
              requested information on May 12, 2020 and May 19, 2020, but the submission was incomplete.
              The Monitors inquired again on May 24, 2020, requesting DFPS “[p]lease advise when you are
              going to upload the complete records from C.G.’s placement.” Email from Kevin Ryan, Monitor
              (May 24, 2020, 16:11 EST) (on file with the Monitors). DFPS responded, “We are working with
              field staff to determine whether there are any additional documents beyond what we provided
              to you on 5.12.20 and 5.19.20. We should be able to confirm this by COB today.” Email from Tara
              Olah, Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. (May 26, 2020,
              07:33 EST) (on file with the Monitors). On May 27, 2020, DFPS informed the Monitors that the
              agency had “provided [the Monitors] with all records from [the shelter].” Email from Tara Olah,
              Dir. of Implementation & Strategy, Dep’t of Family & Protective Servs. (May 27, 2020, 16:46
              EST) (on file with the Monitors). The Monitors believed that representation was inaccurate,
              based on the monitoring team’s review of the case, which suggested a treatment plan existed at
              the shelter, and it may have included important information about the level of supervision
              required for C.G. As a result, the Monitors again asked DFPS for the information. “The records
              the State has provided refer to a treatment plan at [the shelter] for this child and describe some
              of the contents of that plan. We have not found that treatment plan among the documents the
              State provided, nor another document that contains the information described in the reference
              materials. Please advise if that document exists and, if so, please provide it.” Email from Kevin
              Ryan, Monitor (May 27, 2020, 16:12 EST) (on file with the Monitors). On May 28, 2020, DFPS
              provided the treatment plan to the Monitors. The treatment plan evidences that DFPS and the
              shelter staff knew about, and agreed to, a plan to monitor C.G. “by staff at all times,” due to her
              high risk for suicide.
